                                           2:25-cv-02152-RMG                                                      Date Filed 04/18/25                                                 Entry Number 76                                Page 1 of 39


                                                                                                                                    The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                               CIVIL NO. 2:25-cv-2152
                                                                                                                                   PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                   (As of 4/17/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                                 FILENAME                                                   DATE SENT               TO                         FROM                               PRIVILEGE REASON
                                                                                                                                                                                                                    Smith, Loren (OST)          Smith, Loren (OST)
DOT‐001254          DOT‐001257                                                                                 3.24.2025 OST‐P request.pdf                                                  2025/03/24 08:05 UTC    <loren.smith@dot.gov>       <loren.smith@dot.gov>       Deliberative Process

                                      ACTION: FW: ACTION: Discretionary Grant and Cooperative Agreement        ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative Agreement                                                                "Adderly, Kevin (FHWA)"
DOT‐001258          DOT‐001261        Data Request Due by 10 AM, Wednesday, March 19th                         Data Request Due by 10 AM_ Wednesday_ March 19th .msg             2025/03/13 14:34 UTC               HEPODs <HEPODs@dot.gov>     <kevin.adderly@dot.gov>     Deliberative Process

                                                                                                                                                                                                                    CFOS LIST CORE
                                                                                                                                                                                                                    <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                                    Associate Administrators for
                                                                                                                                                                                                                    Administration
                                                                                                                                                                                                                    <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐001262          DOT‐001263                                                                                 OST‐M_Memo.pdf                                                               2025/03/11 11:48 UTC    dministration@dot.gov>       <rhea.hubbard@dot.gov>     Deliberative Process
                                                                                                                                                                                                                                                 Smith, Loren (OST)
DOT‐001264          DOT‐001266                                                                                 OST‐P_Memo.pdf                                                               2025/03/11 15:06 UTC                                 <loren.smith@dot.gov>      Deliberative Process
                                                                                                               ACTION_ FW_ OST‐P Data Request due 9_30AM EST Wednesday_                                                                          "Adderly, Kevin (FHWA)"
DOT‐001267          DOT‐001268        ACTION: FW: OST‐P Data Request due 9:30AM EST Wednesday, 3/26            3_26.msg                                                                     2025/03/24 20:57 UTC    HEPODs <HEPODs@dot.gov> <kevin.adderly@dot.gov>         Deliberative Process
                                                                                                                                                                                                                    Smith, Loren (OST)           Smith, Loren (OST)
DOT‐001269          DOT‐001272                                                                                 3.24.2025_OST‐P_request.pdf                                                  2025/03/24 08:05 UTC    <loren.smith@dot.gov>        <loren.smith@dot.gov>      Deliberative Process

                                      ACTION: FW: [JTF 03 ‐ EVs/Alternative Fuel Provisions and Rollout] FW:
                                      [Response by 10:00am Tuesday, March 11th] "Just the Facts" Sheets for    ACTION_ FW_ _JTF 03 ‐ EVs_Alternative Fuel Provisions and Rollout_                                   "Jensen, Gary (FHWA)"       "Adderly, Kevin (FHWA)"
DOT‐001273          DOT‐001274        Upcoming Hearings Due by Noon, Monday, March 10th                        FW_ _Response by 10_00am Tuesday_ March 11th_ _Just the Fact.msg 2025/03/06 17:42 UTC                <Gary.Jensen@dot.gov>       <kevin.adderly@dot.gov>     Attorney/Client; Deliberative Process
                                                                                                               EVs_Alternative_Fuel_Provisions_and_Rollout_From_11.20.24_Hearing_
DOT‐001275          DOT‐001278                                                                                 Book.docx                                                                                                                                                    Deliberative Process
DOT‐001279          DOT‐001279                                                                                 JTF_Sample.docx                                                                                                                                              Deliberative Process

                                                                                                                                                                                                                    HEPODs <HEPODs@dot.gov>,
                                      ACTION: FW: [Response by COB Monday] Materials for Administrator         ACTION_ FW_ _Response by COB Monday_ Materials for Administrator                                     "Rowe, Anne (FHWA)"      "Adderly, Kevin (FHWA)"
DOT‐001280          DOT‐001282        Confirmation Hearing Due by 2:30 PM, Monday, March 17th                  Confirmation Hearing Due by 2_30 PM_ Monday_ March 17th.msg                  2025/03/14 20:16 UTC    <anne.rowe@dot.gov>      <kevin.adderly@dot.gov>        Attorney/Client; Deliberative Process

DOT‐001283          DOT‐001284                                                                                 2025‐03‐06_JTF_Buy_America_for_S1_EPW_hearing_03.13.25.docx                                                                                                  Deliberative Process
DOT‐001285          DOT‐001286                                                                                 August_Redistribution_03.12.25.docx                                                                                                                          Deliberative Process
DOT‐001287          DOT‐001288                                                                                 Competitive_Grant_Funding_Pause_03.14.25.docx                                                                                                                Deliberative Process
DOT‐001289          DOT‐001290                                                                                 Cordon_Pricing_03.12.25.docx                                                                                                                                 Deliberative Process
DOT‐001291          DOT‐001292                                                                                 Draft_Surface_Transportation_Reathorization_JTF_03.13.25.docx                                                                                                Deliberative Process
DOT‐001293          DOT‐001294                                                                                 EVs_Alternative_Fuel_Provisions_and_Rollout_03.12.25.docx                                                                                                    Deliberative Process
DOT‐001295          DOT‐001296                                                                                 FSK_Bridge_03.12.25.docx                                                                                                                                     Deliberative Process
DOT‐001297          DOT‐001299                                                                                 JTF_NEPA_Permitting_031225_03.13.25.docx                                                                                                                     Deliberative Process
DOT‐001300          DOT‐001300                                                                                 JTF_Sample_03.14.25.docx                                                                                                                                     Deliberative Process
DOT‐001301          DOT‐001301                                                                                 NEPA_Assignment_09.01.22.docx                                                                                                                                Deliberative Process
DOT‐001302          DOT‐001303                                                                                 NEVI_Program_Freeze_03.12.25.docx                                                                                                                            Deliberative Process
DOT‐001304          DOT‐001304                                                                                 Q&A_Sample_03.14.25.docx                                                                                                                                     Deliberative Process
DOT‐001305          DOT‐001305                                                                                 QA_‐_Economic_Impacts_01.22.19_jpb.docx                                                                                                                      Deliberative Process

DOT‐001306          DOT‐001306                                                                                 QA_‐_Federal_Role_in_Surface_Transportation_01.22.19_JPB.docx                                                                                                Deliberative Process
DOT‐001307          DOT‐001307                                                                                 QA_‐_GOALS_TO_BE_ACCOMPLISHED_1.22.19_MKP_JPB.doc                                                                                                            Deliberative Process
DOT‐001308          DOT‐001309                                                                                 QA_‐_NEPA_Assignment_01.23.19.docx                                                                                                                           Deliberative Process
DOT‐001310          DOT‐001310                                                                                 QA_‐_Response_to_Congressional_Requests_01.22.19_JPB.docx                                                                                                    Deliberative Process
DOT‐001311          DOT‐001313                                                                                 VMT_Pilot_Program_05.17.2024.docx                                                                                                                            Deliberative Process
DOT‐001314          DOT‐001315                                                                                 [Transition_Book]_FHWA_August_Redistribution.docx                                                                                                            Deliberative Process
DOT‐001316          DOT‐001317                                                                                 [Transition_Book]_FHWA_Bridge_and_Tunnels.docx                                                                                                               Deliberative Process
DOT‐001318          DOT‐001319                                                                                 [Transition_Book]_FHWA_Buy_America.docx                                                                                                                      Deliberative Process
DOT‐001320          DOT‐001321                                                                                 [Transition_Book]_FHWA_Discretionary_Grant_Programs.docx                                                                                                     Deliberative Process
DOT‐001322          DOT‐001323                                                                                 [Transition_Book]_FHWA_EV.docx                                                                                                                               Deliberative Process
                                                                                                               [Transition_Book]_FHWA_Emergency_Relief_Program__Francis_Scott_Ke
DOT‐001324          DOT‐001325                                                                                 y_Bridge_Response.docx                                                                                                                                       Deliberative Process
DOT‐001326          DOT‐001327                                                                                 [Transition_Book]_FHWA_GHG.docx                                                                                                                              Deliberative Process
DOT‐001328          DOT‐001329                                                                                 [Transition_Book]_FHWA_IIJA_Overview.docx                                                                                                                    Deliberative Process
DOT‐001330          DOT‐001331                                                                                 [Transition_Book]_FHWA_MUTCD.docx                                                                                                                            Deliberative Process
DOT‐001332          DOT‐001333                                                                                 [Transition_Book]_FHWA_NEPA.docx                                                                                                                             Deliberative Process
DOT‐001334          DOT‐001335                                                                                 [Transition_Book]_FHWA_Safety.docx                                                                                                                           Deliberative Process
DOT‐001336          DOT‐001337                                                                                 [Transition_Book]_FHWA_Tribal_Transportation.docx                                                                                                            Deliberative Process

                                                                                                                                                                                                                    FHWA‐#ALLDA‐
                                                                                                                                                                                                                    PersonalMailbox <FHWA‐
                                                                                                                                                                                                                    ALLDA‐                      "Finfrock, Arlan (FHWA)"
DOT‐001338          DOT‐001339        ACTION: Interim Grant/Amendment Approval Guidance                        ACTION_ Interim Grant_Amendment Approval Guidance.msg                        2025/04/02 19:37 UTC    PersonalMailbox@dot.gov>    <Arlan.Finfrock@dot.gov>    Deliberative Process

                                                                                                               Acknowledgement confirmation_ Sustainability Inst_ v_ Trump Legal                                                                Everlaw
DOT‐001340          DOT‐001340        Acknowledgement confirmation: Sustainability Inst. v. Trump Legal Hold   Hold.msg                                                                     2025/04/02 13:30 UTC    gary.jensen@dot.gov         <notifications@everlaw.com> Attorney/Client
                                           2:25-cv-02152-RMG                                                  Date Filed 04/18/25                                                  Entry Number 76                              Page 2 of 39


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      BEGIN BATES         END BATES                                  SUBJECT                                                             FILENAME                                                    DATE SENT                 TO                      FROM                             PRIVILEGE REASON
                                                                                                                                                                                                                 FHWA Audit Liaison
                                                                                                                                                                                                                 <FHWA.AuditLiaison@dot.gov
                                                                                                                                                                                                                 >, "FHWA Policy
                                                                                                                                                                                                                 Communications (FHWA)"
                                                                                                                                                                                                                 <PolicyCommunications@dot.
                                                                                                                                                                                                                 gov>, "FHWA, Administration
                                                                                                                                                                                                                 (FHWA)" <HAD01@dot.gov>,
                                                                                                                                                                                                                 "FHWA, Administrator
                                                                                                                                                                                                                 (FHWA)"
                                                                                                                                                                                                                 <Administrator.FHWA@dot.go
                                                                                                                                                                                                                 v>, "FHWA, CFO (FHWA)"
                                                                                                                                                                                                                 <fhwacfo@dot.gov>, "FHWA,
                                                                                                                                                                                                                 ChiefCounsel (FHWA)"
                                                                                                                                                                                                                 <ChiefCounsel.FHWA@dot.go
                                                                                                                                                                                                                 v>, "FHWA, Civil Rights
                                                                                                                                                                                                                 (FHWA)"
                                                                                                                                                                                                                 <CivilRights.FHWA@dot.gov>,
                                                                                                                                                                                                                 "FHWA, DepAdministrator
                                                                                                                                                                                                                 (FHWA)" <HOA02@dot.gov>,
                                                                                                                                                                                                                 "FHWA, ExecDirector (FHWA)"
                                                                                                                                                                                                                 <ExecDirector.FHWA@dot.gov
                                                                                                                                                                                                                 >, "FHWA, FederalLands
                                                                                                                                                                                                                 (FHWA)"
                                                                                                                                                                                                                 <FederalLands.FHWA@dot.go
                                                                                                                                                                                                                 v>, "FHWA, Infrastructure
                                                                                                                                                                                                                 (FHWA)"                     FHWA Audit Liaison
                                      Action Due 3/17: GAO Preliminary Draft: EV Charging Infrastructure   Action Due 3_17_ GAO Preliminary Draft_ EV Charging Infrastructure                                    <Infrastructure.FHWA@dot.go <FHWA.AuditLiaison@dot.gov
DOT‐001341          DOT‐001342        (106992)                                                             (106992).msg                                                                  2025/03/07 19:44 UTC    v>, "FHWA, Operations       >                          Deliberative Process

                                                                                                           FHWA‐VOLPE_‐_GAO_SOF_on_EV_Charging_Infrastructure_106992_(03‐
DOT‐001343          DOT‐001365                                                                             07‐25).DOCX                                                                                                                                                   Deliberative Process


                                                                                                                                                                                                                 "Hinton, Daniel (FHWA)"     "Simmons, Gregory (FHWA)"
DOT‐001366          DOT‐001367        Amos Projects                                                        Amos Projects.msg                                                             2025/02/24 16:11 UTC    <Daniel.Hinton@dot.gov>     <Gregory.Simmons@dot.gov> Deliberative Process


                                                                                                                                                                                                                 "Fauver, Kirk (FHWA)"
                                                                                                                                                                                                                 <Kirk.Fauver@dot.gov>,
                                                                                                                                                                                                                 "Bales, Genevieve (FHWA)"   "Price, Anna (FHWA)"
DOT‐001368          DOT‐001368        CFI Meeting on Thursday                                              CFI Meeting on Thursday.msg                                                   2025/01/22 22:22 UTC    <Genevieve.Bales@dot.gov>   <anna.price@dot.gov>        Deliberative Process
DOT‐001369          DOT‐001371                                                                             CFI NEVI 10.docx                                                                                                                                              Deliberative Process
                                                                                                                                                                                                                 CFIAwardees                 CFIAwardees
DOT‐001372          DOT‐001374        CFI Round 2 Welcome Webinars POSTPONED                               CFI Round 2 Welcome Webinars POSTPONED .msg                                   2025/01/21 20:38 UTC    <CFIAwardees@dot.gov>       <CFIAwardees@dot.gov>       Deliberative Process
                                                                                                                                                                                                                 "Culp, Michael (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐001375          DOT‐001375        CFI and EVC‐RAA Project Descriptions                                 CFI and EVC‐RAA Project Descriptions (5)1.msg                                 2025/01/31 20:37 UTC    <Michael.Culp@dot.gov>      <Gary.Jensen@dot.gov>       Deliberative Process
DOT‐001376          DOT‐001376                                                                             EVC_RAA_Projects.xlsx                                                                                                                                         Deliberative Process
DOT‐001377          DOT‐001377                                                                             cfi‐awardees‐project‐description‐table_Round_1A.xlsx                                                                                                          Deliberative Process
DOT‐001378          DOT‐001378                                                                             cfi‐awardees‐project‐description‐table_round_1b.xlsx                                                                                                          Deliberative Process
DOT‐001379          DOT‐001379                                                                             cfi‐awardees‐round2.xlsx                                                                                                                                      Deliberative Process
                                                                                                                                                                                                                 "Burnell, Tamiko (FHWA)"    "Jensen, Gary (FHWA)"
DOT‐001380          DOT‐001380        CFI and EVC‐RAA Project Descriptions                                 CFI and EVC‐RAA Project Descriptions1.msg                                     2025/02/03 14:07 UTC    <Tamiko.Burnell@dot.gov>    <Gary.Jensen@dot.gov>       Deliberative Process
DOT‐001381          DOT‐001381                                                                             EVC_RAA_Projects.xlsx                                                                                                                                         Deliberative Process
DOT‐001382          DOT‐001382                                                                             cfi‐awardees‐project‐description‐table_Round_1A.xlsx                                                                                                          Deliberative Process
DOT‐001383          DOT‐001383                                                                             cfi‐awardees‐project‐description‐table_round_1b.xlsx                                                                                                          Deliberative Process
DOT‐001384          DOT‐001384                                                                             cfi‐awardees‐round2.xlsx                                                                                                                                      Deliberative Process
DOT‐001385          DOT‐001385                                                                             CFI and NEVI Obligations.xlsx                                                                                                                                 Deliberative Process
                                                                                                                                                                                                                 "Jensen, Gary (FHWA)"       "Culp, Michael (FHWA)"
DOT‐001386          DOT‐001386        CFI and NEVI total potential awards spreadsheet                      CFI and NEVI total potential awards spreadsheet.msg                           2025/03/26 16:57 UTC    <Gary.Jensen@dot.gov>       <Michael.Culp@dot.gov>      Deliberative Process
DOT‐001387          DOT‐001387                                                                             CFI_and_NEVI_Obligation_Data_‐_HEPN_3‐26‐25.xlsx                                                                                                              Deliberative Process
DOT‐001388          DOT‐001388                                                                             CFI_NEVI_1‐23‐25.xlsx                                                                                                                                         Deliberative Process
                                           2:25-cv-02152-RMG                                                Date Filed 04/18/25                                                 Entry Number 76                               Page 3 of 39


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                                                                                                                             PRIVILEGE LOG - PROTECTED AS RESTRICTED
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      BEGIN BATES         END BATES                                SUBJECT                                                            FILENAME                                                    DATE SENT                  TO C. EOP/OMB               FROM                         PRIVILEGE REASON
                                                                                                                                                                                                               Connolly, David
                                                                                                                                                                                                              <David_C_Connolly@omb.eop
                                                                                                                                                                                                              .gov>"
                                                                                                                                                                                                              <David_C_Connolly@omb.eop
                                                                                                                                                                                                              .gov>, "Meachum, Pete (OST)"
                                                                                                                                                                                                              <charles.meachum@dot.gov>,
                                                                                                                                                                                                              "Cote, Greg (OST)"
                                                                                                                                                                                                              <gregory.cote@dot.gov>,
                                                                                                                                                                                                              "Carlson, Terence (OST)"
                                                                                                                                                                                                              <Terence.Carlson@dot.gov>,
                                                                                                                                                                                                              "Bezio, Brian (FHWA)"
                                                                                                                                                                                                              <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                              "Payne, Jay (FHWA)"
                                                                                                                                                                                                              <jay.payne@dot.gov>, "Fleury,
                                                                                                                                                                                                              Nicolle (FHWA)"
                                                                                                                                                                                                              <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                              "Harkins, Michael (FHWA)"
                                                                                                                                                                                                              <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                              "Wainwright, Laura (OST)"
                                                                                                                                                                                                              <laura.wainwright@dot.gov>,
                                                                                                                                                                                                              "Hawks, Robert (OST)"
                                                                                                                                                                                                              <Robert.Hawks@dot.gov>,
                                                                                                                                                                                                              "Katharine.T.Sullivan@omb.eo
                                                                                                                                                                                                              p.gov"
                                                                                                                                                                                                              <Katharine.T.Sullivan@omb.eo
                                                                                                                                                                                                              p.gov>, "Abrams, Andrew D.
                                                                                                                                                                                                              EOP/OMB                       "Carlile, Saesha (OST)"
DOT‐001389          DOT‐001389        DOT/OMB Follow‐Up Discussions ‐ Data Sets                          DOT_OMB Follow‐Up Discussions ‐ Data Sets.msg                                2025/02/06 20:37 UTC    <Andrew_Abrams@omb.eop.g <saesha.carlile@dot.gov>        Deliberative Process
DOT‐001390          DOT‐001390                                                                           CFI_NEVI_1‐23‐25.xlsx                                                                                                                                         Deliberative Process
DOT‐001391          DOT‐001391                                                                           CFI_and_NEVI_Obligations.xlsx                                                                                                                                 Deliberative Process
DOT‐001392          DOT‐001392                                                                           NEVI_Project_Details.xlsx                                                                                                                                     Deliberative Process


                                                                                                                                                                                                              "Culp, Michael (FHWA)"
                                                                                                                                                                                                              <Michael.Culp@dot.gov>,
                                                                                                                                                                                                              "Motsinger, Suraiya (FHWA)" "Stein, William (FHWA)"
DOT‐001393          DOT‐001393        FMIS Payments                                                      FMIS Payments.msg                                                            2025/01/21 19:04 UTC    <suraiya.motsinger@dot.gov> <william.stein@dot.gov>      Deliberative Process
                                                                                                                                                                                                              "Culp, Michael (FHWA)"
                                                                                                                                                                                                              <Michael.Culp@dot.gov>, "Ho,
                                                                                                                                                                                                              Cecilia (FHWA)"
                                                                                                                                                                                                              <Cecilia.Ho@dot.gov>,
                                      FW: ACTION: 4: S1 memo implementing the President's Executive Orders FW ACTION 4 S1 memo implementing the President's Executive Orders                                  "Maher, Katy (FHWA)"         "Jensen, Gary (FHWA)"
DOT‐001394          DOT‐001395        Due by 3:30, TODAY, Monday, February 3rd                             Due by 330 TODAY Monday February 3rd.msg                           2025/02/03 13:29 UTC            <katy.maher@dot.gov>         <Gary.Jensen@dot.gov>       Deliberative Process
                                                                                                           Draft_List_re._Implementation_of_EOs_on_Energy,_Climate_Change,_Di
DOT‐001396          DOT‐001396                                                                             versity,_Gender.xlsx                                                                                                                                        Deliberative Process
                                                                                                                                                                                                              "Culp, Michael (FHWA)"
                                                                                                                                                                                                              <Michael.Culp@dot.gov>,
                                                                                                                                                                                                              "Lupes, Rebecca (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐001397          DOT‐001400        FW: DOT Guidance on Discretionary Grants                           FW DOT Guidance on Discretionary Grants.msg                                  2025/02/19 13:30 UTC    <Rebecca.Lupes@dot.gov>      <Gary.Jensen@dot.gov>       Deliberative Process
                                      FW: Program Manager Roundtable: OST EO Grant and Cooperative       FW Program Manager Roundtable OST EO Grant and Cooperative                                           "Culp, Michael (FHWA)"       "Murray, Mary (FHWA)"
DOT‐001401          DOT‐001404        Agreement Review ‐ PPT and Update Excel Sheet                      Agreement Review ‐ PPT and Update Excel Sheet.msg                            2025/03/13 19:15 UTC    <Michael.Culp@dot.gov>       <mary.murray@dot.gov>       Deliberative Process
DOT‐001405          DOT‐001408                                                                           OST_Data_Request_Instructions_(003).pptx                                                                                                                      Deliberative Process
DOT‐001409          DOT‐001409                                                                           OST_EO_Grant_and_Cooperative_Agreement_Review_.xlsm                                                                                                           Deliberative Process
                                                                                                                                                                                                              "Culp, Michael (FHWA)"       "Stein, William (FHWA)"
DOT‐001410          DOT‐001410        FW: The Latest on New Admin Exec Actions                           FW The Latest on New Admin Exec Actions.msg                                  2025/01/22 17:45 UTC    <Michael.Culp@dot.gov>       <william.stein@dot.gov>     Deliberative Process
                                                                                                                                                                                                              "Culp, Michael (FHWA)"
                                                                                                                                                                                                              <Michael.Culp@dot.gov>,
                                                                                                                                                                                                              "Lupes, Rebecca (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐001411          DOT‐001413        FW: Updated DOT Guidance on Competitive Grants                     FW Updated DOT Guidance on Competitive Grants.msg                            2025/03/12 18:25 UTC    <Rebecca.Lupes@dot.gov>      <Gary.Jensen@dot.gov>       Deliberative Process
                                                                                                         FW_ ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative
                                      FW: ACTION: FW: ACTION: Discretionary Grant and Cooperative        Agreement Data Request Due by 10 AM_ Wednesday_ March 19th                                           "Jensen, Gary (FHWA)"        "Habic, Elizabeth (FHWA)"
DOT‐001414          DOT‐001418        Agreement Data Request Due by 10 AM, Wednesday, March 19th         (1).msg                                                                      2025/03/19 18:36 UTC    <Gary.Jensen@dot.gov>        <elizabeth.habic@dot.gov>   Deliberative Process

                                                                                                                                                                                                              CFOS LIST CORE
                                                                                                                                                                                                              <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                              Associate Administrators for
                                                                                                                                                                                                              Administration
                                                                                                                                                                                                              <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐001419          DOT‐001420                                                                           OST‐M_Memo.pdf                                                               2025/03/11 11:48 UTC    dministration@dot.gov>       <rhea.hubbard@dot.gov>      Deliberative Process
                                                                                                                                                                                                                                           Smith, Loren (OST)
DOT‐001421          DOT‐001423                                                                           OST‐P_Memo.pdf                                                               2025/03/11 15:06 UTC                                 <loren.smith@dot.gov>       Deliberative Process
                                                                                                                                                                                                              "Culp, Michael (FHWA)"
                                                                                                                                                                                                              <Michael.Culp@dot.gov>,
                                      FW: ACTION: FW: ACTION: Discretionary Grant and Cooperative        FW_ ACTION_ FW_ ACTION_ Discretionary Grant and Cooperative                                          "Lupes, Rebecca (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐001424          DOT‐001427        Agreement Data Request Due by 10 AM, Wednesday, March 19th         Agreement Data Request Due by 10 AM_ Wednesday_ March 19th .msg 2025/03/13 14:44 UTC                 <Rebecca.Lupes@dot.gov>      <Gary.Jensen@dot.gov>       Deliberative Process
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      BEGIN BATES         END BATES                                  SUBJECT                                                                 FILENAME                                                    DATE SENT               TO                          FROM                            PRIVILEGE REASON

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                                                                                                                                                                                                                     <CFOSLISTCORE@dot.gov>;
                                                                                                                                                                                                                     Associate Administrators for
                                                                                                                                                                                                                     Administration
                                                                                                                                                                                                                     <AssociateAdministratorsforA Hubbard, Rhea (OST)
DOT‐001428          DOT‐001429                                                                                 OST‐M_Memo.pdf                                                                2025/03/11 11:48 UTC    dministration@dot.gov>       <rhea.hubbard@dot.gov>      Deliberative Process
                                                                                                                                                                                                                                                  Smith, Loren (OST)
DOT‐001430          DOT‐001432                                                                                 OST‐P_Memo.pdf                                                                2025/03/11 15:06 UTC                                 <loren.smith@dot.gov>       Deliberative Process

                                                                                                                                                                                                                     "Tarpgaard, Sarah (FHWA)"    "Tarpgaard, Sarah (FHWA)"
DOT‐001433          DOT‐001434        FW: ACTION: Interim Grant/Amendment Approval Guidance                    FW_ ACTION_ Interim Grant_Amendment Approval Guidance.msg                     2025/04/10 14:39 UTC    <Sarah.Tarpgaard@dot.gov>    <Sarah.Tarpgaard@dot.gov>   Deliberative Process
                                                                                                                                                                                                                     "Lombard, Jared (FHWA)"
                                                                                                                                                                                                                     <jared.lombard@dot.gov>,
                                      FW: ACTION: Contracts Related to Recent Executive Orders ‐ DUE 9:00      FW_ ACTION_ Contracts Related to Recent Executive Orders ‐ DUE 9_00                                   "Patel, Neelam (FHWA)"       "Culp, Michael (FHWA)"
DOT‐001435          DOT‐001437        A.M. Feb 5                                                               A_M_ Feb 5.msg                                                                2025/02/21 17:08 UTC    <neelam.patel@dot.gov>       <Michael.Culp@dot.gov>      Deliberative Process
DOT‐001438          DOT‐001442                                                                                 Team_Contracts_2.4.25_(003).docx                                                                                                                               Deliberative Process

                                                                                                                                                                                                                     "Biondi, Emily (FHWA)"       "Shepherd, Gloria (FHWA)"
DOT‐001443          DOT‐001444        FW: ACTION: Media: Chicago Tribune:: NEVI                                FW_ ACTION_ Media_ Chicago Tribune__ NEVI.msg                          2025/02/24 21:41 UTC           <Emily.Biondi@dot.gov>       <Gloria.Shepherd@dot.gov>   Deliberative Process
                                      FW: Action Due 3/17: GAO Preliminary Draft: EV Charging Infrastructure   FW_ Action Due 3_17_ GAO Preliminary Draft_ EV Charging Infrastructure                                "Adderly, Kevin (FHWA)"      "Taylor, Betsy (FHWA)"
DOT‐001445          DOT‐001446        (106992)                                                                 (106992).msg                                                           2025/03/18 18:43 UTC           <kevin.adderly@dot.gov>      <betsy.taylor@dot.gov>      Deliberative Process

                                                                                                               FHWA‐VOLPE_‐_GAO_SOF_on_EV_Charging_Infrastructure_106992_(03‐
DOT‐001447          DOT‐001469                                                                                 07‐25).DOCX                                                                                                                                                    Deliberative Process
DOT‐001470          DOT‐001470        FW: Action: FHWA Grants Tracker Status Updates                           FW_ Action_ FHWA Grants Tracker Status Updates.msg             2025/03/20 19:23 UTC                   DGCD <DGCD@dot.gov>          DGCD <DGCD@dot.gov>         Deliberative Process
DOT‐001471          DOT‐001471                                                                                 Grants_Agreement_and_Amendment_Tracking.docx                                                                                                                   Deliberative Process
                                                                                                                                                                                                                     "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                     <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                     "Culp, Michael (FHWA)"       "Murray, Mary (FHWA)"
DOT‐001472          DOT‐001482        FW: CFI Level 3 Procurement Selection & Contract Authorization           FW_ CFI Level 3 Procurement Selection & Contract Authorization.msg            2025/03/21 19:52 UTC    <Michael.Culp@dot.gov>       <mary.murray@dot.gov>       Deliberative Process

                                                                                                                                                                                                                     "Tarpgaard, Sarah (FHWA)"    "Tait, Erica (FHWA)"
DOT‐001483          DOT‐001492        RE: CFI Level 3 Procurement Selection & Contract Authorization           RE:_CFI_Level_3_Procurement_Selection_&_Contract_Authorization.eml 2025/01/15 19:03 UTC               <Sarah.Tarpgaard@dot.gov>    <erica.tait@dot.gov>        Deliberative Process

DOT‐001493          DOT‐001514                                                                                 MACOG_CFI__Non_State_DOT_Grant_Amend_12.23.2024Highlights.docx                                                                                                 Deliberative Process
DOT‐001515          DOT‐001536                                                                                 MACOG_CFI__Non_State_DOT_Grant_Amend_12.23.2024.docx                                                                                                           Deliberative Process


                                                                                                                                                                                                                     "Curtis, Stephanie (FHWA)"
                                                                                                                                                                                                                     <Stephanie.Curtis@dot.gov>,
                                                                                                                                                                                                                     "Villalobos, David (FHWA)"
                                                                                                                                                                                                                     <david.villalobos@dot.gov>,
                                                                                                                                                                                                                     "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                     <Emily.Biondi@dot.gov>,
                                      FW: CFI Round 2 Problematic Awards ‐ Gross Misappropriation of           FW_ CFI Round 2 Problematic Awards ‐ Gross Misappropriation of                                        "Jensen, Gary (FHWA)"       "Bezio, Brian (FHWA)"
DOT‐001537          DOT‐001539        Taxpayer Funds ‐ Many Viable Round 2 Applications Slighted               Taxpayer Funds ‐ Many Viable Round 2 Applications Slighted (1).msg            2025/01/30 13:51 UTC    <Gary.Jensen@dot.gov>       <Brian.Bezio@dot.gov>        Deliberative Process

                                                                                                                                                                                                                     "FHWA.PressOffice"
                                                                                                                                                                                                                     <FHWA.PressOffice@dot.gov>
                                                                                                                                                                                                                     , "Gates, Angela (FHWA)"
                                                                                                                                                                                                                     <Angela.Gates@dot.gov>,
                                                                                                                                                                                                                     "Siegler, Calli (FHWA)"
                                                                                                                                                                                                                     <calli.siegler@dot.gov>, "Tin,
                                                                                                                                                                                                                     Annie (FHWA)"                  "Jensen, Gary (FHWA)"
DOT‐001540          DOT‐001540        FW: CFI                                                                  FW_ CFI.msg                                                                   2025/02/07 18:46 UTC    <Annie.Tin@dot.gov>            <Gary.Jensen@dot.gov>     Deliberative Process

                                                                                                                                                                                                                     "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                     <Emily.Biondi@dot.gov>,      "Petty, Kenneth (FHWA)"
DOT‐001541          DOT‐001544        FW: DOT Guidance on Discretionary Grants                                 FW_ DOT Guidance on Discretionary Grants (1).msg                              2025/02/18 20:36 UTC    HEPODs <HEPODs@dot.gov>      <Kenneth.Petty@dot.gov>     Deliberative Process
                                                                                                                                                                                                                     "Culp, Michael (FHWA)"
                                                                                                                                                                                                                     <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                     "Lupes, Rebecca (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐001545          DOT‐001548        FW: DOT Guidance on Discretionary Grants                            FW_ DOT Guidance on Discretionary Grants.msg                        2025/02/19 13:30 UTC                   <Rebecca.Lupes@dot.gov>      <Gary.Jensen@dot.gov>       Deliberative Process
                                      FW: Disadvantaged Business Program (DBE) requirements and CFI award FW_ Disadvantaged Business Program (DBE) requirements and CFI award                                        "Murray, Mary (FHWA)"        "Hu, Ajin (FHWA)"
DOT‐001549          DOT‐001550        recipients                                                          recipients.msg                                                      2025/03/19 19:29 UTC                   <mary.murray@dot.gov>        <ajin.hu@dot.gov>           Deliberative Process
                                           2:25-cv-02152-RMG                                                    Date Filed 04/18/25                                                  Entry Number 76                                Page 5 of 39


                                                                                                                                   The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                              CIVIL NO. 2:25-cv-2152
                                                                                                                                  PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                  (As of 4/17/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                               FILENAME                                                    DATE SENT               TO                         FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                   <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                   "Ritter, Robert (FHWA)"
                                                                                                                                                                                                                   <Robert.Ritter@dot.gov>,
                                                                                                                                                                                                                   "Fouch, Brian (FHWA)"
                                                                                                                                                                                                                   <Brian.Fouch@dot.gov>,
                                                                                                                                                                                                                   "Rico, Irene (FHWA)"
                                                                                                                                                                                                                   <Irene.Rico@dot.gov>, "Bezio,
                                                                                                                                                                                                                   Brian (FHWA)"
                                                                                                                                                                                                                   <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                                   "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                   <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                   "Matias, Everett (FHWA)"      "Knopp, Martin (FHWA)"
DOT‐001551          DOT‐001552        FW: Draft 2025 AASHTO Washington Briefing S1 Talking Points            FW_ Draft 2025 AASHTO Washington Briefing S1 Talking Points.msg               2025/02/03 13:21 UTC    <Everett.Matias@dot.gov>      <Martin.Knopp@dot.gov>     Attorney/Client; Deliberative Process
DOT‐001553          DOT‐001557                                                                               2025_AASHTO_Washington_Briefing_talking_points_(brb).docx                                                                                                      Deliberative Process
                                                                                                                                                                                                                   "Jensen, Gary (FHWA)"       "Biondi, Emily (FHWA)"
DOT‐001558          DOT‐001560        FW: For OST review: NEVI/EV related inquiries                          FW_ For OST review_ NEVI_EV related inquiries.msg                             2025/02/20 14:52 UTC    <Gary.Jensen@dot.gov>       <Emily.Biondi@dot.gov>       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                   <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                   "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                   <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                   "Adderly, Kevin (FHWA)"
                                                                                                                                                                                                                   <kevin.adderly@dot.gov>,
                                                                                                                                                                                                                   "Kalla, Hari (FHWA)"
                                                                                                                                                                                                                   <Hari.Kalla@dot.gov>,
                                                                                                                                                                                                                   "Hogge, Brian (FHWA)"
                                                                                                                                                                                                                   <Brian.Hogge@dot.gov>,
                                      FW: Freedom of Information Act (FOIA) Request Acknowledgement ‐        FW_ Freedom of Information Act (FOIA) Request Acknowledgement ‐                                       "Gibson, Nelson (FHWA)"     "Weingroff, Richard (FHWA)"
DOT‐001561          DOT‐001563        Federal Highway Administration (FHWA)                                  Federal Highway Administration (FHWA).msg                                     2025/02/11 20:25 UTC    <Nelson.Gibson@dot.gov>     <Richard.Weingroff@dot.gov> Deliberative Process
DOT‐001564          DOT‐001565                                                                               Issod_‐_FOIA_2025‐0155_Acknowledgement_Letter.pdf                                                                                                             Deliberative Process
DOT‐001566          DOT‐001575                                                                               Issod_‐_FOIA_2025‐0155_Initial_Request.pdf                                                                                                                    Deliberative Process
                                                                                                                                                                                                                   Sean Santalla               Micah Bray
DOT‐001576          DOT‐001578        FW: Important Update: USDOT Pauses STIP Amendment Approvals            FW_ Important Update_ USDOT Pauses STIP Amendment Approvals.msg 2025/02/20 15:11 UTC                  <sean.santalla@dot.gov>     <mbray@bristoltn.org>       Deliberative Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                   "Lupes, Rebecca (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐001579          DOT‐001581        FW: LAST CALL: OST‐P Data Request                                      FW_ LAST CALL_ OST‐P Data Request.msg                                         2025/03/26 14:40 UTC    <Rebecca.Lupes@dot.gov>     <Gary.Jensen@dot.gov>        Deliberative Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"      "Murray, Mary (FHWA)"        Attorney Work Product; Attorney/Client; Deliberative
DOT‐001582          DOT‐001582        FW: Legal hold notice from OGC re "spending freeze" case               FW_ Legal hold notice from OGC re _spending freeze_ case.msg                  2025/04/02 13:07 UTC    <Michael.Culp@dot.gov>      <mary.murray@dot.gov>        Process
                                      FW: New "spending freeze" case in South Carolina, request regarding    FW_ New _spending freeze_ case in South Carolina_ request regarding                                   "Jensen, Gary (FHWA)"       "Horan, Dawn (FHWA)"         Attorney Work Product; Attorney/Client; Deliberative
DOT‐001583          DOT‐001584        allegations made related to FHWA grants                                allegations made related to FHWA grants (4).msg                               2025/04/01 17:50 UTC    <Gary.Jensen@dot.gov>       <Dawn.M.Horan@dot.gov>       Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Culp@dot.gov>,
                                      FW: New "spending freeze" case in South Carolina, request regarding    FW_ New _spending freeze_ case in South Carolina_ request regarding                                   "Murray, Mary (FHWA)"       "Jensen, Gary (FHWA)"        Attorney Work Product; Attorney/Client; Deliberative
DOT‐001585          DOT‐001586        allegations made related to FHWA grants                                allegations made related to FHWA grants.msg                                   2025/04/01 15:46 UTC    <mary.murray@dot.gov>       <Gary.Jensen@dot.gov>        Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                   "Patel, Neelam (FHWA)"      "Price, Anna (FHWA)"
DOT‐001587          DOT‐001587        FW: OMB Memo M‐25‐13                                                   FW_ OMB Memo M‐25‐13.msg                                                      2025/01/28 14:28 UTC    <neelam.patel@dot.gov>      <anna.price@dot.gov>         Deliberative Process
DOT‐001588          DOT‐001589                                                                               EO_Januart_27_2025.pdf                                                                                                                                         Deliberative Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Culp@dot.gov>,
                                                                                                          FW_ OST‐P Data Request_ REVISED & due tomorrow_ 3_27 at 12 noon                                          "Lupes, Rebecca (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐001590          DOT‐001593        FW: OST‐P Data Request: REVISED & due tomorrow, 3/27 at 12 noon EST EST.msg                                                                          2025/03/26 19:23 UTC    <Rebecca.Lupes@dot.gov>     <Gary.Jensen@dot.gov>        Deliberative Process
                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐001594          DOT‐001595        FW: Options draft paper                                                FW_ Options draft paper.msg                                                   2025/01/30 13:02 UTC    <Emily.Biondi@dot.gov>      <Gary.Jensen@dot.gov>        Deliberative Process
                                      FW: Policy Update: Suspending Approval of State EV Infrastructure      FW_ Policy Update_ Suspending Approval of State EV Infrastructure                                     "Jensen, Gary (FHWA)"       "Culp, Michael (FHWA)"
DOT‐001596          DOT‐001600        Deployment Plans                                                       Deployment Plans.msg                                                          2025/02/11 13:14 UTC    <Gary.Jensen@dot.gov>       <Michael.Culp@dot.gov>       Deliberative Process


                                                                                                                                                                                                                   "Motsinger, Suraiya (FHWA)"
                                                                                                                                                                                                                   <suraiya.motsinger@dot.gov>,
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"       "Fauver, Kirk (FHWA)"
DOT‐001601          DOT‐001601        FW: President Executive Memo: Temporary Pause                          FW_ President Executive Memo_ Temporary Pause.msg                             2025/01/28 16:06 UTC    <Michael.Culp@dot.gov>       <Kirk.Fauver@dot.gov>       Deliberative Process
                                                                                                                                                                                                                                                "Biondi, Emily (FHWA)"
DOT‐001602          DOT‐001603        FW: Presidential memorandum on Regulatory and Guidance Freeze          FW_ Presidential memorandum on Regulatory and Guidance Freeze.msg 2025/01/21 21:28 UTC                HEPODs <HEPODs@dot.gov> <Emily.Biondi@dot.gov>           Deliberative Process
DOT‐001604          DOT‐001612                                                                               EO_Defending_Women_with_Attachment.pdf                                                                                                                         Deliberative Process
DOT‐001613          DOT‐001617                                                                               Regulatory_and_Guidance_Freeze_with_attachment.pdf                                                                                                             Deliberative Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Culp@dot.gov>,
                                      FW: Re‐send: switch #69JJ‐3244‐0780, Virginia Division office Delphi   FW_ Re‐send_ switch #69JJ‐3244‐0780_ Virginia Division office Delphi                                  "Murray, Mary (FHWA)"       "Patel, Neelam (FHWA)"
DOT‐001618          DOT‐001619        Access?                                                                Access_ (2).msg                                                               2025/03/12 17:31 UTC    <mary.murray@dot.gov>       <neelam.patel@dot.gov>       Deliberative Process

                                      FW: Re‐send: switch #69JJ‐3244‐0780, Virginia Division office Delphi   FW_ Re‐send_ switch #69JJ‐3244‐0780_ Virginia Division office Delphi                                  "Lewis, Vanna (FHWA)"       "Tarpgaard, Sarah (FHWA)"
DOT‐001620          DOT‐001621        Access?                                                                Access_.msg                                                                   2025/03/12 18:25 UTC    <Vanna.Lewis@dot.gov>       <Sarah.Tarpgaard@dot.gov>    Deliberative Process
                                                                                                             FW_ Request for Assistance_ CFI Funding Amdt under                                                    "Jensen, Gary (FHWA)"       "Patel, Neelam (FHWA)"
DOT‐001622          DOT‐001629        FW: Request for Assistance: CFI Funding Amdt under HEPN250048PR        HEPN250048PR.msg                                                              2025/01/28 22:17 UTC    <Gary.Jensen@dot.gov>       <neelam.patel@dot.gov>       Deliberative Process
DOT‐001630          DOT‐001631                                                                               693JJ32540004_Amdt_1_FE.pdf                                                                                                                                    Deliberative Process
DOT‐001632          DOT‐001633                                                                               HEPN250048PR.pdf                                                                                                                                               Deliberative Process
                                           2:25-cv-02152-RMG                                                 Date Filed 04/18/25                                                  Entry Number 76                                Page 6 of 39


                                                                                                                                The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                           CIVIL NO. 2:25-cv-2152
                                                                                                                               PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                               (As of 4/17/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                            FILENAME                                                    DATE SENT               TO                          FROM                             PRIVILEGE REASON

                                                                                                                                                                                                                "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                                <Sarah.Tarpgaard@dot.gov>,
                                                                                                                                                                                                                "Turchetta, Diane (FHWA)"
                                                                                                                                                                                                                <Diane.Turchetta@dot.gov>,
                                                                                                                                                                                                                "Hill, Connie (FHWA)"
                                                                                                                                                                                                                <Connie.Hill@dot.gov>,
                                                                                                                                                                                                                "Murray, Mary (FHWA)"
                                                                                                                                                                                                                <mary.murray@dot.gov>,
                                                                                                                                                                                                                "Price, Anna (FHWA)"         "Love, Joshua CTR (FHWA)"
DOT‐001634          DOT‐001635        RE: Request for PR: CFI Phase 2 funding for NCTCOG grant            RE:_Request_for_PR:_CFI_Phase_2_funding_for_NCTCOG_grant.eml                  2024/12/16 14:58 UTC    <anna.price@dot.gov>         <joshua.love.ctr@dot.gov>   Deliberative Process
                                                                                                                                                                                                                "Murray, Mary (FHWA)"
                                                                                                                                                                                                                <mary.murray@dot.gov>,
                                                                                                                                                                                                                "Lombard, Jared (FHWA)"      "Price, Anna (FHWA)"
DOT‐001636          DOT‐001640        FW: Schedule D question                                             FW_ Schedule D question.msg                                                   2025/01/29 21:54 UTC    <jared.lombard@dot.gov>      <anna.price@dot.gov>        Deliberative Process
                                                                                                          Changing_and_Fueling_Grant_App_for_Fed_Assistance_SF‐
DOT‐001641          DOT‐001645                                                                            424_1.29.2025.pdf                                                                                                                                              Deliberative Process

DOT‐001646          DOT‐001647                                                                            Changing_and_Fueling_Grant_Assurances_1.29.2025_SF_424D.pdf                                                                                                    Deliberative Process
DOT‐001648          DOT‐001648                                                                            Changing_and_Fueling_Grant_Disclosure_1.29.2025_SF_LLL.pdf                                                                                                     Deliberative Process
DOT‐001649          DOT‐001673                                                                            KCMO_CFI__Non_State_DOT_Grant_Template_Round_1B_.docx                                                                                                          Deliberative Process
DOT‐001674          DOT‐001674                                                                            SF424C_2_0‐V2.0..pdf                                                                                                                                           Deliberative Process
                                                                                                                                                                                                                "Culp, Michael (FHWA)"       "Jensen, Gary (FHWA)"
DOT‐001675          DOT‐001675        FW: Spending Freeze Litigation in SC: Discovery                     FW_ Spending Freeze Litigation in SC_ Discovery.msg                           2025/04/08 17:03 UTC    <Michael.Culp@dot.gov>       <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                "Davies, John (FHWA)"
                                                                                                                                                                                                                <JohnG.Davies@dot.gov>,
                                                                                                                                                                                                                "Murray, Mary (FHWA)"        "Culp, Michael (FHWA)"
DOT‐001676          DOT‐001677        FW: Tracking CFI Obligations                                        FW_ Tracking CFI Obligations.msg                                              2025/03/26 12:25 UTC    <mary.murray@dot.gov>        <Michael.Culp@dot.gov>      Deliberative Process
DOT‐001678          DOT‐001678                                                                            CFI_and_NEVI_Obligation_Data.xlsx                                                                                                                              Deliberative Process
                                                                                                                                                                                                                "Lupes, Rebecca (FHWA)"
                                                                                                                                                                                                                <Rebecca.Lupes@dot.gov>,
                                                                                                                                                                                                                "Culp, Michael (FHWA)"       "Jensen, Gary (FHWA)"
DOT‐001679          DOT‐001684        FW: Updated DOT Guidance on Competitive Grants                      FW_ Updated DOT Guidance on Competitive Grants (1) (1).msg                    2025/03/24 17:33 UTC    <Michael.Culp@dot.gov>       <Gary.Jensen@dot.gov>       Deliberative Process
DOT‐001685          DOT‐001685                                                                            March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                             Deliberative Process
                                                                                                                                                                                                                                             "Petty, Kenneth (FHWA)"
DOT‐001686          DOT‐001688        FW: Updated DOT Guidance on Competitive Grants                      FW_ Updated DOT Guidance on Competitive Grants (1).msg                        2025/03/12 15:05 UTC    HEPODs <HEPODs@dot.gov>      <Kenneth.Petty@dot.gov>     Deliberative Process
                                                                                                                                                                                                                                             "Biondi, Emily (FHWA)"
DOT‐001689          DOT‐001693        FW: Updated DOT Guidance on Competitive Grants                      FW_ Updated DOT Guidance on Competitive Grants (2).msg                        2025/03/24 17:06 UTC    HEPODs <HEPODs@dot.gov>      <Emily.Biondi@dot.gov>      Deliberative Process
DOT‐001694          DOT‐001694                                                                            March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                             Deliberative Process
                                                                                                                                                                                                                "Culp, Michael (FHWA)"
                                                                                                                                                                                                                <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                "Lupes, Rebecca (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐001695          DOT‐001697        FW: Updated DOT Guidance on Competitive Grants                      FW_ Updated DOT Guidance on Competitive Grants (4) (1).msg                    2025/03/12 18:25 UTC    <Rebecca.Lupes@dot.gov>      <Gary.Jensen@dot.gov>       Deliberative Process

                                                                                                                                                                                                                "Hall, Kenan (FHWA)"
                                                                                                                                                                                                                <kenan.hall@dot.gov>,
                                                                                                                                                                                                                "Truong, Jeffrey (FHWA)"
                                                                                                                                                                                                                <Jeffrey.Truong@dot.gov>,
                                                                                                                                                                                                                "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                                <Sarah.Tarpgaard@dot.gov>,
                                                                                                                                                                                                                "Speaks, Vincent (FHWA)"
                                                                                                                                                                                                                <vincent.speaks@dot.gov>,
                                                                                                                                                                                                                "Muhammad, Dedrick
                                                                                                                                                                                                                (FHWA)"
                                                                                                                                                                                                                <dedrick.muhammad@dot.go "Buck, Ryan (FHWA)"
DOT‐001698          DOT‐001701        FW: Updated DOT Guidance on Competitive Grants                      FW_ Updated DOT Guidance on Competitive Grants.msg                            2025/03/13 16:36 UTC    v>                         <ryan.buck@dot.gov>           Deliberative Process
                                                                                                                                                                                                                "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                "Patel, Neelam (FHWA)"
                                                                                                                                                                                                                <neelam.patel@dot.gov>,
                                                                                                                                                                                                                "Culp, Michael (FHWA)"
                                                                                                                                                                                                                <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                "Murray, Mary (FHWA)"
                                                                                                                                                                                                                <mary.murray@dot.gov>,
                                                                                                                                                                                                                "Price, Anna (FHWA)"
                                                                                                                                                                                                                <anna.price@dot.gov>,
                                      FW: Urgent Off‐Cycle DiGS Update ‐ Due Monday 1/27 COB FYI‐NO       FW_ Urgent Off‐Cycle DiGS Update ‐ Due Monday 1_27 COB FYI‐NO                                         "Lombard, Jared (FHWA)"    "Walters, Joan (FHWA)"
DOT‐001702          DOT‐001703        ACTION NEEDED                                                       ACTION NEEDED.msg                                                             2025/01/27 19:11 UTC    <jared.lombard@dot.gov>    <Joan.Walters@dot.gov>        Deliberative Process
DOT‐001704          DOT‐001704                                                                            Charging_and_Fueling_Infrastructure_Grants_(CFI).xlsx                                                                                                          Deliberative Process

DOT‐001705          DOT‐001705                                                                            National_Electric_Vehicle_Infrastructure_(NEVI)_(10%_set‐aside).xlsx                                                                                           Deliberative Process
                                                                                                                                                                                                                "Jensen, Gary (FHWA)"        "Adderly, Kevin (FHWA)"
DOT‐001706          DOT‐001708        FW: [JTF 07] NEVI Program Status                                      FW_ _JTF 07_ NEVI Program Status.msg                                        2025/03/20 17:16 UTC    <Gary.Jensen@dot.gov>        <kevin.adderly@dot.gov>     Attorney/Client; Deliberative Process
DOT‐001709          DOT‐001710                                                                              JTF_07_NEVI_Program_Freeze.docx                                                                                                                              Deliberative Process
                                      FW: [Response by 10:00am Tuesday, March 11th] "Just the Facts" Sheets FW_ _Response by 10_00am Tuesday_ March 11th_ _Just the Facts_                                      "Biondi, Emily (FHWA)"       "Adderly, Kevin (FHWA)"
DOT‐001711          DOT‐001713        for Upcoming Hearings                                                 Sheets for Upcoming Hearings.msg                                            2025/03/10 12:28 UTC    <Emily.Biondi@dot.gov>       <kevin.adderly@dot.gov>     Attorney/Client; Deliberative Process
DOT‐001714          DOT‐001715                                                                              EVs_Alternative_Fuel_Provisions_and_Rollout.docx                                                                                                             Deliberative Process
DOT‐001716          DOT‐001717                                                                              NEVI_Program_Freeze.docx                                                                                                                                     Deliberative Process
                                           2:25-cv-02152-RMG                                                    Date Filed 04/18/25                                                  Entry Number 76                                Page 7 of 39


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                                                                                                                                              CIVIL NO. 2:25-cv-2152
                                                                                                                                  PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                  (As of 4/17/2025)

      BEGIN BATES         END BATES                                 SUBJECT                                                                 FILENAME                                                   DATE SENT               TO                        FROM                                PRIVILEGE REASON



                                      FW: [Response by COB Monday] Materials for Administrator Confirmation FW_ _Response by COB Monday_ Materials for Administrator                                               "Jensen, Gary (FHWA)"      "Bresler, Kimberly (FHWA)"
DOT‐001718          DOT‐001719        Hearing                                                               Confirmation Hearing (2).msg                                                   2025/03/17 13:45 UTC    <Gary.Jensen@dot.gov>      <kimberly.bresler@dot.gov>     Attorney/Client; Deliberative Process
DOT‐001720          DOT‐001720                                                                              JTF_Sample_03.14.25.docx                                                                                                                                         Deliberative Process
DOT‐001721          DOT‐001722                                                                              NEVI_Program_Freeze_03.12.25.docx                                                                                                                                Deliberative Process
DOT‐001723          DOT‐001723                                                                              Q&A_Sample_03.14.25.docx                                                                                                                                         Deliberative Process
                                      FW: [Response by COB Monday] Materials for Administrator Confirmation FW_ _Response by COB Monday_ Materials for Administrator                                               "Biondi, Emily (FHWA)"     "Adderly, Kevin (FHWA)"
DOT‐001724          DOT‐001725        Hearing                                                               Confirmation Hearing.msg                                                       2025/03/17 20:32 UTC    <Emily.Biondi@dot.gov>     <kevin.adderly@dot.gov>        Attorney/Client; Deliberative Process
DOT‐001726          DOT‐001727                                                                              06_EVs_Alternative_Fuel_Provisions_and_Rollout_03.12.25.docx                                                                                                     Deliberative Process
DOT‐001728          DOT‐001729                                                                              07_NEVI_Program_Freeze_03.12.25.docx                                                                                                                             Deliberative Process
DOT‐001730          DOT‐001731                                                                              08_QA_‐_NEPA_Assignment_03.17.25.docx                                                                                                                            Deliberative Process
DOT‐001732          DOT‐001733                                                                              09_GHG_3_17_2025.docx                                                                                                                                            Deliberative Process
DOT‐001734          DOT‐001735                                                                              10_JTF_NEPA_Acc_Proj_Delivery_&_Env_Review.docx                                                                                                                  Deliberative Process
DOT‐001736          DOT‐001737                                                                              10_QA_MultimodalTransportation03.17.25.docx                                                                                                                      Deliberative Process
DOT‐001738          DOT‐001740                                                                              11_JTF_NEPA_and_Planning_Status_03.17.25_HEPE.docx                                                                                                               Deliberative Process

                                                                                                           For HEPN_ PR Request for CFI Grant Amdt to Grant 693JJ32440543 _ CSU                                    "Murray, Mary (FHWA)"      "Tarpgaard, Sarah (FHWA)"
DOT‐001741          DOT‐001753        For HEPN: PR Request for CFI Grant Amdt to Grant 693JJ32440543 / CSU .msg                                                                 2025/03/26 17:30 UTC               <mary.murray@dot.gov>      <Sarah.Tarpgaard@dot.gov>      Deliberative Process
                                                                                                                                                                                                                   Emily.Biondi
                                                                                                                                                                                                                   <Emily.Biondi@dot.gov>,    "Nealer, Rachael"
                                                                                                                                                                                                                   "Jensen, Gary (FHWA)"      <rachael.nealer@driveelectric.
DOT‐001754          DOT‐001756        Fw: AASHTO Washington Briefing                                         Fw_ AASHTO Washington Briefing.msg                                            2025/02/06 18:16 UTC    <Gary.Jensen@dot.gov>      gov>                           Deliberative Process
                                                                                                             GNS Table_Round 1B Charging and Fueling Infrastructure
DOT‐001757          DOT‐001757                                                                               (CFI)_Discretionary Grant Awards.xlsx                                                                                                                           Deliberative Process

                                                                                                             Grant Contract 13913130_CFI Agreement_Metropolitan Government of
DOT‐001758          DOT‐001779                                                                               Nashville‐Davidson County _ FHWAcomments addressed_1.8.25.docx                                                                                                  Deliberative Process
                                                                                                                                                                                                                   "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                   <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                   "Murray, Mary (FHWA)"      "Davies, John (FHWA)"
DOT‐001780          DOT‐001780        Grant Review Spreadsheet                                               Grant Review Spreadsheet.msg                                                  2025/03/19 19:54 UTC    <mary.murray@dot.gov>      <JohnG.Davies@dot.gov>         Deliberative Process
                                                                                                                                                                                                                   "Petty, Kenneth (FHWA)"    "Lowe, Shontrill (FHWA)"
DOT‐001781          DOT‐001782        FW: FY 2025 SPR Work Program Part 1 Revision Request #1                FW_ FY 2025 SPR Work Program Part 1 Revision Request #1 .msg                  2025/02/25 19:25 UTC    <Kenneth.Petty@dot.gov>    <shontrill.lowe@dot.gov>       Deliberative Process
DOT‐001783          DOT‐001783                                                                               FY25_SPR_Work_Program_(Part_I)_Revision_1_Approval.pdf                                                                                                          Deliberative Process
DOT‐001784          DOT‐001784                                                                               FY25 SPR Work Program (Part I) Revision 1 Approval.pdf                                                                                                          Deliberative Process

DOT‐001785          DOT‐001787                                                                               2025 01 23 Ltr MAG Air Quality Finding of Conformity_Zuercher.docx                                                                                              Deliberative Process
DOT‐001788          DOT‐001788                                                                               2025 SPR Amendment (003).pdf                                                                                                                                    Deliberative Process
                                                                                                                                                                                                                   "Petty, Kenneth (FHWA)"
                                                                                                                                                                                                                   <Kenneth.Petty@dot.gov>,
                                                                                                                                                                                                                   "Miller, Harlan (FHWA)"    "Litteral, Sean (FHWA)"
DOT‐001789          DOT‐001793        Request for Review â€“ SPR Amendment                                   Request for Review ‐ SPR Amendment.msg                                        2025/02/19 21:16 UTC    <Harlan.Miller@dot.gov>    <sean.litteral@dot.gov>        Deliberative Process
DOT‐001794          DOT‐001794                                                                               2025_SPR_Amendment_(003).pdf                                                                                                                                    Deliberative Process
                                                                                                                                                                                                                   "Petty, Kenneth (FHWA)"
                                                                                                                                                                                                                   <Kenneth.Petty@dot.gov>,
                                                                                                                                                                                                                   "Miller, Harlan (FHWA)"    "Litteral, Sean (FHWA)"
DOT‐001795          DOT‐001795        TMA Certification Review Notice                                        TMA Certification Review Notice.msg                                           2025/02/19 21:27 UTC    <Harlan.Miller@dot.gov>    <sean.litteral@dot.gov>        Deliberative Process
DOT‐001796          DOT‐001796                                                                               TMA_Certification_Review_Notice.pdf                                                                                                                             Deliberative Process
DOT‐001797          DOT‐001797                                                                               TMA Certification Review Notice.pdf                                                                                                                             Deliberative Process
DOT‐001798          DOT‐001853                                                                               5581‐04 Acadiana Cert Rvw Rpt 25 Fin tlh_TCC.pdf                                                                                                                Deliberative Process
DOT‐001854          DOT‐001855                                                                               5581‐04‐250123‐Acadiana Cert Rvw Rpt 25 Trans Ltr tlh.pdf                                                                                                       Deliberative Process
DOT‐001856          DOT‐001856                                                                               20250219 NDOT ‐ eSTIP approval request.pdf                                                                                                                      Deliberative Process
DOT‐001857          DOT‐001864                                                                               CAMPO 25‐01.pdf                                                                                                                                                 Deliberative Process
                                                                                                                                                                                                                   "Petty, Kenneth (FHWA)"    "Nguyen, Khoa (FHWA)"
DOT‐001865          DOT‐001865        FW: eSTIP Approval request                                             FW_ eSTIP Approval request.msg                                                2025/02/19 18:32 UTC    <Kenneth.Petty@dot.gov>    <Khoa.Nguyen@dot.gov>          Deliberative Process
DOT‐001866          DOT‐001866                                                                               20250219_NDOT_‐_eSTIP_apporval_request_.pdf                                                                                                                     Deliberative Process

DOT‐001867          DOT‐001867                                                                                2025 02 28 Certification Review Letter ‐ Option A ‐ Report Enclosed.docx                                                                                       Deliberative Process
DOT‐001868          DOT‐001915                                                                                2025 02 28 RTCSNV TMA Certification Review Final Report.docx                                                                                                   Deliberative Process
                                      RTCSNV TMA Certification Review Final Report ‐ For Review and Approval ‐RTCSNV TMA Certification Review Final Report ‐ For Review and Approval ‐                             "Petty, Kenneth (FHWA)"    "Nguyen, Khoa (FHWA)"
DOT‐001916          DOT‐001916        Due Date: Wednesday, February 26th, 2025                                Due Date_ Wednesday_ February 26th_ 2025.msg                             2025/02/21 21:51 UTC        <Kenneth.Petty@dot.gov>    <Khoa.Nguyen@dot.gov>          Attorney/Client; Deliberative Process
                                                                                                              2025_02_28_Certification_Review_Letter_‐_Option_A_‐
DOT‐001917          DOT‐001917                                                                                _Report_Enclosed.docx                                                                                                                                          Deliberative Process
                                                                                                              2025_02_28_Certification_Review_Letter_‐_Option_B_‐
DOT‐001918          DOT‐001918                                                                                _Report_to_Follow.docx                                                                                                                                         Deliberative Process

DOT‐001919          DOT‐001966                                                                               2025_02_28_RTCSNV_TMA_Certification_Review_Final_Report.docx                                                                                                    Deliberative Process
DOT‐001967          DOT‐001981                                                                               Nashville MPO Amendment 189 02192025.pdf                                                                                                                        Deliberative Process
DOT‐001982          DOT‐001992                                                                               Nashville MPO Amendment 190 02192025.pdf                                                                                                                        Deliberative Process
DOT‐001993          DOT‐002007                                                                               Nashville MPO Amendment 191 02192025.pdf                                                                                                                        Deliberative Process
                                                                                                                                                                                                                   "Macon‐Ryan, Tameka
                                                                                                                                                                                                                   (FHWA)"
                                                                                                                                                                                                                   <tameka.maconryan@dot.gov "Santalla, Sean (FHWA)"
DOT‐002008          DOT‐002010        RE: STIP Amendments                                                    Tennessee RE STIP Amendments 02192025.msg                                     2025/02/19 16:38 UTC    >                         <sean.santalla@dot.gov>         Deliberative Process
DOT‐002011          DOT‐002025                                                                               Nashville_MPO_Amendment_189.pdf                                                                                                                                 Deliberative Process
DOT‐002026          DOT‐002036                                                                               Nashville_MPO_Amendment_190.pdf                                                                                                                                 Deliberative Process
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                                                                                                                                              (As of 4/17/2025)

      BEGIN BATES         END BATES                                    SUBJECT                                                         FILENAME                                                    DATE SENT                TO                           FROM                               PRIVILEGE REASON
DOT‐002037          DOT‐002051                                                                           Nashville_MPO_Amendment_191.pdf                                                                                                                                     Deliberative Process
                                                                                                         HRTPO 1.2025 TIP and LRTP amendments‐ FTA and FHWA AQ Conformity
DOT‐002052          DOT‐002053                                                                           Approval.docx                                                                                                                                                       Deliberative Process
DOT‐002054          DOT‐002054                                                                           2025 02 18 STIP 23‐28 Amend 3 DRAFT Approval.docx                                                                                                                   Deliberative Process
                                                                                                                                                                                                               "Vaughn‐Fair, Sharon (FHWA)"
                                                                                                                                                                                                               <Sharon.Vaughn‐              "Blanton, Jeffrey (FHWA)"
DOT‐002055          DOT‐002055        West Virginia Department of Transportation STIP Amendment #3       West Virginia Department of Transportation STIP Amendment #3.msg              2025/02/20 16:47 UTC    Fair@dot.gov>                <Jeffrey.Blanton@dot.gov>        Deliberative Process
DOT‐002056          DOT‐002056                                                                           2025_02_18_STIP_23‐28_Amend_3_DRAFT_Approval.docx                                                                                                                   Deliberative Process
                                                                                                                                                                                                               "Biondi, Emily (FHWA)"
                                                                                                                                                                                                               <Emily.Biondi@dot.gov>,
                                      HEP‐231220‐002 URGENT: CFI Grant Program Action Memo to enter in   HEP‐231220‐002 URGENT_ CFI Grant Program Action Memo to enter in                                      "Patel, Neelam (FHWA)"         "Weingroff, Richard (FHWA)"
DOT‐002057          DOT‐002058        EDMS                                                               EDMS.msg                                                                      2023/12/20 18:09 UTC    <neelam.patel@dot.gov>         <Richard.Weingroff@dot.gov> Deliberative Process
DOT‐002059          DOT‐002064                                                                           Cheat_Sheet.correspondence.docx                                                                                                                                  Deliberative Process

                                                                                                                                                                                                               FHWA‐#Leadership Team‐
                                                                                                                                                                                                               OfficialMailbox <FHWA‐
                                                                                                                                                                                                               LeadershipTeam‐
                                                                                                                                                                                                               OfficialMailbox@dot.gov>,
                                                                                                                                                                                                               "FHWA‐#Leadership Team‐
                                                                                                                                                                                                               PersonalMailbox" <FHWA‐
                                                                                                                                                                                                               LeadershipTeam‐                "Baker, Shana (FHWA)"
DOT‐002065          DOT‐002068        INFORMATION: OST Discretionary Grant Guidance                      INFORMATION_ OST Discretionary Grant Guidance.msg                             2025/02/19 13:44 UTC    PersonalMailbox@dot.gov>       <Shana.Baker@dot.gov>          Deliberative Process
                                                                                                                                                                                                               "Jensen, Gary (FHWA)"          "Culp, Michael (FHWA)"
DOT‐002069          DOT‐002069        Info for 11am meeting tomorrow                                     Info for 11am meeting tomorrow.msg                              2025/01/28 22:49 UTC                  <Gary.Jensen@dot.gov>          <Michael.Culp@dot.gov>         Deliberative Process
                                                                                                         FW:_On_Hold:_Funding_Amendment_to_CFI_community_grant_to_NCT                                          "Jensen, Gary (FHWA)"          "Patel, Neelam (FHWA)"
DOT‐002070          DOT‐002072        FW: On Hold: Funding Amendment to CFI community grant to NCT COG   _COG.eml                                                        2025/01/28 22:18 UTC                  <Gary.Jensen@dot.gov>          <neelam.patel@dot.gov>         Deliberative Process
DOT‐002073          DOT‐002074                                                                           693JJ32540004_Amdt_1_FE.pdf                                                                                                                                         Deliberative Process
                                                                                                         FW:_Request_for_Assistance:_CFI_Funding_Amdt_under_HEPN250048PR                                       "Jensen, Gary (FHWA)"          "Patel, Neelam (FHWA)"
DOT‐002075          DOT‐002082        FW: Request for Assistance: CFI Funding Amdt under HEPN250048PR    .eml                                                            2025/01/28 22:17 UTC                  <Gary.Jensen@dot.gov>          <neelam.patel@dot.gov>         Deliberative Process
DOT‐002083          DOT‐002084                                                                           693JJ32540004_Amdt_1_FE.pdf                                                                                                                                         Deliberative Process
DOT‐002085          DOT‐002086                                                                           HEPN250048PR.pdf                                                                                                                                                    Deliberative Process

                                                                                                                                                                                                               "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                               <Sarah.Tarpgaard@dot.gov>,
                                                                                                                                                                                                               "Turchetta, Diane (FHWA)"
                                                                                                                                                                                                               <Diane.Turchetta@dot.gov>,
                                                                                                                                                                                                               "Hill, Connie (FHWA)"
                                                                                                                                                                                                               <Connie.Hill@dot.gov>,
                                                                                                                                                                                                               "Murray, Mary (FHWA)"
                                                                                                                                                                                                               <mary.murray@dot.gov>,
                                                                                                                                                                                                               "Price, Anna (FHWA)"           "Love, Joshua CTR (FHWA)"
DOT‐002087          DOT‐002088        RE: Request for PR: CFI Phase 2 funding for NCTCOG grant           RE:_Request_for_PR:_CFI_Phase_2_funding_for_NCTCOG_grant.eml                  2024/12/16 14:58 UTC    <anna.price@dot.gov>           <joshua.love.ctr@dot.gov>      Deliberative Process
                                                                                                                                                                                                               Grants Coordination Division
                                                                                                                                                                                                               <DGCD@dot.gov>, "Burnell,
                                                                                                                                                                                                               Tamiko (FHWA)"                 Grants Coordination Division
DOT‐002089          DOT‐002091        LAST CALL: OST‐P Data Request                                      LAST CALL_ OST‐P Data Request.msg                                             2025/03/26 14:05 UTC    <Tamiko.Burnell@dot.gov>       <DGCD@dot.gov>                 Deliberative Process
                                                                                                                                                                                                               "Kveselis, Emily (OST)"        "Kveselis, Emily (OST)"
DOT‐002092          DOT‐002092        Legal hold notice from OGC re "spending freeze" case               Legal hold notice from OGC re _spending freeze_ case.msg                      2025/04/02 13:05 UTC    <emily.kveselis@dot.gov>       <emily.kveselis@dot.gov>       Attorney Work Product; Attorney/Client

                                                                                                                                                                                                               "Shepherd, Gloria (FHWA)"      "Bezio, Brian (FHWA)"
DOT‐002093          DOT‐002093        NEVI & CFI Project Information                                     NEVI & CFI Project Information .msg                                           2025/02/03 22:50 UTC    <Gloria.Shepherd@dot.gov>      <Brian.Bezio@dot.gov>          Deliberative Process
DOT‐002094          DOT‐002094                                                                           CFI_and_NEVI_Obligations.xlsx                                                                                                                                       Deliberative Process
DOT‐002095          DOT‐002095                                                                           NEVI_Project_Details.xlsx                                                                                                                                           Deliberative Process
DOT‐002096          DOT‐002096                                                                           NEVI CFI Side by Side.docx                                                                                                                                          Deliberative Process
DOT‐002097          DOT‐002097                                                                           NEVI Project Details.xlsx                                                                                                                                           Deliberative Process
                                                                                                                                                                                                               "Biondi, Emily (FHWA)"         "Jensen, Gary (FHWA)"
DOT‐002098          DOT‐002098        NEVI and CFI                                                       NEVI and CFI.msg                                                              2025/04/03 20:19 UTC    <Emily.Biondi@dot.gov>         <Gary.Jensen@dot.gov>          Deliberative Process
DOT‐002099          DOT‐002101                                                                           CFI_NEVI_10.docx                                                                                                                                                    Deliberative Process
DOT‐002102          DOT‐002123                                                                           CFI_and_NEVI_10_Awards.docx                                                                                                                                         Deliberative Process
DOT‐002124          DOT‐002126                                                                           NEVI_Draft_Final.docx                                                                                                                                               Deliberative Process
                                                                                                                                                                                                               "Jensen, Gary (FHWA)"          "Murray, Mary (FHWA)"
DOT‐002127          DOT‐002127        Names                                                              Names.msg                                                                     2025/04/01 17:48 UTC    <Gary.Jensen@dot.gov>          <mary.murray@dot.gov>          Deliberative Process
DOT‐002128          DOT‐002142                                                                           Nashville MPO Amendment 189 02192025.pdf                                                                                                                            Deliberative Process
DOT‐002143          DOT‐002154                                                                           Amend 189 2022‐72‐143 Nash.pdf                                                                                                                                      Deliberative Process
DOT‐002155          DOT‐002165                                                                           Nashville MPO Amendment 190 02192025.pdf                                                                                                                            Deliberative Process
DOT‐002166          DOT‐002176                                                                           Nashville MPO Amendment 190.pdf                                                                                                                                     Deliberative Process
DOT‐002177          DOT‐002191                                                                           Nashville MPO Amendment 191 02192025.pdf                                                                                                                            Deliberative Process
                                           2:25-cv-02152-RMG                                                     Date Filed 04/18/25                                                  Entry Number 76                                Page 9 of 39


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                                                                                                                                               CIVIL NO. 2:25-cv-2152
                                                                                                                                   PRIVILEGE LOG - PROTECTED AS RESTRICTED
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      BEGIN BATES         END BATES                                  SUBJECT                                                                FILENAME                                                    DATE SENT                 TO                     FROM                                    PRIVILEGE REASON
                                                                                                                                                                                                                     DGCD DGCD@dot.gov       ,
                                                                                                                                                                                                                    "SES ODC"
                                                                                                                                                                                                                    <SESODC@dot.gov>, "FHWA‐
                                                                                                                                                                                                                    #ALLDFS‐PersonalMailbox"
                                                                                                                                                                                                                    <FHWA‐ALLDFS‐
                                                                                                                                                                                                                    PersonalMailbox@dot.gov>,
                                                                                                                                                                                                                    "FHWA‐#ALLDFS‐
                                                                                                                                                                                                                    OfficialMailbox" <FHWA‐
                                                                                                                                                                                                                    #ALLDFS‐
                                                                                                                                                                                                                    OfficialMailbox2@dot.gov>,
                                                                                                                                                                                                                    "FHWA‐#ALLDA‐
                                                                                                                                                                                                                    PersonalMailbox" <FHWA‐
                                                                                                                                                                                                                    ALLDA‐
                                                                                                                                                                                                                    PersonalMailbox@dot.gov>,
                                                                                                                                                                                                                    "FHWA‐#ALLDA‐
                                                                                                                                                                                                                    OfficialMailbox" <FHWA‐
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                                                                                                                                                                                                                    OfficialMailbox@dot.gov>,
                                                                                                                                                                                                                    "FHWA‐#ALLDEPDA‐
                                                                                                                                                                                                                    PersonalMailbox" <FHWA‐
                                                                                                                                                                                                                    #ALLDEPDA‐
                                                                                                                                                                                                                    PersonalMailbox@dot.gov>,
                                                                                                                                                                                                                    "Myers, Leslie (FHWA)"
                                                                                                                                                                                                                    <leslie.myers@dot.gov>,
                                                                                                                                                                                                                    "Thompson, Fawn (FHWA)"
                                                                                                                                                                                                                    <Fawn.Thompson@dot.gov>,
                                      New OST data request for new grant agreements [FHWA field leadership New OST data request for new grant agreements _FHWA field leadership                                     "Buck, Darren (FHWA)"
DOT‐002192          DOT‐002194        and HQ program managers]                                             and HQ program managers_.msg                                         2025/03/24 16:03 UTC                <darren.buck@dot.gov>,     "DGCD" <DGCD@dot.gov>              Deliberative Process
                                      New OST data request for new grant agreements [FHWA field leadership
DOT‐002195          DOT‐002198        and HQ program managers]                                             unnamed                                                                                                                                 DGCD@dot.gov                   Deliberative Process
                                                                                                                                                                                                                    "Bezio, Brian (FHWA)"          "Burnell, Tamiko (FHWA)"
DOT‐002199          DOT‐002199        OMB Data Call CFI and NEVI 10 Grants (Draft)                            OMB Data Call CFI and NEVI 10 Grants (Draft).msg                              2025/02/03 22:29 UTC    <Brian.Bezio@dot.gov>          <Tamiko.Burnell@dot.gov>       Deliberative Process
DOT‐002200          DOT‐002200                                                                                CFI_NEVI_1‐23‐25.xlsx                                                                                                                                               Deliberative Process
DOT‐002201          DOT‐002201                                                                                CFI_and_NEVI_Obligations.xlsx                                                                                                                                       Deliberative Process
                                                                                                                                                                                                                    DGCD <DGCD@dot.gov>,
                                                                                                                                                                                                                    "Burnell, Tamiko (FHWA)"
DOT‐002202          DOT‐002203        OST‐P Data Request due 9:30AM EST Wednesday, 3/26                       OST‐P Data Request due 9_30AM EST Wednesday_ 3_26.msg                         2025/03/24 20:46 UTC    <Tamiko.Burnell@dot.gov>       DGCD <DGCD@dot.gov>            Deliberative Process
                                                                                                                                                                                                                    Smith, Loren (OST)             Smith, Loren (OST)
DOT‐002204          DOT‐002207                                                                                3.24.2025_OST‐P_request.pdf                                                   2025/03/24 08:05 UTC    <loren.smith@dot.gov>          <loren.smith@dot.gov>          Deliberative Process
                                                                                                                                                                                                                    Grants Coordination Division
                                                                                                                                                                                                                    <DGCD@dot.gov>, "Burnell,
                                                                                                              OST‐P Data Request_ REVISED & due tomorrow_ 3_27 at 12 noon                                           Tamiko (FHWA)"                 Grants Coordination Division
DOT‐002208          DOT‐002211        OST‐P Data Request: REVISED & due tomorrow, 3/27 at 12 noon EST         EST.msg                                                                       2025/03/26 19:21 UTC    <Tamiko.Burnell@dot.gov>
                                                                                                                                                                                                                     Grants Discipline             <DGCD@dot.gov>                 Deliberative Process
                                                                                                                                                                                                                    <GrantsDiscipline@dot.gov>,
                                                                                                                                                                                                                    "Black, Laura (FHWA)"
                                                                                                                                                                                                                    <Laura.Black@dot.gov>,
                                                                                                                                                                                                                    "Sibold, Andrew (FHWA)"
                                                                                                                                                                                                                    <andrew.sibold@dot.gov>,
                                                                                                                                                                                                                    "Rogers, Alison (FHWA)"
                                                                                                                                                                                                                    <alison.rogers@dot.gov>,
                                                                                                                                                                                                                    "Fletcher, Eryn (FHWA)"
                                                                                                                                                                                                                    <eryn.fletcher@dot.gov>,
                                                                                                                                                                                                                    "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                    <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                    "Holmes, Karen (FHWA)"
                                                                                                                                                                                                                    <Karen.Holmes@dot.gov>,
                                                                                                                                                                                                                    "Walters, Joan (FHWA)"
                                                                                                                                                                                                                    <Joan.Walters@dot.gov>, "Lo,
                                                                                                                                                                                                                    Derek (Volpe)"
                                                                                                                                                                                                                    <Derek.Lo@dot.gov>, "Hogge,
                                                                                                                                                                                                                    Brian (FHWA)"
                                                                                                                                                                                                                    <Brian.Hogge@dot.gov>,
                                                                                                                                                                                                                    "Thompson, Fawn (FHWA)"
                                                                                                                                                                                                                    <Fawn.Thompson@dot.gov>,
                                                                                                                                                                                                                    "Buck, Darren (FHWA)"
                                                                                                                                                                                                                    <darren.buck@dot.gov>,
                                                                                                                                                                                                                    "Garling, Jim (FHWA)"
                                                                                                                                                                                                                    <Jim.Garling@dot.gov>,
                                                                                                                                                                                                                    "Blades, Douglas (FHWA)"     "Grants Discipline"
DOT‐002212          DOT‐002215        PM Roundtable: Q&A on Grant Amendments                                  PM Roundtable_ Q&A on Grant Amendments.msg                                    2025/03/19 12:51 UTC    <Douglas.Blades@dot.gov>, <GrantsDiscipline@dot.gov>          Deliberative Process
DOT‐002216          DOT‐002220        PM Roundtable: Q&A on Grant Amendments                                  unnamed                                                                                                                            GrantsDiscipline@dot.gov         Deliberative Process
                                                                                                                                                                                                                    "Carlile, Saesha (OST)"      "Bezio, Brian (FHWA)"
DOT‐002221          DOT‐002221        Project‐level Data for CFI and NEVI Programs                            Project‐level Data for CFI and NEVI Programs.msg                              2025/02/04 17:00 UTC    <saesha.carlile@dot.gov>     <Brian.Bezio@dot.gov>            Deliberative Process
DOT‐002222          DOT‐002222                                                                                CFI_and_NEVI_Obligations.xlsx                                                                                                                                       Deliberative Process
DOT‐002223          DOT‐002223                                                                                NEVI_Project_Details.xlsx                                                                                                                                           Deliberative Process
                                                                                                              RE ACTION DUE 410 Sustainability InstituteSC Case Discovery                                           "Culp, Michael (FHWA)"         "Patel, Neelam (FHWA)"         Attorney Work Product; Attorney/Client; Deliberative
DOT‐002224          DOT‐002226        RE: ACTION DUE 4/10: Sustainability Institute/SC Case Discovery Request Request.msg                                                                   2025/04/10 19:09 UTC    <Michael.Culp@dot.gov>         <neelam.patel@dot.gov>         Process
                                         2:25-cv-02152-RMG                                                   Date Filed 04/18/25                                                  Entry Number 76                                Page 10 of 39


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                                                                                                                                             CIVIL NO. 2:25-cv-2152
                                                                                                                                 PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                 (As of 4/17/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                                    DATE SENT                TO                          FROM                             PRIVILEGE REASON
                                                                                                                                                                                                                  "Gibson, Johnnie (FHWA)"
                                                                                                                                                                                                                  <Johnnie.Gibson@dot.gov>,
                                                                                                                                                                                                                  "Murray, Mary (FHWA)"         "Hall, Kenan (FHWA)"
DOT‐002227          DOT‐002231        RE: CFI‐EV Charging Stations Dubuque, Iowa                            RE CFI‐EV Charging Stations Dubuque Iowa.msg                                  2025/02/28 16:40 UTC    <mary.murray@dot.gov>         <kenan.hall@dot.gov>         Deliberative Process
                                                                                                                                                                                                                  "Culp, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Culp@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding                                                                                                         "Murray, Mary (FHWA)"         "Jensen, Gary (FHWA)"        Attorney Work Product; Attorney/Client; Deliberative
DOT‐002232          DOT‐002234        allegations made related to FHWA grants                               RE New spending freeze case in South Carolina request GJ.msg                  2025/04/01 18:33 UTC    <mary.murray@dot.gov>         <Gary.Jensen@dot.gov>        Process
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                  <Gary.Jensen@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding                                                                                                         "Murray, Mary (FHWA)"         "Culp, Michael (FHWA)"       Attorney Work Product; Attorney/Client; Deliberative
DOT‐002235          DOT‐002236        allegations made related to FHWA grants                               RE New spending freeze case in South Carolina requestNRP MC.msg               2025/04/01 18:16 UTC    <mary.murray@dot.gov>         <Michael.Culp@dot.gov>       Process
                                                                                                                                                                                                                  "Pulley, Amos (FHWA)"         CFIAwardees
DOT‐002237          DOT‐002239        CFI Round 1B Personalized Grant Agreement Template                    CFI_Round_1B_Personalized_Grant_Agreement_Template.eml         2024/09/13 20:21 UTC                   <amos.pulley@dot.gov>         <CFIAwardees@dot.gov>        Deliberative Process
                                                                                                            GRANT13913130_CFI_Agreement_Metropolitan_Government_of_Nashvil
DOT‐002240          DOT‐002261                                                                              le‐Davidson_County.docx                                                                                                                                          Deliberative Process
                                                                                                                                                                                                                  HCFAALLFEDS
                                                                                                                                                                                                                  <HCFAALLFEDS@dot.gov>,
                                                                                                                                                                                                                  FLH Acquisition               "Curtis, Stephanie (FHWA)"
DOT‐002262          DOT‐002263        RE: ACTION: Temporary Award Pause ‐ Part 2                            RE_ ACTION_ Temporary Award Pause ‐ Part 2.msg                                2025/01/29 03:39 UTC    <FLHAcquisition@dot.gov>      <Stephanie.Curtis@dot.gov>   Deliberative Process

                                                                                                                                                                                                                  "D'Onofrio, David (FHWA)"     "Murray, Mary (FHWA)"
DOT‐002264          DOT‐002266        RE: ARC‐CFI Project                                                   RE_ ARC‐CFI Project .msg                                                      2025/04/01 19:59 UTC    <david.d'onofrio@dot.gov>     <mary.murray@dot.gov>        Deliberative Process


                                                                                                                                                                                                                  "Garling, Jim (FHWA)"
                                                                                                                                                                                                                  <Jim.Garling@dot.gov>,
                                                                                                                                                                                                                  "McNally, Christine (FHWA)"   "Harris, David (FHWA)"
DOT‐002267          DOT‐002272        RE: ATTAIN Cybersecurity Evaluation Documents                         RE_ ATTAIN Cybersecurity Evaluation Documents.msg                             2025/01/29 18:07 UTC    <christine.mcnally@dot.gov>   <dave.harris@dot.gov>        Deliberative Process
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                                  <Sarah.Tarpgaard@dot.gov>,
                                      RE: CFI Grant 693JJ32540020 to Fort Independence Indian Community,    RE_ CFI Grant 693JJ32540020 to Fort Independence Indian Community_                                    "Murray, Mary (FHWA)"         "Jorgenson, Curtis (FHWA)"
DOT‐002273          DOT‐002274        Grant Agreement Amendment 1                                           Grant Agreement Amendment 1 (1).msg                                           2025/04/04 13:46 UTC    <mary.murray@dot.gov>         <Curtis.Jorgenson@dot.gov>   Deliberative Process

                                                                                                                                                                                                                  "Jorgenson, Curtis (FHWA)"
                                                                                                                                                                                                                  <Curtis.Jorgenson@dot.gov>,
                                      RE: CFI Grant 693JJ32540020 to Fort Independence Indian Community,    RE_ CFI Grant 693JJ32540020 to Fort Independence Indian Community_                                    "Murray, Mary (FHWA)"       "Tarpgaard, Sarah (FHWA)"
DOT‐002275          DOT‐002276        Grant Agreement Amendment 1                                           Grant Agreement Amendment 1.msg                                               2025/04/04 13:43 UTC    <mary.murray@dot.gov>       <Sarah.Tarpgaard@dot.gov>      Deliberative Process
DOT‐002277          DOT‐002278                                                                              DRAFT_693JJ32540020_Amdt_1.docx                                                                                                                                  Deliberative Process
                                                                                                                                                                                                                  "Villalobos, David (FHWA)"
                                                                                                                                                                                                                  <david.villalobos@dot.gov>,
                                                                                                                                                                                                                  "Buck, Ryan (FHWA)"           "Burnell, Tamiko (FHWA)"
DOT‐002279          DOT‐002280        FW: ACTION: Interim Grant/Amendment Approval Guidance                 FW:_ACTION:_Interim_Grant_Amendment_Approval_Guidance.eml                     2025/04/02 19:53 UTC    <ryan.buck@dot.gov>           <Tamiko.Burnell@dot.gov>     Deliberative Process

                                                                                                                                                                                                                  "Jorgenson, Curtis (FHWA)"
                                                                                                                                                                                                                  <Curtis.Jorgenson@dot.gov>,
                                                                                                                                                                                                                  "Murray, Mary (FHWA)"       "Tarpgaard, Sarah (FHWA)"
DOT‐002281          DOT‐002283        RE: CFI Grant Agreement Amendments                                    RE_ CFI Grant Agreement Amendments1.msg                                       2025/03/26 15:47 UTC    <mary.murray@dot.gov>       <Sarah.Tarpgaard@dot.gov>      Deliberative Process

                                                                                                                                                                                                                  "Murray, Mary (FHWA)"
                                                                                                                                                                                                                  <mary.murray@dot.gov>,
                                                                                                                                                                                                                  "Culp, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐002284          DOT‐002295        RE: CFI Level 3 Procurement Selection & Contract Authorization        RE_ CFI Level 3 Procurement Selection & Contract Authorization.msg            2025/03/24 17:29 UTC    <Sarah.Tarpgaard@dot.gov>     <Gary.Jensen@dot.gov>        Deliberative Process
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"         "Culp, Michael (FHWA)"
DOT‐002296          DOT‐002296        FW: EVC‐RAA grants: No Cost Time Extension requests                   FW:_EVC‐RAA_grants:_No_Cost_Time_Extension_requests.eml                       2025/03/24 17:07 UTC    <Gary.Jensen@dot.gov>         <Michael.Culp@dot.gov>       Deliberative Process

                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"     "Fauver, Kirk (FHWA)"
DOT‐002297          DOT‐002297        One Year Extension (No Cost) for EVC‐RAA Discretionary Project        One_Year_Extension_(No_Cost)_for_EVC‐RAA_Discretionary_Project.eml 2025/03/21 17:16 UTC               <Sarah.Tarpgaard@dot.gov>     <Kirk.Fauver@dot.gov>        Deliberative Process

                                                                                                                                                                                                                  "Murray, Mary (FHWA)"
                                                                                                                                                                                                                  <mary.murray@dot.gov>,
                                                                                                                                                                                                                  "Culp, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐002298          DOT‐002309        RE: CFI Level 3 Procurement Selection & Contract Authorization        RE_ CFI Level 3 Procurement Selection & Contract Authorization1.msg           2025/03/24 17:29 UTC    <Sarah.Tarpgaard@dot.gov>     <Gary.Jensen@dot.gov>        Deliberative Process
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"         "Culp, Michael (FHWA)"
DOT‐002310          DOT‐002310        FW: EVC‐RAA grants: No Cost Time Extension requests                   unnamed.eml                                                                   2025/03/24 17:07 UTC    <Gary.Jensen@dot.gov>         <Michael.Culp@dot.gov>       Deliberative Process

                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"     "Fauver, Kirk (FHWA)"
DOT‐002311          DOT‐002311        One Year Extension (No Cost) for EVC‐RAA Discretionary Project        One_Year_Extension_(No_Cost)_for_EVC‐RAA_Discretionary_Project.eml 2025/03/21 17:16 UTC               <Sarah.Tarpgaard@dot.gov>     <Kirk.Fauver@dot.gov>        Deliberative Process
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      BEGIN BATES         END BATES                                   SUBJECT                                                             FILENAME                                                    DATE SENT               TO                          FROM                            PRIVILEGE REASON



                                                                                                                                                                                                                  "Bezio, Brian (FHWA)"
                                                                                                                                                                                                                  <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                                  "Curtis, Stephanie (FHWA)"
                                                                                                                                                                                                                  <Stephanie.Curtis@dot.gov>,
                                                                                                                                                                                                                  "Villalobos, David (FHWA)"
                                                                                                                                                                                                                  <david.villalobos@dot.gov>,
                                                                                                                                                                                                                  "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                  <Emily.Biondi@dot.gov>,
                                      RE: CFI Round 2 Problematic Awards ‐ Gross Misappropriation of        RE_ CFI Round 2 Problematic Awards ‐ Gross Misappropriation of                                        "Fleury, Nicolle (FHWA)"    "Jensen, Gary (FHWA)"
DOT‐002312          DOT‐002314        Taxpayer Funds ‐ Many Viable Round 2 Applications Slighted            Taxpayer Funds ‐ Many Viable Round 2 Applications Slighted.msg                2025/01/28 16:51 UTC    <Nicolle.Fleury@dot.gov>    <Gary.Jensen@dot.gov>        Deliberative Process

                                                                                                                                                                                                                  "Villalobos, David (FHWA)"
                                                                                                                                                                                                                  <david.villalobos@dot.gov>,
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                                  <Sarah.Tarpgaard@dot.gov>,
                                                                                                                                                                                                                  "Buck, Ryan (FHWA)"           "Jensen, Gary (FHWA)"
DOT‐002315          DOT‐002315        RE: CFI amendments                                                    RE_ CFI amendments .msg                                                       2025/03/26 18:19 UTC    <ryan.buck@dot.gov>           <Gary.Jensen@dot.gov>      Deliberative Process
                                                                                                                                                                                                                  "Gibson, Johnnie (FHWA)"
                                                                                                                                                                                                                  <Johnnie.Gibson@dot.gov>,
                                                                                                                                                                                                                  "Murray, Mary (FHWA)"         "Hall, Kenan (FHWA)"
DOT‐002316          DOT‐002320        RE: CFI‐EV Charging Stations Dubuque, Iowa                            RE_ CFI‐EV Charging Stations Dubuque_ Iowa (3).msg                            2025/02/28 16:40 UTC    <mary.murray@dot.gov>         <kenan.hall@dot.gov>       Deliberative Process
                                                                                                                                                                                                                  "Hall, Kenan (FHWA)"          "Murray, Mary (FHWA)"
DOT‐002321          DOT‐002326        RE: CFI‐EV Charging Stations Dubuque, Iowa                            RE_ CFI‐EV Charging Stations Dubuque_ Iowa.msg                                2025/02/28 18:32 UTC    <kenan.hall@dot.gov>          <mary.murray@dot.gov>      Deliberative Process

                                                                                                                                                                                                                  "Knopp, Martin (FHWA)"
                                                                                                                                                                                                                  <Martin.Knopp@dot.gov>,
                                                                                                                                                                                                                  "Shepherd, Gloria (FHWA)"     "Bezio, Brian (FHWA)"
DOT‐002327          DOT‐002327        RE: Draft 2025 AASHTO Washington Briefing S1 Talking Points           RE_ Draft 2025 AASHTO Washington Briefing S1 Talking Points.msg               2025/01/31 22:26 UTC    <Gloria.Shepherd@dot.gov>     <Brian.Bezio@dot.gov>      Deliberative Process
DOT‐002328          DOT‐002332                                                                              2025_AASHTO_Washington_Briefing_talking_points_(brb).docx                                                                                                      Deliberative Process
                                                                                                                                                                                                                  "Holmes, Karen (FHWA)"       "Jensen, Gary (FHWA)"
DOT‐002333          DOT‐002333        RE: Expiring funds                                                    RE_ Expiring funds.msg                                                        2025/04/04 17:44 UTC    <Karen.Holmes@dot.gov>       <Gary.Jensen@dot.gov>       Deliberative Process
                                                                                                                                                                                                                  "Sim, Miranda (FHWA)"
                                                                                                                                                                                                                  <miranda.sim@dot.gov>,
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                                  <Sarah.Tarpgaard@dot.gov>,
                                                                                                                                                                                                                  "Tran, Thanh (FHWA)"
                                                                                                                                                                                                                  <Thanh.Tran@dot.gov>, "Culp,
                                      RE: Financial Questions for 2 grants and 1 State DOT (NCTCOG, PR:     RE_ Financial Questions for 2 grants and 1 State DOT (NCTCOG_ PR_                                     Michael (FHWA)"              "Patel, Neelam (FHWA)"
DOT‐002334          DOT‐002335        HEPN20048PR)                                                          HEPN20048PR) (1).msg                                                          2025/02/25 19:57 UTC    <Michael.Culp@dot.gov>       <neelam.patel@dot.gov>      Deliberative Process
DOT‐002336          DOT‐002336                                                                              2025‐2‐24_CFI_Grants_Miranda_Sims_NCTCOG.xlsb.xlsx                                                                                                             Deliberative Process
                                                                                                                                                                                                                  "Sim, Miranda (FHWA)"
                                                                                                                                                                                                                  <miranda.sim@dot.gov>,
                                                                                                                                                                                                                  "Patel, Neelam (FHWA)"
                                                                                                                                                                                                                  <neelam.patel@dot.gov>,
                                                                                                                                                                                                                  "Tran, Thanh (FHWA)"
                                                                                                                                                                                                                  <Thanh.Tran@dot.gov>, "Culp,
                                      RE: Financial Questions for 2 grants and 1 State DOT (NCTCOG, PR:     RE_ Financial Questions for 2 grants and 1 State DOT (NCTCOG_ PR_                                     Michael (FHWA)"              "Tarpgaard, Sarah (FHWA)"
DOT‐002337          DOT‐002340        HEPN20048PR)                                                          HEPN20048PR).msg                                                              2025/02/26 20:02 UTC    <Michael.Culp@dot.gov>       <Sarah.Tarpgaard@dot.gov>   Deliberative Process
DOT‐002341          DOT‐002342                                                                              693JJ32540004_Amdt_1_FE.pdf                                                                                                                                    Deliberative Process
DOT‐002343          DOT‐002344                                                                              Draft_PR_Change_Amdt_1_to_HEPN250048PR.pdf                                                                                                                     Deliberative Process
DOT‐002345          DOT‐002346                                                                              HEPN250048PR.pdf                                                                                                                                               Deliberative Process
                                                                                                                                                                                                                  "Fauver, Kirk (FHWA)"
                                                                                                                                                                                                                  <Kirk.Fauver@dot.gov>,
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                                  <Sarah.Tarpgaard@dot.gov>,
                                      RE: For Recipient Signature: Funding Amendments ‐ CFI and EVC‐RAA     RE_ For Recipient Signature_ Funding Amendments ‐ CFI and EVC‐RAA                                     "Murray, Mary (FHWA)"      "Price, Anna (FHWA)"
DOT‐002347          DOT‐002351        awards to NCT COG                                                     awards to NCT COG.msg                                                         2025/01/23 18:50 UTC    <mary.murray@dot.gov>      <anna.price@dot.gov>          Deliberative Process




                                                                                                                                                                                                                  "Curtis, Stephanie (FHWA)"
                                                                                                                                                                                                                  <Stephanie.Curtis@dot.gov>,
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"
                                                                                                                                                                                                                  <Sarah.Tarpgaard@dot.gov>,
                                                                                                                                                                                                                  "Villalobos, David (FHWA)"
                                                                                                                                                                                                                  <david.villalobos@dot.gov>,
                                      RE: ITS4US Cooperative Agreement ‐ DEIA‐related activities across     RE_ ITS4US Cooperative Agreement ‐ DEIA‐related activities across                                     "Buck, Ryan (FHWA)"           "Bezio, Brian (FHWA)"
DOT‐002352          DOT‐002355        agencies.                                                             agencies_.msg                                                                 2025/01/30 11:36 UTC    <ryan.buck@dot.gov>           <Brian.Bezio@dot.gov>      Deliberative Process
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                  <Gary.Jensen@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                   "Murray, Mary (FHWA)"         "Culp, Michael (FHWA)"     Attorney Work Product; Attorney/Client; Deliberative
DOT‐002356          DOT‐002357        allegations made related to FHWA grants                               allegations made related to FHWA grants (3).msg                               2025/04/01 18:16 UTC    <mary.murray@dot.gov>         <Michael.Culp@dot.gov>     Process

                                                                                                                                                                                                                  "Patel, Neelam (FHWA)"
                                                                                                                                                                                                                  <neelam.patel@dot.gov>,
                                                                                                                                                                                                                  "Tarpgaard, Sarah (FHWA)"     CFIAwardees
DOT‐002358          DOT‐002360        CFI: Notice of Selection for CFI Grant Award                          CFI:_Notice_of_Selection_for_CFI_Grant_Award.eml                              2024/08/29 19:27 UTC    <Sarah.Tarpgaard@dot.gov>     <CFIAwardees@dot.gov>      Deliberative Process
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      BEGIN BATES         END BATES                                  SUBJECT                                                               FILENAME                                                   DATE SENT               TO                         FROM                            PRIVILEGE REASON
                                                                                                                                                                                                                  "Pulley, Amos (FHWA)"       CFIAwardees
DOT‐002361          DOT‐002363        CFI Round 1B Personalized Grant Agreement Template                    CFI_Round_1B_Personalized_Grant_Agreement_Template.eml         2024/09/13 20:21 UTC                   <amos.pulley@dot.gov>       <CFIAwardees@dot.gov>       Deliberative Process
                                                                                                            GRANT13913130_CFI_Agreement_Metropolitan_Government_of_Nashvil
DOT‐002364          DOT‐002385                                                                              le‐Davidson_County.docx                                                                                                                                       Deliberative Process
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                  <Gary.Jensen@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                   "Culp, Michael (FHWA)"        "Murray, Mary (FHWA)"     Attorney Work Product; Attorney/Client; Deliberative
DOT‐002386          DOT‐002388        allegations made related to FHWA grants                               allegations made related to FHWA grants (4).msg                               2025/04/01 16:47 UTC    <Michael.Culp@dot.gov>        <mary.murray@dot.gov>     Process
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                  <Gary.Jensen@dot.gov>,
                                      RE: New "spending freeze" case in South Carolina, request regarding   RE_ New _spending freeze_ case in South Carolina_ request regarding                                   "Culp, Michael (FHWA)"        "Murray, Mary (FHWA)"     Attorney Work Product; Attorney/Client; Deliberative
DOT‐002389          DOT‐002390        allegations made related to FHWA grants                               allegations made related to FHWA grants (5).msg                               2025/04/01 15:54 UTC    <Michael.Culp@dot.gov>        <mary.murray@dot.gov>     Process
                                                                                                                                                                                                                  "Culp, Michael (FHWA)"        "Price, Anna (FHWA)"
DOT‐002391          DOT‐002391        RE: OMB Memo M‐25‐13                                                  RE_ OMB Memo M‐25‐13 (1).msg                                                  2025/01/28 14:32 UTC    <Michael.Culp@dot.gov>        <anna.price@dot.gov>      Deliberative Process
                                                                                                                                                                                                                  "Price, Anna (FHWA)"
                                                                                                                                                                                                                  <anna.price@dot.gov>, "Patel,
                                                                                                                                                                                                                  Neelam (FHWA)"                "Culp, Michael (FHWA)"
DOT‐002392          DOT‐002392        RE: OMB Memo M‐25‐13                                                  RE_ OMB Memo M‐25‐13.msg                                                      2025/01/28 14:31 UTC    <neelam.patel@dot.gov>        <Michael.Culp@dot.gov>    Deliberative Process
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"         "Lupes, Rebecca (FHWA)"
DOT‐002393          DOT‐002394        RE: PROTECT FY22 Expiring data                                        RE_ PROTECT FY22 Expiring data.msg                           2025/04/04 18:00 UTC                     <Gary.Jensen@dot.gov>         <Rebecca.Lupes@dot.gov>   Deliberative Process
                                                                                                            Copy_of_March_2025_Competitive_Grants_Review_Workbook_FOR_CO
DOT‐002395          DOT‐002395                                                                              LLECTIONv2.xlsm                                                                                                                                               Deliberative Process

                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                  <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                  "Biondi, Emily (FHWA)"
                                      RE: Program Manager Roundtable: OST EO Grant and Cooperative          RE_ Program Manager Roundtable_ OST EO Grant and Cooperative                                          <Emily.Biondi@dot.gov>,     "Adderly, Kevin (FHWA)"
DOT‐002396          DOT‐002399        Agreement Review ‐ PPT and Update Excel Sheet                         Agreement Review ‐ PPT and Update Excel Sheet.msg                             2025/03/14 12:14 UTC    HEPODs <HEPODs@dot.gov>     <kevin.adderly@dot.gov>     Deliberative Process
                                                                                                                                                                                                                  "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                  <Tamiko.Burnell@dot.gov>,   "Adderly, Kevin (FHWA)"
DOT‐002400          DOT‐002402        RE: Reminder: OST EO Grant and Cooperative Agreement Review           RE_ Reminder_ OST EO Grant and Cooperative Agreement Review.msg               2025/03/18 20:51 UTC    DGCD <DGCD@dot.gov>         <kevin.adderly@dot.gov>     Deliberative Process
                                                                                                                                                                                                                  "Murray, Mary (FHWA)"
                                                                                                                                                                                                                  <mary.murray@dot.gov>,
                                                                                                                                                                                                                  "Patel, Neelam (FHWA)"
                                                                                                                                                                                                                  <neelam.patel@dot.gov>,
                                                                                                                                                                                                                  "Price, Anna (FHWA)"        "Lombard, Jared (FHWA)"
DOT‐002403          DOT‐002403        RE: Review summary of current CFI grants to discuss                   RE_ Review summary of current CFI grants to discuss (1).msg                   2025/02/14 13:44 UTC    <anna.price@dot.gov>        <jared.lombard@dot.gov>     Deliberative Process
                                                                                                                                                                                                                  "Lombard, Jared (FHWA)"
                                                                                                                                                                                                                  <jared.lombard@dot.gov>,
                                                                                                                                                                                                                  "Patel, Neelam (FHWA)"
                                                                                                                                                                                                                  <neelam.patel@dot.gov>,
                                                                                                                                                                                                                  "Price, Anna (FHWA)"        "Murray, Mary (FHWA)"
DOT‐002404          DOT‐002405        RE: Review summary of current CFI grants to discuss                   RE_ Review summary of current CFI grants to discuss (3).msg                   2025/02/14 13:46 UTC    <anna.price@dot.gov>        <mary.murray@dot.gov>       Deliberative Process
                                                                                                                                                                                                                  "Patel, Neelam (FHWA)"
                                                                                                                                                                                                                  <neelam.patel@dot.gov>,
                                                                                                                                                                                                                  "Lombard, Jared (FHWA)"
                                                                                                                                                                                                                  <jared.lombard@dot.gov>,
                                                                                                                                                                                                                  "Price, Anna (FHWA)"        "Murray, Mary (FHWA)"
DOT‐002406          DOT‐002406        RE: Review summary of current CFI grants to discuss                   RE_ Review summary of current CFI grants to discuss (4).msg                   2025/02/14 13:34 UTC    <anna.price@dot.gov>        <mary.murray@dot.gov>     Deliberative Process
                                                                                                                                                                                                                                              "Macon‐Ryan, Tameka
                                                                                                                                                                                                                                              (FHWA)"
                                                                                                                                                                                                                  "Santalla, Sean (FHWA)"     <tameka.maconryan@dot.gov
DOT‐002407          DOT‐002409        RE: STIP Amendments                                                   RE_ STIP Amendments (1).msg                                                   2025/02/19 17:11 UTC    <sean.santalla@dot.gov>     >                         Deliberative Process
                                                                                                                                                                                                                  "Santalla, Sean (FHWA)"
                                                                                                                                                                                                                  <sean.santalla@dot.gov>,
                                                                                                                                                                                                                  "Macon‐Ryan, Tameka
                                                                                                                                                                                                                  (FHWA)"
                                                                                                                                                                                                                  <tameka.maconryan@dot.gov "Miller, Harlan (FHWA)"
DOT‐002410          DOT‐002412        RE: STIP Amendments                                                   RE_ STIP Amendments.msg                                                       2025/02/19 18:37 UTC    >                         <Harlan.Miller@dot.gov>       Deliberative Process
                                                                                                                                                                                                                  "Bezio, Brian (FHWA)"
                                                                                                                                                                                                                  <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                                  "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                  <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                  "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                  <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                  "Walters, Joan (FHWA)"
                                                                                                                                                                                                                  <Joan.Walters@dot.gov>,
                                                                                                                                                                                                                  "Holmes, Karen (FHWA)"    "Burnell, Tamiko (FHWA)"
DOT‐002413          DOT‐002414        RE: Tracking CFI Obligations                                          RE_ Tracking CFI Obligations (2).msg                                          2025/03/26 11:38 UTC    <Karen.Holmes@dot.gov>    <Tamiko.Burnell@dot.gov>      Deliberative Process
DOT‐002415          DOT‐002415                                                                              CFI_and_NEVI_Obligation_Data.xlsx                                                                                                                             Deliberative Process
                                         2:25-cv-02152-RMG                                                        Date Filed 04/18/25                                                  Entry Number 76                               Page 13 of 39


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                                                                                                                                                  CIVIL NO. 2:25-cv-2152
                                                                                                                                      PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                      (As of 4/17/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                                   FILENAME                                                    DATE SENT               TO                          FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                       "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                       <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                       "Bezio, Brian (FHWA)"
                                                                                                                                                                                                                       <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                                       "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                       <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                       "Walters, Joan (FHWA)"
                                                                                                                                                                                                                       <Joan.Walters@dot.gov>,
                                                                                                                                                                                                                       "Holmes, Karen (FHWA)"        "Jensen, Gary (FHWA)"
DOT‐002416          DOT‐002417        RE: Tracking CFI Obligations                                               RE_ Tracking CFI Obligations.msg                                              2025/03/26 12:06 UTC    <Karen.Holmes@dot.gov>        <Gary.Jensen@dot.gov>       Deliberative Process
DOT‐002418          DOT‐002418                                                                                   CFI_and_NEVI_Obligation_Data.xlsx                                                                                                                               Deliberative Process

                                      RE: URGENT: M‐25‐13 Implementation, "Temporary Pause of Agency
                                      Grant, Loan, and Other Financial Assistance" ‐‐ Guidance/Messages to       RE_ URGENT_ M‐25‐13 Implementation_ _Temporary Pause of Agency                                        "Zlotchenko, Elina (FHWA)"    "Tarpgaard, Sarah (FHWA)"
DOT‐002419          DOT‐002423        Grantees                                                                   Grant_ Loan_ and Other Financial Assistance_ ‐‐ Guidance_Messages.msg 2025/01/29 14:13 UTC            <elina.zlotchenko@dot.gov>    <Sarah.Tarpgaard@dot.gov>   Deliberative Process




                                                                                                                                                                                                                       "Villalobos, David (FHWA)"
                                                                                                                                                                                                                       <david.villalobos@dot.gov>,
                                                                                                                                                                                                                       "Zlotchenko, Elina (FHWA)"
                                                                                                                                                                                                                       <elina.zlotchenko@dot.gov>,
                                      RE: ITS4US Cooperative Agreement ‐ DEIA‐related activities across                                                                                                                "Tarpgaard, Sarah (FHWA)"     "Sleeter, Adam (FHWA)"
DOT‐002424          DOT‐002425        agencies.                                                                  unnamed.eml                                                                   2025/01/27 14:25 UTC    <Sarah.Tarpgaard@dot.gov>     <adam.sleeter@dot.gov>      Deliberative Process
DOT‐002426          DOT‐002426                                                                                   USDOT_Memorandum_on_DEIA_Programs.pdf                                                                                                                           Deliberative Process
                                                                                                                                                                                                                       "Adderly, Kevin (FHWA)"       "Jensen, Gary (FHWA)"
DOT‐002427          DOT‐002431        RE: Updated DOT Guidance on Competitive Grants                             RE_ Updated DOT Guidance on Competitive Grants (1) (1).msg                    2025/03/12 16:00 UTC    <kevin.adderly@dot.gov>       <Gary.Jensen@dot.gov>       Deliberative Process
                                                                                                                                                                                                                       "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                       <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                       "Adderly, Kevin (FHWA)"       "Santiago, Damaris (FHWA)"
DOT‐002432          DOT‐002436        RE: Updated DOT Guidance on Competitive Grants                             RE_ Updated DOT Guidance on Competitive Grants (2).msg                        2025/03/12 17:48 UTC    <kevin.adderly@dot.gov>       <Damaris.Santiago@dot.gov> Deliberative Process

                                                                                                                                                                                                                       "Petty, Kenneth (FHWA)"
                                                                                                                                                                                                                       <Kenneth.Petty@dot.gov>,      "Biondi, Emily (FHWA)"
DOT‐002437          DOT‐002440        RE: Updated DOT Guidance on Competitive Grants                             RE_ Updated DOT Guidance on Competitive Grants (4).msg                        2025/03/12 15:26 UTC    HEPODs <HEPODs@dot.gov>       <Emily.Biondi@dot.gov>      Deliberative Process

                                                                                                                                                                                                                       "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                       <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                       "Petty, Kenneth (FHWA)"
                                                                                                                                                                                                                       <Kenneth.Petty@dot.gov>,      "Suder, Steven (FHWA)"
DOT‐002441          DOT‐002445        RE: Updated DOT Guidance on Competitive Grants                             RE_ Updated DOT Guidance on Competitive Grants (5) (1).msg                    2025/03/12 18:40 UTC    HEPODs <HEPODs@dot.gov>       <steven.suder@dot.gov>      Deliberative Process
                                                                                                                                                                                                                       "Biondi, Emily (FHWA)"        "Adderly, Kevin (FHWA)"
DOT‐002446          DOT‐002449        RE: Updated DOT Guidance on Competitive Grants                             RE_ Updated DOT Guidance on Competitive Grants (6).msg                        2025/03/12 19:01 UTC    <Emily.Biondi@dot.gov>        <kevin.adderly@dot.gov>     Deliberative Process

DOT‐002450          DOT‐002452                                                                                   Competitive_Grant_Programs_‐_EO_Analysis_‐_HEP_03‐12‐25.docx                                                                                                    Deliberative Process

                                                                                                                                                                                                                       "Payne, Jay (FHWA)"
                                                                                                                                                                                                                       <jay.payne@dot.gov>,
                                                                                                                                                                                                                       "Alexander, Felicia (OST)"  "Huynh, Juli (OST)"
DOT‐002453          DOT‐002458        RE: Updated DOT Guidance on Competitive Grants                             RE_ Updated DOT Guidance on Competitive Grants1.msg                           2025/03/19 23:30 UTC    <felicia.alexander@dot.gov> <Juli.Huynh@dot.gov>       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                       "Price, Anna (FHWA)"
                                                                                                                                                                                                                       <anna.price@dot.gov>,
                                                                                                                                                                                                                       "O'Donoghue, Timothy
                                                                                                                                                                                                                       (FHWA)"
                                                                                                      RE_ _EXTERNAL_ RE_ meeting with the Environmental team at                                                        <timothy.o'donoghue@dot.go "Reovan, Andrew (FHWA)"
DOT‐002459          DOT‐002463        RE: [EXTERNAL] RE: meeting with the Environmental team at FHWA  FHWA.msg                                                                                 2025/01/23 12:43 UTC    v>                          <Andrew.Reovan@dot.gov> Deliberative Process
                                                                                                      RE_ _IMPORTANT CLARIFICATION_ USDOT on STIP Amendment                                                            "Santalla, Sean (FHWA)"     "Hinton, Daniel (FHWA)"
DOT‐002464          DOT‐002467        RE: *IMPORTANT CLARIFICATION: USDOT on STIP Amendment Approvals Approvals.msg                                                                            2025/02/20 16:33 UTC    <sean.santalla@dot.gov>     <Daniel.Hinton@dot.gov>    Deliberative Process
                                                                                                                                                                                                                       "Adderly, Kevin (FHWA)"
                                      RE: [JTF 03 ‐ EVs/Alternative Fuel Provisions and Rollout] FW: [Response   RE_ _JTF 03 ‐ EVs_Alternative Fuel Provisions and Rollout_ FW_                                        <kevin.adderly@dot.gov>,    "Zawadzki, Meaghan (FHWA)"
                                      by 10:00am Tuesday, March 11th] "Just the Facts" Sheets for Upcoming       _Response by 10_00am Tuesday_ March 11th_ _Just the Facts_ Sheets                                     "Biondi, Emily (FHWA)"      <meaghan.zawadzki@dot.gov
DOT‐002468          DOT‐002470        Hearings                                                                   (1).msg                                                                       2025/03/11 20:06 UTC    <Emily.Biondi@dot.gov>      >                          Attorney/Client; Deliberative Process


                                                                                                                                                                                                                       "Zawadzki, Meaghan (FHWA)"
                                      RE: [JTF 03 ‐ EVs/Alternative Fuel Provisions and Rollout] FW: [Response   RE_ _JTF 03 ‐ EVs_Alternative Fuel Provisions and Rollout_ FW_                                        <meaghan.zawadzki@dot.gov
                                      by 10:00am Tuesday, March 11th] "Just the Facts" Sheets for Upcoming       _Response by 10_00am Tuesday_ March 11th_ _Just the Facts_ Sheets                                     >, "Biondi, Emily (FHWA)"  "Adderly, Kevin (FHWA)"
DOT‐002471          DOT‐002473        Hearings                                                                   (2).msg                                                                       2025/03/11 18:15 UTC    <Emily.Biondi@dot.gov>     <kevin.adderly@dot.gov>        Attorney/Client; Deliberative Process
DOT‐002474          DOT‐002475                                                                                   EVs_Alternative_Fuel_Provisions_and_Rollout.docx                                                                                                                Deliberative Process
DOT‐002476          DOT‐002477                                                                                   JFT_FSK_Brief_Final_Draft_MD_Division_3.10.2025_HEP.docx                                                                                                        Deliberative Process
DOT‐002478          DOT‐002479                                                                                   NEVI_Program_Freeze.docx                                                                                                                                        Deliberative Process


                                                                                                                                                                                                                       "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                       <meaghan.zawadzki@dot.gov
                                                                                                                                                                                                                       >, "Adderly, Kevin (FHWA)"
                                      RE: [JTF 03 ‐ EVs/Alternative Fuel Provisions and Rollout] FW: [Response   RE_ _JTF 03 ‐ EVs_Alternative Fuel Provisions and Rollout_ FW_                                        <kevin.adderly@dot.gov>,
                                      by 10:00am Tuesday, March 11th] "Just the Facts" Sheets for Upcoming       _Response by 10_00am Tuesday_ March 11th_ _Just the Facts_                                            "Biondi, Emily (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐002480          DOT‐002483        Hearings                                                                   Sheets.msg                                                                    2025/03/11 20:12 UTC    <Emily.Biondi@dot.gov>     <Gary.Jensen@dot.gov>          Attorney/Client; Deliberative Process
                                          2:25-cv-02152-RMG                                                    Date Filed 04/18/25                                                  Entry Number 76                               Page 14 of 39


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                                                                                                                                               CIVIL NO. 2:25-cv-2152
                                                                                                                                   PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                   (As of 4/17/2025)

      BEGIN BATES         END BATES                                   SUBJECT                                                               FILENAME                                                    DATE SENT               TO                           FROM                              PRIVILEGE REASON



                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                    <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                    "Culp, Michael (FHWA)"        "Kruckeberg, Kassondra
                                                                                                                                                                                                                    <Michael.Culp@dot.gov>,       (FHWA)"
                                      RE: [Response by 10:00am Tuesday, March 11th] "Just the Facts" Sheets   RE_ _Response by 10_00am Tuesday_ March 11th_ _Just the Facts_                                        "Brust, Christopher (FHWA)"   <kassondra.kruckeberg@dot.g
DOT‐002484          DOT‐002486        for Upcoming Hearings                                                   Sheets for Upcoming Hearings (5).msg                                          2025/03/07 15:24 UTC    <christopher.brust@dot.gov>   ov>                         Attorney/Client; Deliberative Process
DOT‐002487          DOT‐002487                                                                                NEVI_Program_Freeze.docx                                                                                                                                        Deliberative Process

                                                                                                                                                                                                                    "Kruckeberg, Kassondra
                                                                                                                                                                                                                    (FHWA)"
                                                                                                                                                                                                                    <kassondra.kruckeberg@dot.g
                                                                                                                                                                                                                    ov>, "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                    <Gary.Jensen@dot.gov>,
                                      RE: [Response by 10:00am Tuesday, March 11th] "Just the Facts" Sheets   RE_ _Response by 10_00am Tuesday_ March 11th_ _Just the Facts_                                        "Culp, Michael (FHWA)"      "Brust, Christopher (FHWA)"
DOT‐002488          DOT‐002490        for Upcoming Hearings                                                   Sheets for Upcoming Hearings1.msg                                             2025/03/10 11:35 UTC    <Michael.Culp@dot.gov>      <christopher.brust@dot.gov> Attorney/Client; Deliberative Process
DOT‐002491          DOT‐002492                                                                                NEVI_Program_Freeze__HCF_edits.docx                                                                                                                           Deliberative Process


                                      RE: [Response by COB Monday] Materials for Administrator Confirmation RE_ _Response by COB Monday_ Materials for Administrator                                                "Bresler, Kimberly (FHWA)"    "Jensen, Gary (FHWA)"
DOT‐002493          DOT‐002495        Hearing                                                               Confirmation Hearing (1).msg                                                    2025/03/17 14:01 UTC    <kimberly.bresler@dot.gov>    <Gary.Jensen@dot.gov>        Attorney/Client; Deliberative Process
DOT‐002496          DOT‐002497                                                                              NEVI_Program_Freeze_03.12.25.docx                                                                                                                                  Deliberative Process


                                                                                                                                                                                                                    "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                    <meaghan.zawadzki@dot.gov
                                      RE: [Response by COB Monday] Materials for Administrator Confirmation RE_ _Response by COB Monday_ Materials for Administrator                                                >, "Biondi, Emily (FHWA)"  "Adderly, Kevin (FHWA)"
DOT‐002498          DOT‐002500        Hearing                                                               Confirmation Hearing1.msg                                                       2025/03/17 23:02 UTC    <Emily.Biondi@dot.gov>     <kevin.adderly@dot.gov>         Attorney/Client; Deliberative Process

DOT‐002501          DOT‐002502                                                                                06_EVs_Alternative_Fuel_Provisions_and_Rollout_03.12.25_HEP.docx                                                                                                 Deliberative Process
DOT‐002503          DOT‐002504                                                                                07_NEVI_Program_Freeze_03.12.25_HEP.docx                                                                                                                         Deliberative Process
DOT‐002505          DOT‐002506                                                                                08_QA_‐_NEPA_Assignment_03.17.25_HEP.docx                                                                                                                        Deliberative Process
DOT‐002507          DOT‐002508                                                                                09_GHG_3_17_2025_HEP.docx                                                                                                                                        Deliberative Process
DOT‐002509          DOT‐002511                                                                                10_JTF_NEPA_Acc_Proj_Delivery_&_Env_Review_HEP.docx                                                                                                              Deliberative Process
DOT‐002512          DOT‐002513                                                                                10_QA_MultimodalTransportation03.17.25_HEP.docx                                                                                                                  Deliberative Process
DOT‐002514          DOT‐002515                                                                                11_JTF_NEPA_and_Planning_Status_03.17.25_HEP.docx                                                                                                                Deliberative Process
                                                                                                                                                                                                                    "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                    <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                    "Holmes, Karen (FHWA)"
                                                                                                                                                                                                                    <Karen.Holmes@dot.gov>,
                                                                                                                                                                                                                    "Rogers, Alison (FHWA)"
                                                                                                                                                                                                                    <alison.rogers@dot.gov>,
                                                                                                                                                                                                                    "Walters, Joan (FHWA)"
                                                                                                                                                                                                                    <Joan.Walters@dot.gov>,
                                                                                                                                                                                                                    "Black, Laura (FHWA)"
DOT‐002516          DOT‐002518        Reminder: OST EO Grant and Cooperative Agreement Review                 Reminder_ OST EO Grant and Cooperative Agreement Review.msg                   2025/03/18 17:15 UTC    <Laura.Black@dot.gov>         DGCD <DGCD@dot.gov>          Deliberative Process

                                                                                                                                                                                                                                                  Everlaw
DOT‐002519          DOT‐002523        Sustainability Inst. v. Trump Legal Hold                                Sustainability Inst_ v_ Trump Legal Hold.msg                                  2025/04/02 13:13 UTC    gary.jensen@dot.gov           <notifications@everlaw.com> Attorney Work Product; Attorney/Client

DOT‐002524          DOT‐002534                                                                                TEAMS CHAT New OST data request for new grant agreements.pdf                                                                                                     Deliberative Process
DOT‐002535          DOT‐002536                                                                                TEAMS CHAT PM Roundtable Q&A on Grant Agreements.pdf                                                                                                             Deliberative Process
                                                                                                              TEAMS CHAT Program Manager Roundtabel Restart of Grant
DOT‐002537          DOT‐002540                                                                                Agreements.pdf                                                                                                                                                   Deliberative Process
DOT‐002541          DOT‐002542                                                                                TEAMS CHAT optional OST‐P Data Request Q&A.pdf                                                                                                                   Deliberative Process
DOT‐002543          DOT‐002544        TN CFI grant                                                            TN CFI grant.ics                                                                                                                                                 Deliberative Process
                                                                                                                                                                                                                    "Macon‐Ryan, Tameka
                                                                                                                                                                                                                    (FHWA)"
                                                                                                                                                                                                                    <tameka.maconryan@dot.gov "Santalla, Sean (FHWA)"
DOT‐002545          DOT‐002547        RE: STIP Amendments                                                     Tennessee RE STIP Amendments 02192025.msg                                     2025/02/19 16:38 UTC    >                         <sean.santalla@dot.gov>          Deliberative Process
DOT‐002548          DOT‐002562                                                                                Nashville_MPO_Amendment_189.pdf                                                                                                                                  Deliberative Process
DOT‐002563          DOT‐002574                                                                                Amend 189 2022‐72‐143 Nash.pdf                                                                                                                                   Deliberative Process
DOT‐002575          DOT‐002585                                                                                Nashville_MPO_Amendment_190.pdf                                                                                                                                  Deliberative Process
DOT‐002586          DOT‐002600                                                                                Nashville_MPO_Amendment_191.pdf                                                                                                                                  Deliberative Process
DOT‐002601          DOT‐002612                                                                                MPO Amend 191 2018‐16‐070 Nash.pdf                                                                                                                               Deliberative Process
DOT‐002613          DOT‐002624                                                                                Unleashing American Energy Executive Order.docx                                                                                                                  Deliberative Process
                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"         "Culp, Michael (FHWA)"
DOT‐002625          DOT‐002625        Unleashing American Energy Executive Order.docx                         Unleashing American Energy Executive Order_docx.msg                           2025/01/29 22:16 UTC    <Gary.Jensen@dot.gov>         <Michael.Culp@dot.gov>       Deliberative Process
DOT‐002626          DOT‐002636                                                                                Unleashing_American_Energy_Executive_Order.docx                                                                                                                  Deliberative Process
                                                                                                                                                                                                                    "Culp, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                    "Murray, Mary (FHWA)"
                                                                                                                                                                                                                    <mary.murray@dot.gov>,
                                                                                                                                                                                                                    "Stein, William (FHWA)"       "Patel, Neelam (FHWA)"
DOT‐002637          DOT‐002637        Updated grant guidance                                                  Updated grant guidance.msg                                                    2025/03/12 17:39 UTC    <william.stein@dot.gov>       <neelam.patel@dot.gov>       Deliberative Process
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      BEGIN BATES         END BATES                                  SUBJECT                                                                  FILENAME                                                    DATE SENT                TO                           FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                      CFOS LIST CORE; Associate
                                                                                                                                                                                                                      Administrators for
                                                                                                                2025‐3‐                                                                                               Administration; FATE
DOT‐002638          DOT‐002642        FW: Updated DOT Guidance on Competitive Grants                            11_OST_FW__Updated_DOT_Guidance_on_Competitive_Grants.pdf                     2025/03/12 08:58 UTC    Representatives               Hubbard, Rhea (OST)           Deliberative Process

                                                                                                                                                                                                                      HEP Program Coordination
                                                                                                                                                                                                                      <HEPprogramcoordination@d
                                                                                                                                                                                                                      ot.gov>, "Adderly, Kevin
                                                                                                                                                                                                                      (FHWA)"
                                                                                                                                                                                                                      <kevin.adderly@dot.gov>,
                                      [JTF 03 ‐ EVs/Alternative Fuel Provisions and Rollout] FW: [Response by                                                                                                         HEPODs <HEPODs@dot.gov>, "Zawadzki, Meaghan (FHWA)"
                                      10:00am Tuesday, March 11th] "Just the Facts" Sheets for Upcoming         _JTF 03 ‐ EVs_Alternative Fuel Provisions and Rollout_ FW_ _Response by                               "Smoker, Matt (FHWA)"     <meaghan.zawadzki@dot.gov
DOT‐002643          DOT‐002644        Hearings                                                                  10_00am Tuesday_ March 11th_ _Just the Facts_ Sheets for.msg            2025/03/06 16:48 UTC          <matt.smoker@dot.gov>     >                         Attorney/Client; Deliberative Process
                                                                                                                EVs_Alternative_Fuel_Provisions_and_Rollout_From_11.20.24_Hearing_
DOT‐002645          DOT‐002648                                                                                  Book.docx                                                                                                                                                         Deliberative Process
DOT‐002649          DOT‐002649                                                                                  JTF_Sample.docx                                                                                        Marquis, Rick (FHWA)                                       Deliberative Process
                                                                                                                                                                                                                      <Rick.Marquis@dot.gov>,
                                                                                                                                                                                                                      "Vaughn‐Fair, Sharon (FHWA)"
                                                                                                                                                                                                                      <Sharon.Vaughn‐
                                                                                                                                                                                                                      Fair@dot.gov>, "Harkins,
                                                                                                                                                                                                                      Michael (FHWA)"
                                                                                                                                                                                                                      <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                      "FHWA, Operations (FHWA)"
                                                                                                                                                                                                                      <Operations.FHWA@dot.gov>,
                                                                                                                                                                                                                      "Flom, Ewa (FHWA)"
                                                                                                                                                                                                                      <Ewa.Flom@dot.gov>, "HEP
                                                                                                                                                                                                                      Program Coordination"
                                                                                                                                                                                                                      <HEPprogramcoordination@d
                                                                                                                                                                                                                      ot.gov>, "Adderly, Kevin
                                                                                                                                                                                                                      (FHWA)"
                                                                                                                                                                                                                      <kevin.adderly@dot.gov>,
                                                                                                                                                                                                                      HEPODs <HEPODs@dot.gov>,
                                                                                                                                                                                                                      "Smoker, Matt (FHWA)"
                                                                                                                                                                                                                      <matt.smoker@dot.gov>,
                                                                                                                                                                                                                      "Brust, Christopher (FHWA)"
                                                                                                                                                                                                                      <christopher.brust@dot.gov>,
                                                                                                                                                                                                                      "Reed, Nicole (FHWA)"
                                                                                                                                                                                                                      <nicole.reed@dot.gov>,
                                                                                                                                                                                                                      "Kruckeberg, Kassondra
                                                                                                                                                                                                                      (FHWA)"
                                                                                                                                                                                                                      <kassondra.kruckeberg@dot.g "Zawadzki, Meaghan (FHWA)"
                                      [Response by 10:00am Tuesday, March 11th] "Just the Facts" Sheets for     _Response by 10_00am Tuesday_ March 11th_ _Just the Facts_ Sheets                                     ov>, "Xiong, Pa Youa (FHWA)" <meaghan.zawadzki@dot.gov
DOT‐002650          DOT‐002651        Upcoming Hearings                                                         for Upcoming Hearings.msg                                                     2025/03/06 16:41 UTC    <payoua.xiong@dot.gov>,      >                              Attorney/Client; Deliberative Process
DOT‐002652          DOT‐002652                                                                                  JTF_Sample.docx                                                                                                                                                   Deliberative Process
                                                                                                                                                                                                                      "DGCD" <DGCD@dot.gov>,
                                                                                                                                                                                                                      "Black, Laura (FHWA)"
                                                                                                                                                                                                                      <Laura.Black@dot.gov>,
                                                                                                                                                                                                                      "Burnell, Tamiko (FHWA)"     "Grants Coordination Division"
DOT‐002653          DOT‐002655        [optional] OST‐P Data Request Q&A                                         _optional_ OST‐P Data Request Q&A.msg                                         2025/03/25 11:36 UTC    <Tamiko.Burnell@dot.gov>     <DGCD@dot.gov>                 Deliberative Process
DOT‐002656          DOT‐002658        [optional] OST‐P Data Request Q&A                                         unnamed                                                                                                                            DGCD@dot.gov                   Deliberative Process
                                                                                                                                                                                                                                                                                  Attorney Work Product; Attorney/Client; Deliberative
DOT‐002659          DOT‐002684                                                                                  Chief Counsel Biweekly Report 3.19.25.pdf                                                                                                                         Process
                                                                                                                                                                                                                                                                                  Attorney Work Product; Attorney/Client; Deliberative
DOT‐002685          DOT‐002709                                                                                  Chief Counsel Biweekly Report 4.2.25.pdf                                                                                                                          Process
                                                                                                                                                                                                                                                                                  Attorney Work Product; Attorney/Client; Deliberative
DOT‐002710          DOT‐002733                                                                                  Chief Counsel Report 3.5.25.pdf                                                                                                                                   Process
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                                                                                                                                       CIVIL NO. 2:25-cv-2152
                                                                                                                           PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                           (As of 4/17/2025)

      BEGIN BATES         END BATES                                   SUBJECT                                                       FILENAME                                                    DATE SENT                 TO (FHWA)                 FROM                              PRIVILEGE REASON
                                                                                                                                                                                                             Andotra, Michelle
                                                                                                                                                                                                            <michelle.andotra@dot.gov>,
                                                                                                                                                                                                            "Esselman, James (FHWA)"
                                                                                                                                                                                                            <james.esselman@dot.gov>,
                                                                                                                                                                                                            "Gabrilovich, Lev (FHWA)"
                                                                                                                                                                                                            <lev.gabrilovich@dot.gov>,
                                                                                                                                                                                                            "Horan, Dawn (FHWA)"
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                                                                                                                                                                                                            "Mapp, Caroline (FHWA)"
                                                                                                                                                                                                            <caroline.mapp@dot.gov>,
                                                                                                                                                                                                            "Mobley, Diane (FHWA)"
                                                                                                                                                                                                            <Diane.Mobley@dot.gov>,
                                                                                                                                                                                                            "Morales, Silvio (FHWA)"
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                                                                                                                                                                                                            "Serody, David (FHWA)"
                                                                                                                                                                                                            <david.serody@dot.gov>,
                                                                                                                                                                                                            "Shaw, Alla (FHWA)"
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                                                                                                                                                                                                            <mariya.tikhonova@dot.gov>,
                                                                                                                                                                                                            "Winne, William (FHWA)"
                                                                                                                                                                                                            <william.winne@dot.gov>,
                                                                                                                                                                                                            "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                            (FHWA)" <Gloria.Hardiman‐
                                                                                                                                                                                                            Tobin@dot.gov>, "Sleeter,
                                                                                                                                                                                                            Adam (FHWA)"
                                                                                                                                                                                                            <adam.sleeter@dot.gov>,     "Harkins, Michael (FHWA)"
DOT‐002734          DOT‐002734        Competitive Grant Obligations                                   Competitive Grant Obligations.msg                                             2025/03/17 14:16 UTC    "Richardson, Christopher    <Michael.Harkins@dot.gov>     Attorney/Client; Deliberative Process

DOT‐002735          DOT‐002737                                                                        David Serody Colleen Fletcher January 22 Microsoft Teams Chat.pdf                                                                                               Attorney/Client; Deliberative Process
DOT‐002738          DOT‐002739                                                                        David Serody Danni Capri Microsoft Teams Chat.pdf                                                                                                               Attorney/Client; Deliberative Process
DOT‐002740          DOT‐002741                                                                        David Serody Michael Cain Microsoft Teams Chat.pdf                                                                                                              Attorney/Client; Deliberative Process

DOT‐002742          DOT‐002745                                                                        David Serody Tricia Millington January 27 Microsoft Teams Chat.pdf                                                                                              Attorney/Client; Deliberative Process
                                                                                                      Early April 2025 FHWA Chief Counsels Report to DOT General Counsel                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002746          DOT‐002748                                                                        (clean copy).docx                                                                                                                                               Process
                                                                                                      Early April 2025 FHWA Chief Counsels Report to DOT General Counsel                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002749          DOT‐002751                                                                        nmf.docx                                                                                                                                                        Process
                                                                                                      Early April 2025 FHWA Chief Counsels Report to DOT General                                                                                                      Attorney Work Product; Attorney/Client; Deliberative
DOT‐002752          DOT‐002754                                                                        Counsel.docx                                                                                                                                                    Process
                                                                                                      Early March 2025 FHWA Chief Counsels Report to DOT General Counsel                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002755          DOT‐002756                                                                        (1).docx                                                                                                                                                        Process
                                                                                                      Early March 2025 FHWA Chief Counsels Report to DOT General Counsel                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002757          DOT‐002759                                                                        nmf (JOP).docx                                                                                                                                                  Process
                                                                                                      Early March 2025 FHWA Chief Counsels Report to DOT General Counsel                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002760          DOT‐002762                                                                        nmf.docx                                                                                                                                                        Process
                                                                                                      Early March 2025 FHWA Chief Counsels Report to DOT General                                                                                                      Attorney Work Product; Attorney/Client; Deliberative
DOT‐002763          DOT‐002764                                                                        Counsel.docx                                                                                                                                                    Process
                                                                                                                                                                                                            "Shaw, Alla (FHWA)"
                                                                                                                                                                                                            <Alla.Shaw@dot.gov>,
                                                                                                                                                                                                            "Soppet, Katie (FHWA)"
                                                                                                                                                                                                            <katie.soppet@dot.gov>, "An,
                                                                                                                                                                                                            Ellie (FHWA)"
                                                                                                                                                                                                            <ellie.an@dot.gov>, "Sleeter,
                                                                                                                                                                                                            Adam (FHWA)"
                                                                                                                                                                                                            <adam.sleeter@dot.gov>,
                                      FW: ACTION: Request for Review and Comments on GrantSolutions   FW_ ACTION_ Request for Review and Comments on GrantSolutions                                         "Serody, David (FHWA)"        "Harkins, Michael (FHWA)"
DOT‐002765          DOT‐002766        Recipient Onboarding Slide Presentation                         Recipient Onboarding Slide Presentation.msg                                   2025/01/21 16:34 UTC    <david.serody@dot.gov>        <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                      FHWA_Recipient_GrantSolutions_Onboarding_Training_Group_A‐
DOT‐002767          DOT‐002811                                                                        DGCD.pptx                                                                                                                                                       Attorney/Client; Deliberative Process
                                         2:25-cv-02152-RMG                              Date Filed 04/18/25                                                  Entry Number 76                                Page 17 of 39


                                                                                                             The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                        CIVIL NO. 2:25-cv-2152
                                                                                                            PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                            (As of 4/17/2025)

      BEGIN BATES         END BATES                                   SUBJECT                                        FILENAME                                                    DATE SENT                TO                        FROM                             PRIVILEGE REASON




                                                                                                                                                                                             "Andotra, Michelle (FHWA)"
                                                                                                                                                                                             <michelle.andotra@dot.gov>,
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                                                                                                                                                                                             "Hardiman‐Tobin, Gloria
                                                                                                                                                                                             (FHWA)" <Gloria.Hardiman‐   "Harkins, Michael (FHWA)"
DOT‐002812          DOT‐002816        FW: Updated DOT Guidance on Competitive Grants   FW_ Updated DOT Guidance on Competitive Grants (3).msg                        2025/03/24 18:29 UTC    Tobin@dot.gov>              <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
DOT‐002817          DOT‐002817                                                         March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                            Attorney/Client; Deliberative Process
                                                                                                                                                                                             "Buck, Darren (FHWA)"
                                                                                                                                                                                             <darren.buck@dot.gov>,
                                                                                                                                                                                             "Suder, Steven (FHWA)"
                                                                                                                                                                                             <steven.suder@dot.gov>,
                                                                                                                                                                                             "Justice, Kaitlin (Volpe)"
                                                                                                                                                                                             <Kaitlin.Justice@dot.gov>,
                                                                                                                                                                                             "Burkin, Liza (Volpe)"       "Serody, David (FHWA)"
DOT‐002818          DOT‐002819        FW: Urgent: Debriefs for pollinators             FW_ Urgent_ Debriefs for pollinators.msg                                      2025/01/23 14:43 UTC    <Liza.Burkin@dot.gov>        <david.serody@dot.gov>     Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                     Attorney Work Product; Attorney/Client; Deliberative
DOT‐002820          DOT‐002821                                                         February 10‐21 Serody Weekly Report.docx                                                                                                                      Process
                                                                                                                                                                                             "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                             <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                             "Payne, Jay (FHWA)"          "Serody, David (FHWA)"
DOT‐002822          DOT‐002822        General Counsel Report for 3/19 Meeting          General Counsel Report for 3_19 Meeting.msg                    2025/03/13 21:39 UTC                   <jay.payne@dot.gov>          <david.serody@dot.gov>     Attorney/Client; Deliberative Process
                                                                                       Early_March_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Cou                                                                                                Attorney Work Product; Attorney/Client; Deliberative
DOT‐002823          DOT‐002824                                                         nsel.docx                                                                                                                                                     Process
                                                                                                                                                                                                                                                     Attorney Work Product; Attorney/Client; Deliberative
DOT‐002825          DOT‐002826                                                         January 21‐24 2025 Serody Weekly Report.docx                                                                                                                  Process
                                                                                                                                                                                                                                                     Attorney Work Product; Attorney/Client; Deliberative
DOT‐002827          DOT‐002828                                                         January 27‐February 7 2025 Serody Weekly Report.docx                                                                                                          Process
                                                                                       Late March 2025 FHWA Chief Counsels Report to DOT General Counsel                                                                                             Attorney Work Product; Attorney/Client; Deliberative
DOT‐002829          DOT‐002830                                                         (1).docx                                                                                                                                                      Process
                                                                                       Late March 2025 FHWA Chief Counsels Report to DOT General Counsel                                                                                             Attorney Work Product; Attorney/Client; Deliberative
DOT‐002831          DOT‐002832                                                         nmf.docx                                                                                                                                                      Process
                                                                                       Late March 2025 FHWA Chief Counsels Report to DOT General                                                                                                     Attorney Work Product; Attorney/Client; Deliberative
DOT‐002833          DOT‐002834                                                         Counsel.docx                                                                                                                                                  Process
                                         2:25-cv-02152-RMG                                                     Date Filed 04/18/25                                                  Entry Number 76                                Page 18 of 39


                                                                                                                                    The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                               CIVIL NO. 2:25-cv-2152
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      BEGIN BATES         END BATES                                 SUBJECT                                                                 FILENAME                                                    DATE SENT                TO                          FROM                             PRIVILEGE REASON
                                                                                                                                                                                                                    "Andotra, Michelle (FHWA)"
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                                                                                                                                                                                                                    "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                                    (FHWA)" <Gloria.Hardiman‐   "Harkins, Michael (FHWA)"
DOT‐002835          DOT‐002836        New Directives                                                          New Directives.msg                                                            2025/01/21 15:40 UTC    Tobin@dot.gov>              <Michael.Harkins@dot.gov>     Attorney/Client; Deliberative Process
DOT‐002837          DOT‐002837                                                                                Legal_Review_of_DOT_documents.pdf                                                                                                                               Attorney/Client

                                                                                                                                                                                                                    "Neathery, Mike (FHWA)"
                                                                                                                                                                                                                    <Mike.Neathery@dot.gov>,
                                                                                                                                                                                                                    "Schaftlein, Shari (FHWA)"    "Douwes, Christopher
                                                                                                                                                                                                                    <Shari.Schaftlein@dot.gov>,   (FHWA)"
                                      RE: ACTION: U.S. Department of Transportation Fiscal Year (FY) 2025 ‐ SES RE ACTION U.S. Department of Transportation Fiscal Year (FY) 2025 ‐ SES                             "Tran, Thanh (FHWA)"          <Christopher.Douwes@dot.go
DOT‐002838          DOT‐002840        Performance Plan Revision                                                 Performance Plan Revision.msg                                           2025/03/28 11:43 UTC        <Thanh.Tran@dot.gov>          v>                         Deliberative Process




                                                                                                                                                                                                                    "Maiefski, Melissa (FHWA)"
                                                                                                                                                                                                                    <melissa.maiefski@dot.gov>,
                                                                                                                                                                                                                    "Justice, Kaitlin (Volpe)"
                                                                                                                                                                                                                    <Kaitlin.Justice@dot.gov>,
                                                                                                                                                                                                                    "Buck, Darren (FHWA)"
                                                                                                                                                                                                                    <darren.buck@dot.gov>,
                                                                                                                                                                                                                    "Blackshear, Danielle (FHWA)"
                                                                                                                                                                                                                    <Danielle.Blackshear@dot.gov
                                                                                                                                                                                                                    >, "Rogers, Alison (FHWA)"    "Serody, David (FHWA)"
DOT‐002841          DOT‐002842        RE: ATIIP Questions                                                     RE ATIIP Questions.msg                                                        2025/01/22 21:09 UTC    <alison.rogers@dot.gov>       <david.serody@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002843          DOT‐002874                                                                                ATIIP_FY2023_FHWA_Exhibits_Final_(1‐17‐25).docx                                                                                                                 Process
                                                                                                                                                                                                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002875          DOT‐002906                                                                                ATIP_FY2023_General_Terms_and_Conditions_Final_(1‐16‐25).docx                                                                                                   Process
                                                                                                                                                                                                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002907          DOT‐002927                                                                                GS_ATIIP_FY2023_Grant_Agreement_Schedules_Final_(1‐17‐25).docx                                                                                                  Process
                                                                                                              GS_Instructions_ATIIPs_FY2023_Grant_Agreement_Schedules_Final_(1‐                                                                                               Attorney Work Product; Attorney/Client; Deliberative
DOT‐002928          DOT‐002940                                                                                17‐25).docx                                                                                                                                                     Process
                                                                                                                                                                                                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐002941          DOT‐002963                                                                                NonGS_ATIIP_FY2023_Grant_Agreement_Schedules_Final_(1‐17‐25).docx                                                                                               Process
                                                                                                              NonGS_Instructions_ATIIP_FY2023_Grant_Agreement_Schedules_Final_(                                                                                               Attorney Work Product; Attorney/Client; Deliberative
DOT‐002964          DOT‐002978                                                                                1‐17‐25).docx                                                                                                                                                   Process
                                                                                                                                                                                                                    "Carrera, Jack (FHWA)"
                                                                                                                                                                                                                    <jack.carrera@dot.gov>,
                                                                                                                                                                                                                    "Payne, Jay (FHWA)"           "Fleury, Nicolle (FHWA)"
DOT‐002979          DOT‐002980        RE: Chief Counsel Report for 4/2 Meeting                                RE_ Chief Counsel Report for 4_2 Meeting (1).msg                2025/03/31 20:07 UTC                  <jay.payne@dot.gov>           <Nicolle.Fleury@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                              Early_April_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Coun                                                                                                 Attorney Work Product; Attorney/Client; Deliberative
DOT‐002981          DOT‐002983                                                                                sel_nmf.docx                                                                                                                                                    Process
                                                                                                                                                                                                                    "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                    <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                    "Carrera, Jack (FHWA)"        "Payne, Jay (FHWA)"         Attorney Work Product; Attorney/Client; Deliberative
DOT‐002984          DOT‐002986        RE: Chief Counsel Report for 4/2 Meeting                                RE_ Chief Counsel Report for 4_2 Meeting (2).msg                2025/03/31 22:23 UTC                  <jack.carrera@dot.gov>        <jay.payne@dot.gov>         Process
                                                                                                              Early_April_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Coun                                                                                                 Attorney Work Product; Attorney/Client; Deliberative
DOT‐002987          DOT‐002989                                                                                sel_nmf_(JOP).docx                                                                                                                                              Process
                                                                                                                                                                                                                    "Payne, Jay (FHWA)"
                                                                                                                                                                                                                    <jay.payne@dot.gov>, "Fleury,
                                                                                                                                                                                                                    Nicolle (FHWA)"               "Carrera, Jack (FHWA)"
DOT‐002990          DOT‐002991        RE: Chief Counsel Report for 4/2 Meeting                                RE_ Chief Counsel Report for 4_2 Meeting.msg                    2025/03/31 19:22 UTC                  <Nicolle.Fleury@dot.gov>      <jack.carrera@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                              Early_April_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Coun                                                                                                 Attorney Work Product; Attorney/Client; Deliberative
DOT‐002992          DOT‐002994                                                                                sel.docx                                                                                                                                                        Process
                                         2:25-cv-02152-RMG                                                  Date Filed 04/18/25                                                  Entry Number 76                               Page 19 of 39


                                                                                                                                 The Sustainability Institute, et al. v. Trump, et al.
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      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                                   DATE SENT               TO                          FROM                             PRIVILEGE REASON
                                                                                                                                                                                                                 "Carrera, Jack (FHWA)"
                                                                                                                                                                                                                 <jack.carrera@dot.gov>,
                                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,   "Hardiman‐Tobin, Gloria
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    "Shaw, Alla (FHWA)"          (FHWA)" <Gloria.Hardiman‐
DOT‐002995          DOT‐002998        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (1).msg                                                                       2025/03/28 15:15 UTC    <Alla.Shaw@dot.gov>          Tobin@dot.gov>              Attorney/Client; Deliberative Process
                                                                                                                                                                                                                 "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                                 (FHWA)" <Gloria.Hardiman‐
                                                                                                                                                                                                                 Tobin@dot.gov>, "Harkins,
                                                                                                                                                                                                                 Michael (FHWA)"
                                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    "Shaw, Alla (FHWA)"          "Serody, David (FHWA)"
DOT‐002999          DOT‐003002        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (2).msg                                                                       2025/03/28 15:57 UTC    <Alla.Shaw@dot.gov>          <david.serody@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                 "Serody, David (FHWA)"
                                                                                                                                                                                                                 <david.serody@dot.gov>,
                                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,   "Hardiman‐Tobin, Gloria
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    "Shaw, Alla (FHWA)"          (FHWA)" <Gloria.Hardiman‐
DOT‐003003          DOT‐003006        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (3).msg                                                                       2025/03/28 15:58 UTC    <Alla.Shaw@dot.gov>          Tobin@dot.gov>              Attorney/Client; Deliberative Process
                                                                                                                                                                                                                 "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                                 (FHWA)" <Gloria.Hardiman‐
                                                                                                                                                                                                                 Tobin@dot.gov>, "Serody,
                                                                                                                                                                                                                 David (FHWA)"
                                                                                                                                                                                                                 <david.serody@dot.gov>,
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    "Shaw, Alla (FHWA)"          "Harkins, Michael (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003007          DOT‐003010        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (4).msg                                                                       2025/03/28 16:29 UTC    <Alla.Shaw@dot.gov>          <Michael.Harkins@dot.gov>   Process
                                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                 "Serody, David (FHWA)"
                                                                                                                                                                                                                 <david.serody@dot.gov>,      "Hardiman‐Tobin, Gloria
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    "Shaw, Alla (FHWA)"          (FHWA)" <Gloria.Hardiman‐
DOT‐003011          DOT‐003015        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (5).msg                                                                       2025/03/28 16:39 UTC    <Alla.Shaw@dot.gov>          Tobin@dot.gov>              Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                              "Hardiman‐Tobin, Gloria
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    "Carrera, Jack (FHWA)"       (FHWA)" <Gloria.Hardiman‐   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003016          DOT‐003019        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (6).msg                                                                       2025/03/28 16:40 UTC    <jack.carrera@dot.gov>       Tobin@dot.gov>              Process
                                                                                                                                                                                                                 "Hardiman‐Tobin, Gloria
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    (FHWA)" <Gloria.Hardiman‐    "Carrera, Jack (FHWA)"      Attorney Work Product; Attorney/Client; Deliberative
DOT‐003020          DOT‐003023        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (7).msg                                                                       2025/03/28 17:01 UTC    Tobin@dot.gov>               <jack.carrera@dot.gov>      Process
                                                                                                                                                                                                                                              "Hardiman‐Tobin, Gloria
                                                                                                           RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review)                                    "Carrera, Jack (FHWA)"       (FHWA)" <Gloria.Hardiman‐   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003024          DOT‐003028        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   (8).msg                                                                       2025/03/28 17:03 UTC    <jack.carrera@dot.gov>       Tobin@dot.gov>              Process
                                                                                                                                                                                                                 "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                                 (FHWA)" <Gloria.Hardiman‐
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                                                                                                                                                                                                                 "Shaw, Alla (FHWA)"          "Carrera, Jack (FHWA)"
DOT‐003029          DOT‐003031        RE: Chief Counsels Report ‐ Early April (Competitive Grant Review)   RE_ Chief Counsels Report ‐ Early April (Competitive Grant Review).msg        2025/03/28 15:08 UTC    <Alla.Shaw@dot.gov>          <jack.carrera@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                 "Carrera, Jack (FHWA)"       "Shaw, Alla (FHWA)"
DOT‐003032          DOT‐003033        RE: Chief Counsels Report ‐ Early March                              RE_ Chief Counsels Report ‐ Early March.msg                                   2025/02/28 22:57 UTC    <jack.carrera@dot.gov>       <Alla.Shaw@dot.gov>         Attorney/Client; Deliberative Process
                                                                                                           RE_ Chief Counsels Report ‐ Late March (Competitive Grant Review)                                     "Serody, David (FHWA)"       "Shaw, Alla (FHWA)"
DOT‐003034          DOT‐003036        RE: Chief Counsels Report ‐ Late March (Competitive Grant Review)    (1).msg                                                                       2025/03/14 22:03 UTC    <david.serody@dot.gov>       <Alla.Shaw@dot.gov>         Attorney/Client; Deliberative Process
                                                                                                                                                                                                                 "Shaw, Alla (FHWA)"          "Serody, David (FHWA)"
DOT‐003037          DOT‐003038        RE: Chief Counsels Report ‐ Late March (Competitive Grant Review)    RE_ Chief Counsels Report ‐ Late March (Competitive Grant Review).msg 2025/03/14 17:19 UTC            <Alla.Shaw@dot.gov>          <david.serody@dot.gov>      Attorney Work Product; Deliberative Process
                                         2:25-cv-02152-RMG                                           Date Filed 04/18/25                                                Entry Number 76                                Page 20 of 39


                                                                                                                        The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                   CIVIL NO. 2:25-cv-2152
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      BEGIN BATES         END BATES                                 SUBJECT                                                     FILENAME                                                    DATE SENT                TO                        FROM                             PRIVILEGE REASON



                                                                                                                                                                                                        "Andotra, Michelle (FHWA)"
                                                                                                                                                                                                        <michelle.andotra@dot.gov>,
                                                                                                                                                                                                        "Esselman, James (FHWA)"
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                                                                                                                                                                                                        "Winne, William (FHWA)"
                                                                                                                                                                                                        <william.winne@dot.gov>,
                                                                                                                                                                                                        "Hardiman‐Tobin, Gloria
                                      FW: [Action requested by March 24, 2025] Review of existing                                                                                                       (FHWA)" <Gloria.Hardiman‐   "Harkins, Michael (FHWA)"
DOT‐003039          DOT‐003041        discretionary grant award agreements                          unnamed(1).eml                                                              2025/03/11 20:21 UTC    Tobin@dot.gov>              <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
DOT‐003042          DOT‐003042                                                                      EO_14222_discretionary_grants_review_data_call_031125.xlsm                                                                                                  Attorney/Client; Deliberative Process



                                                                                                                                                                                                        "Andotra, Michelle (FHWA)"
                                                                                                                                                                                                        <michelle.andotra@dot.gov>,
                                                                                                                                                                                                        "Esselman, James (FHWA)"
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                                                                                                                                                                                                        "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                        (FHWA)" <Gloria.Hardiman‐   "Harkins, Michael (FHWA)"
DOT‐003043          DOT‐003046        FW: Updated DOT Guidance on Competitive Grants                unnamed.eml                                                                 2025/03/11 19:18 UTC    Tobin@dot.gov>              <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                                                                                                                        "Carrera, Jack (FHWA)"
                                                                                                                                                                                                        <jack.carrera@dot.gov>,
                                                                                                                                                                                                        "Payne, Jay (FHWA)"         "Fleury, Nicolle (FHWA)"
DOT‐003047          DOT‐003049        RE: Chief Counsels Report ‐ March 5th Meeting                 RE_ Chief Counsels Report ‐ March 5th Meeting (1).msg          2025/03/03 22:44 UTC                 <jay.payne@dot.gov>         <Nicolle.Fleury@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                    Early_March_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Cou                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐003050          DOT‐003052                                                                      nsel_nmf.docx                                                                                                                                               Process
                                                                                                                                                                                                        "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                        <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                        "Carrera, Jack (FHWA)"      "Payne, Jay (FHWA)"
DOT‐003053          DOT‐003055        RE: Chief Counsels Report ‐ March 5th Meeting                 RE_ Chief Counsels Report ‐ March 5th Meeting (2).msg          2025/03/03 23:51 UTC                 <jack.carrera@dot.gov>      <jay.payne@dot.gov>         Attorney/Client; Deliberative Process
                                                                                                    Early_March_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Cou                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐003056          DOT‐003058                                                                      nsel_nmf_(JOP).docx                                                                                                                                         Process
                                                                                                                                                                                                        "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                        <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                        "Payne, Jay (FHWA)"         "Carrera, Jack (FHWA)"      Attorney Work Product; Attorney/Client; Deliberative
DOT‐003059          DOT‐003060        RE: Chief Counsels Report ‐ March 5th Meeting                 RE_ Chief Counsels Report ‐ March 5th Meeting.msg              2025/03/03 22:01 UTC                 <jay.payne@dot.gov>         <jack.carrera@dot.gov>      Process
                                                                                                    Early_March_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Cou                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐003061          DOT‐003062                                                                      nsel.docx                                                                                                                                                   Process
                                                                                                                                                                                                        "Serody, David (FHWA)"
                                                                                                                                                                                                        <david.serody@dot.gov>,
                                                                                                                                                                                                        "Payne, Jay (FHWA)"         "Fleury, Nicolle (FHWA)"
DOT‐003063          DOT‐003064        RE: General Counsel Report for 3/19 Meeting                   RE_ General Counsel Report for 3_19 Meeting (1).msg           2025/03/17 18:50 UTC                  <jay.payne@dot.gov>         <Nicolle.Fleury@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                    Late_March_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Cou                                                                                               Attorney Work Product; Attorney/Client; Deliberative
DOT‐003065          DOT‐003066                                                                      nsel_nmf.docx                                                                                                                                               Process
                                         2:25-cv-02152-RMG                                                   Date Filed 04/18/25                                                  Entry Number 76                               Page 21 of 39


                                                                                                                                  The Sustainability Institute, et al. v. Trump, et al.
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      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                                    DATE SENT               TO                          FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                  "Payne, Jay (FHWA)"
                                                                                                                                                                                                                  <jay.payne@dot.gov>, "Fleury,
                                                                                                                                                                                                                  Nicolle (FHWA)"               "Serody, David (FHWA)"
DOT‐003067          DOT‐003069        RE: General Counsel Report for 3/19 Meeting                           RE_ General Counsel Report for 3_19 Meeting (2).msg           2025/03/18 16:25 UTC                    <Nicolle.Fleury@dot.gov>      <david.serody@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                            Late_March_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Cou                                                                                                   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003070          DOT‐003071                                                                              nsel.docx                                                                                                                                                       Process
                                                                                                                                                                                                                  "Payne, Jay (FHWA)"
                                                                                                                                                                                                                  <jay.payne@dot.gov>, "Fleury,
                                                                                                                                                                                                                  Nicolle (FHWA)"               "Serody, David (FHWA)"
DOT‐003072          DOT‐003073        RE: General Counsel Report for 3/19 Meeting                           RE_ General Counsel Report for 3_19 Meeting.msg               2025/03/17 17:55 UTC                    <Nicolle.Fleury@dot.gov>      <david.serody@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                            Late_March_2025_FHWA_Chief_Counsels_Report_to_DOT_General_Cou                                                                                                   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003074          DOT‐003075                                                                              nsel.docx                                                                                                                                                       Process
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                  "Shaw, Alla (FHWA)"
                                                                                                                                                                                                                  <Alla.Shaw@dot.gov>,
                                                                                                            RE_ Grant Agreement Template for Pollinators and Wildlife Crossings                                   "Sleeter, Adam (FHWA)"       "Serody, David (FHWA)"
DOT‐003076          DOT‐003077        RE: Grant Agreement Template for Pollinators and Wildlife Crossings   (1).msg                                                                       2025/04/09 15:25 UTC    <adam.sleeter@dot.gov>       <david.serody@dot.gov>       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Serody, David (FHWA)"
                                                                                                                                                                                                                  <david.serody@dot.gov>,
                                                                                                                                                                                                                  "Shaw, Alla (FHWA)"
                                                                                                                                                                                                                  <Alla.Shaw@dot.gov>,
                                                                                                            RE_ Grant Agreement Template for Pollinators and Wildlife Crossings                                   "Sleeter, Adam (FHWA)"       "Harkins, Michael (FHWA)"
DOT‐003078          DOT‐003080        RE: Grant Agreement Template for Pollinators and Wildlife Crossings   .msg                                                                          2025/04/09 15:36 UTC    <adam.sleeter@dot.gov>       <Michael.Harkins@dot.gov>    Attorney/Client; Deliberative Process



                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                  "Andotra, Michelle (FHWA)"
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                                                                                                                                                                                                                  <william.winne@dot.gov>,
                                                                                                                                                                                                                  "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                                  (FHWA)" <Gloria.Hardiman‐   "Serody, David (FHWA)"
DOT‐003081          DOT‐003082        RE: New Directives                                                    RE_ New Directives.msg                                                        2025/02/03 23:29 UTC    Tobin@dot.gov>              <david.serody@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Serody, David (FHWA)"
                                                                                                                                                                                                                  <david.serody@dot.gov>,
                                                                                                                                                                                                                  "Suder, Steven (FHWA)"      "Buck, Darren (FHWA)"       Attorney Work Product; Attorney/Client; Deliberative
DOT‐003083          DOT‐003085        RE: Separate ATIIP question                                           RE_ Separate ATIIP question (1).msg                                           2025/04/03 16:29 UTC    <steven.suder@dot.gov>      <darren.buck@dot.gov>       Process
                                                                                                                                                                                                                  "Buck, Darren (FHWA)"
                                                                                                                                                                                                                  <darren.buck@dot.gov>,
                                                                                                                                                                                                                  "Serody, David (FHWA)"
                                                                                                                                                                                                                  <david.serody@dot.gov>,     "Dupont, Bernadette (FHWA)"
                                                                                                                                                                                                                  "Suder, Steven (FHWA)"      <Bernadette.Dupont@dot.gov
DOT‐003086          DOT‐003088        RE: Separate ATIIP question                                           RE_ Separate ATIIP question (2).msg                                           2025/04/03 17:43 UTC    <steven.suder@dot.gov>      >                           Attorney/Client; Deliberative Process


                                                                                                                                                                                                                  "Dupont, Bernadette (FHWA)"
                                                                                                                                                                                                                  <Bernadette.Dupont@dot.gov
                                                                                                                                                                                                                  >, "Buck, Darren (FHWA)"
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                                                                                                                                                                                                                  "Suder, Steven (FHWA)"
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                                                                                                                                                                                                                  "Rogers, Alison (FHWA)"
                                                                                                                                                                                                                  <alison.rogers@dot.gov>,
                                                                                                                                                                                                                  "Black, Laura (FHWA)"       "Serody, David (FHWA)"        Attorney Work Product; Attorney/Client; Deliberative
DOT‐003089          DOT‐003093        RE: Separate ATIIP question                                           RE_ Separate ATIIP question (3).msg                                           2025/04/03 18:43 UTC    <Laura.Black@dot.gov>       <david.serody@dot.gov>        Process
                                         2:25-cv-02152-RMG                              Date Filed 04/18/25                                                  Entry Number 76                                Page 22 of 39


                                                                                                             The Sustainability Institute, et al. v. Trump, et al.
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      BEGIN BATES         END BATES                                 SUBJECT                                          FILENAME                                                    DATE SENT               TO                         FROM                               PRIVILEGE REASON
                                                                                                                                                                                             "Serody, David (FHWA)"
                                                                                                                                                                                             <david.serody@dot.gov>,
                                                                                                                                                                                             "Buck, Darren (FHWA)"
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                                                                                                                                                                                             "Rogers, Alison (FHWA)"
                                                                                                                                                                                             <alison.rogers@dot.gov>,    "Dupont, Bernadette (FHWA)"
                                                                                                                                                                                             "Black, Laura (FHWA)"       <Bernadette.Dupont@dot.gov
DOT‐003094          DOT‐003098        RE: Separate ATIIP question                      RE_ Separate ATIIP question (4).msg                                           2025/04/03 18:50 UTC    <Laura.Black@dot.gov>       >                           Attorney/Client


                                                                                                                                                                                             "Serody, David (FHWA)"
                                                                                                                                                                                             <david.serody@dot.gov>,
                                                                                                                                                                                             "Dupont, Bernadette (FHWA)"
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                                                                                                                                                                                             >, "Buck, Darren (FHWA)"
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                                                                                                                                                                                             "Suder, Steven (FHWA)"
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                                                                                                                                                                                             "Black, Laura (FHWA)"       "Rogers, Alison (FHWA)"     Attorney Work Product; Attorney/Client; Deliberative
DOT‐003099          DOT‐003103        RE: Separate ATIIP question                      RE_ Separate ATIIP question (5).msg                                           2025/04/03 18:58 UTC    <Laura.Black@dot.gov>       <alison.rogers@dot.gov>     Process
                                                                                                                                                                                             "Suder, Steven (FHWA)"      "Serody, David (FHWA)"      Attorney Work Product; Attorney/Client; Deliberative
DOT‐003104          DOT‐003105        RE: Separate ATIIP question                      RE_ Separate ATIIP question.msg                                               2025/04/01 17:57 UTC    <steven.suder@dot.gov>
                                                                                                                                                                                              Andotra, Michelle (FHWA)   <david.serody@dot.gov>      Process
                                                                                                                                                                                             <michelle.andotra@dot.gov>,
                                                                                                                                                                                             "Esselman, James (FHWA)"
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                                                                                                                                                                                             Adam (FHWA)"
                                                                                                                                                                                             <adam.sleeter@dot.gov>,     "Harkins, Michael (FHWA)"
DOT‐003106          DOT‐003108        RE: Update #3 to Competitive Grant Obligations   RE_ Update #3 to Competitive Grant Obligations.msg                            2025/03/20 18:37 UTC    "Richardson,  Christopher
                                                                                                                                                                                              Andotra, Michelle  (FHWA)  <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                                                                                                             <michelle.andotra@dot.gov>,
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                                                                                                                                                                                             Adam (FHWA)"
                                                                                                                                                                                             <adam.sleeter@dot.gov>,     "Harkins, Michael (FHWA)"
DOT‐003109          DOT‐003111        RE: Update #4 to Competitive Grant Obligations   RE_ Update #4 to Competitive Grant Obligations.msg                            2025/03/25 20:42 UTC    "Richardson, Christopher    <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
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      BEGIN BATES         END BATES                                   SUBJECT                                            FILENAME                                                    DATE SENT               TO                          FROM                            PRIVILEGE REASON
                                                                                                                                                                                                 "Serody, David (FHWA)"       "Shaw, Alla (FHWA)"
DOT‐003112          DOT‐003113        RE: Urgent: Debriefs for pollinators                RE_ Urgent_ Debriefs for pollinators.msg                                       2025/01/22 23:40 UTC    <david.serody@dot.gov>       <Alla.Shaw@dot.gov>        Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                         Attorney Work Product; Attorney/Client; Deliberative
DOT‐003114          DOT‐003114                                                            Running List of Competitive Grants Questions.docx                                                                                                              Process
                                                                                                                                                                                                 "Serody, David (FHWA)"       "Suder, Steven (FHWA)"
DOT‐003115          DOT‐003115        Separate ATIIP question                             Separate ATIIP question.msg                                                    2025/04/01 17:33 UTC    <david.serody@dot.gov>
                                                                                                                                                                                                  Andotra, Michelle (FHWA)   <steven.suder@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                 <michelle.andotra@dot.gov>,
                                                                                                                                                                                                 "Esselman, James (FHWA)"
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                                                                                                                                                                                                 Tobin@dot.gov>, "Sleeter,
                                                                                                                                                                                                 Adam (FHWA)"
                                                                                                                                                                                                 <adam.sleeter@dot.gov>,     "Harkins, Michael (FHWA)"
DOT‐003116          DOT‐003117        Update #2 to Competitive Grant Obligations          Update #2 to Competitive Grant Obligations.msg                                 2025/03/19 15:36 UTC    "Richardson,  Christopher
                                                                                                                                                                                                  Andotra, Michelle  (FHWA)  <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                                                                                                                 <michelle.andotra@dot.gov>,
                                                                                                                                                                                                 "Esselman, James (FHWA)"
                                                                                                                                                                                                 <james.esselman@dot.gov>,
                                                                                                                                                                                                 "Gabrilovich, Lev (FHWA)"
                                                                                                                                                                                                 <lev.gabrilovich@dot.gov>,
                                                                                                                                                                                                 "Horan, Dawn (FHWA)"
                                                                                                                                                                                                 <Dawn.M.Horan@dot.gov>,
                                                                                                                                                                                                 "Mapp, Caroline (FHWA)"
                                                                                                                                                                                                 <caroline.mapp@dot.gov>,
                                                                                                                                                                                                 "Mobley, Diane (FHWA)"
                                                                                                                                                                                                 <Diane.Mobley@dot.gov>,
                                                                                                                                                                                                 "Morales, Silvio (FHWA)"
                                                                                                                                                                                                 <silvio.morales@dot.gov>,
                                                                                                                                                                                                 "Serody, David (FHWA)"
                                                                                                                                                                                                 <david.serody@dot.gov>,
                                                                                                                                                                                                 "Shaw, Alla (FHWA)"
                                                                                                                                                                                                 <Alla.Shaw@dot.gov>,
                                                                                                                                                                                                 "Tikhonova, Mariya (FHWA)"
                                                                                                                                                                                                 <mariya.tikhonova@dot.gov>,
                                                                                                                                                                                                 "Winne, William (FHWA)"
                                                                                                                                                                                                 <william.winne@dot.gov>,
                                                                                                                                                                                                 "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                 (FHWA)" <Gloria.Hardiman‐
                                                                                                                                                                                                 Tobin@dot.gov>, "Sleeter,
                                                                                                                                                                                                 Adam (FHWA)"
                                                                                                                                                                                                 <adam.sleeter@dot.gov>,     "Harkins, Michael (FHWA)"
DOT‐003118          DOT‐003119        Update to Competitive Grant Obligations             Update to Competitive Grant Obligations.msg                                    2025/03/18 16:04 UTC    "Richardson, Christopher    <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                                                                                                                 "Shaw, Alla (FHWA)"         "Buck, Darren (FHWA)"
DOT‐003120          DOT‐003120        language on discretionary grant awards pause        language on discretionary grant awards pause.msg                               2025/02/25 20:42 UTC    <Alla.Shaw@dot.gov>         <darren.buck@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003121          DOT‐003121                                                            Disapproval of State Plans letter 1‐31‐25 draft v2.docx                                                                                                        Deliberative Process
DOT‐003122          DOT‐003122                                                            Disapproval of State Plans letter 1‐31‐25 draft.docx                                                                                                           Deliberative Process
                                                                                          Disapproval of State Plans letter FHWA revised draft (2‐03‐25)
DOT‐003123          DOT‐003124                                                            (redlines).docx                                                                                                                                                Deliberative Process
                                                                                          Disapproval of State Plans letter FHWA revised draft (2‐03‐25)(clean)
DOT‐003125          DOT‐003126                                                            .docx                                                                                                                                                          Deliberative Process
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                 "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                 (FHWA)" <Gloria.Hardiman‐    "Horan, Dawn (FHWA)"
DOT‐003127          DOT‐003127        Draft letter rescinding NEVI State Plan approvals   Draft letter rescinding NEVI State Plan approvals.msg                          2025/01/31 15:32 UTC    Tobin@dot.gov>               <Dawn.M.Horan@dot.gov>     Deliberative Process
DOT‐003128          DOT‐003128                                                            Disapproval_of_State_Plans_letter_1‐31‐25_draft.docx                                                                                                           Deliberative Process
                                          2:25-cv-02152-RMG                                                   Date Filed 04/18/25                                                  Entry Number 76                                Page 24 of 39


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                                                                                                                                              CIVIL NO. 2:25-cv-2152
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      BEGIN BATES         END BATES                                   SUBJECT                                                              FILENAME                                                    DATE SENT                TO                         FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                   "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                                                   <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                                                   "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                   <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                   <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                   "Payne, Jay (FHWA)"
                                                                                                                                                                                                                   <jay.payne@dot.gov>, "Horan,
                                                                                                                                                                                                                   Dawn (FHWA)"
                                                                                                                                                                                                                   <Dawn.M.Horan@dot.gov>,
                                                                                                                                                                                                                   "Bezio, Brian (FHWA)"        "Harkins, Michael (FHWA)"
DOT‐003129          DOT‐003129        CUI: NEVI Guidance and Plan Letter                                     CUI_ NEVI Guidance and Plan Letter.msg                                        2025/01/31 17:04 UTC    <Brian.Bezio@dot.gov>        <Michael.Harkins@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                             Attorney Work Product; Attorney/Client; Deliberative
DOT‐003130          DOT‐003131                                                                               Disapproval_of_State_Plans_letter_1‐31‐25_draft.1.docx                                                                                                          Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"       "Jensen, Gary (FHWA)"
DOT‐003132          DOT‐003133        FW: Briefing: Unleashing American Energy EO                            FW_ Briefing_ Unleashing American Energy EO.msg                               2025/01/29 19:31 UTC    <Michael.Culp@dot.gov>       <Gary.Jensen@dot.gov>        Attorney/Client; Deliberative Process
DOT‐003134          DOT‐003144                                                                               Unleashing_American_Energy_Executive_Order.docx                                                                                                                 Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"       "Jensen, Gary (FHWA)"
DOT‐003145          DOT‐003145        FW: draft of letter                                                    FW_ draft of letter.msg                                                       2025/01/31 15:25 UTC    <Emily.Biondi@dot.gov>       <Gary.Jensen@dot.gov>        Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                             Attorney Work Product; Attorney/Client; Deliberative
DOT‐003146          DOT‐003147                                                                               Disapproval_of_State_Plans_letter_1‐31‐25_draft.docx                                                                                                            Process


                                      FW: Expressing Strong Opposition to DOTâ€™s Suspension of State                                                                                                              "Jensen, Gary (FHWA)"        "Weingroff, Richard (FHWA)"
DOT‐003148          DOT‐003150        Electric Vehicle Infrastructure Deployment Plans (28 Cosigners)        FW_EXP~1.MSG                                                                  2025/02/19 17:56 UTC    <Gary.Jensen@dot.gov>        <Richard.Weingroff@dot.gov> Attorney/Client; Deliberative Process
DOT‐003151          DOT‐003152                                                                               NEVI_(3).Oppose_Pause.pdf                                                                                                                                      Attorney/Client; Deliberative Process
DOT‐003153          DOT‐003153                                                                               NEVI_Formula_Program_KY.Past_obligations.docx                                                                                                                  Attorney/Client; Deliberative Process

                                                                                                                                                                                                                   "Richardson, Christopher
                                      FW: Expressing Strong Opposition to DOTâ€™s Suspension of State                                                                                                              (FHWA)"                      "Weingroff, Richard (FHWA)"
DOT‐003154          DOT‐003156        Electric Vehicle Infrastructure Deployment Plans (28 Cosigners)        FW_EXP~2.MSG                                                                  2025/02/19 18:42 UTC    <c.richardson@dot.gov>       <Richard.Weingroff@dot.gov> Attorney/Client; Deliberative Process
DOT‐003157          DOT‐003158                                                                               NEVI_(3).Oppose_Pause.pdf                                                                                                                                      Attorney/Client; Deliberative Process
DOT‐003159          DOT‐003159                                                                               NEVI_Formula_Program_KY.Past_obligations.docx                                                                                                                  Attorney/Client; Deliberative Process


                                      FW: Expressing Strong Opposition to DOTâ€™s Suspension of State                                                                                                              "Jensen, Gary (FHWA)"        "Weingroff, Richard (FHWA)"
DOT‐003160          DOT‐003162        Electric Vehicle Infrastructure Deployment Plans (28 Cosigners)        FW_EXP~3.MSG                                                                  2025/02/20 12:47 UTC    <Gary.Jensen@dot.gov>        <Richard.Weingroff@dot.gov> Attorney/Client; Deliberative Process
DOT‐003163          DOT‐003164                                                                               NEVI_(3).Oppose_Pause.pdf                                                                                                                                      Attorney/Client; Deliberative Process
DOT‐003165          DOT‐003165                                                                               NEVI_Formula_Program_KY.Past_obligations.docx                                                                                                                  Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                   <Emily.Biondi@dot.gov>,
                                      Maiefski, Melissa (FHWA) shared "Discretionary programs status table   Maiefski_ Melissa (FHWA) shared _Discretionary programs status table                                  "Jensen, Gary (FHWA)"        "Maiefski, Melissa (FHWA)"
DOT‐003166          DOT‐003167        (2025‐01‐16) ‐ annotated" with you                                     (2025‐01‐16) ‐ annotated_ with you.msg                                        2025/03/18 17:31 UTC    <Gary.Jensen@dot.gov>        <melissa.maiefski@dot.gov>   Deliberative Process
DOT‐003168          DOT‐003170                                                                               NEVI Draft Final.docx                                                                                                                                           Deliberative Process
                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                   <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                   "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                   <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                   "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                   "Horan, Dawn (FHWA)"         "Jensen, Gary (FHWA)"
DOT‐003171          DOT‐003171        NEVI Formula Program Briefing                                          NEVI Formula Program Briefing (6).msg                                         2025/03/28 12:37 UTC    <Dawn.M.Horan@dot.gov>       <Gary.Jensen@dot.gov>        Attorney/Client; Deliberative Process
DOT‐003172          DOT‐003174                                                                               NEVI_.docx                                                                                                                                                      Attorney/Client; Deliberative Process


                                                                                                                                                                                                                   "Maiefski, Melissa (FHWA)"   "Jensen, Gary (FHWA)"
DOT‐003175          DOT‐003175        NEVI Formula Program Briefing                                          NEVI Formula Program Briefing.msg                                             2025/03/28 17:58 UTC    <melissa.maiefski@dot.gov>   <Gary.Jensen@dot.gov>        Deliberative Process
DOT‐003176          DOT‐003178                                                                               NEVI_.docx                                                                                                                                                      Deliberative Process
                                                                                                                                                                                                                   "Culp, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                   "Stein, William (FHWA)"
                                                                                                                                                                                                                   <william.stein@dot.gov>,
                                                                                                                                                                                                                   "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                   <Michael.Harkins@dot.gov>,
                                      NEVI Formula Program Briefing; initial comments due COB tomorrow,      NEVI Formula Program Briefing_ initial comments due COB tomorrow_                                     "Horan, Dawn (FHWA)"         "Jensen, Gary (FHWA)"
DOT‐003179          DOT‐003179        March 27.                                                              March 27_ (7).msg                                                             2025/03/26 14:51 UTC    <Dawn.M.Horan@dot.gov>       <Gary.Jensen@dot.gov>        Attorney/Client; Deliberative Process
DOT‐003180          DOT‐003182                                                                               NEVI_.docx                                                                                                                                                      Attorney/Client; Deliberative Process
                                      NEVI Formula Program Briefing; initial comments due COB tomorrow,      NEVI Formula Program Briefing_ initial comments due COB tomorrow_                                     "Jensen, Gary (FHWA)"        "Stein, William (FHWA)"
DOT‐003183          DOT‐003183        March 27.                                                              March 27_.msg                                                                 2025/03/26 20:04 UTC    <Gary.Jensen@dot.gov>        <william.stein@dot.gov>      Attorney/Client; Deliberative Process
DOT‐003184          DOT‐003186                                                                               NEVI_wjs_comments.docx                                                                                                                                          Attorney/Client; Deliberative Process


                                                                                                                                                                                                                   "Jensen, Gary (FHWA)"        "Maiefski, Melissa (FHWA)"
DOT‐003187          DOT‐003187        NEVI guide brief                                                       NEVI guide brief.msg                                       2025/03/28 21:59 UTC                       <Gary.Jensen@dot.gov>        <melissa.maiefski@dot.gov>   Deliberative Process
                                                                                                             NEVI_032825_update_recommended_approach_from_HEP_HPLS_comm
DOT‐003188          DOT‐003190                                                                               ents.docx                                                                                                                                                       Deliberative Process

                                                                                                                                                                                                                   "Shepherd, Gloria (FHWA)"    "Biondi, Emily (FHWA)"
DOT‐003191          DOT‐003191        NEVI/CFI Briefing Papers                                               NEVI_CFI Briefing Papers (1).msg                                              2025/04/03 20:54 UTC    <Gloria.Shepherd@dot.gov>    <Emily.Biondi@dot.gov>       Attorney/Client; Deliberative Process
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                                                                                                                      CIVIL NO. 2:25-cv-2152
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      BEGIN BATES         END BATES                                 SUBJECT                                        FILENAME                                                    DATE SENT               TO                          FROM                              PRIVILEGE REASON
DOT‐003192          DOT‐003194                                                      CFI_NEVI_10.docx                                                                                                                                                 Attorney/Client; Deliberative Process
DOT‐003195          DOT‐003216                                                      CFI_and_NEVI_10_Awards.docx                                                                                                                                      Attorney/Client; Deliberative Process
DOT‐003217          DOT‐003219                                                      NEVI_Draft_Final.docx                                                                                                                                            Attorney/Client; Deliberative Process
                                                                                                                                                                                           "Payne, Jay (FHWA)"
                                                                                                                                                                                           <jay.payne@dot.gov>, "Frye,
                                                                                                                                                                                           Tony (FHWA)"                  "Biondi, Emily (FHWA)"
DOT‐003220          DOT‐003220        NEVI/CFI Briefing Papers                      NEVI_CFI Briefing Papers.msg                                                   2025/04/08 21:12 UTC    <tony.frye@dot.gov>           <Emily.Biondi@dot.gov>      Attorney/Client; Deliberative Process
DOT‐003221          DOT‐003223                                                      CFI_NEVI_10.docx                                                                                                                                                 Attorney/Client; Deliberative Process
DOT‐003224          DOT‐003245                                                      CFI_and_NEVI_10_Awards.docx                                                                                                                                      Attorney/Client; Deliberative Process
DOT‐003246          DOT‐003248                                                      NEVI.docx                                                                                                                                                        Attorney/Client; Deliberative Process
                                                                                                                                                                                           "Jensen, Gary (FHWA)"
                                                                                                                                                                                           <Gary.Jensen@dot.gov>,
                                                                                                                                                                                           "Culp, Michael (FHWA)"        "Horan, Dawn (FHWA)"
DOT‐003249          DOT‐003249        Options draft paper                           Options draft paper.msg                                                        2025/01/29 16:08 UTC    <Michael.Culp@dot.gov>        <Dawn.M.Horan@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                     Attorney Work Product; Attorney/Client; Deliberative
DOT‐003250          DOT‐003252                                                      NEVI_Options_Paper_1‐29‐2025_draft.docx                                                                                                                          Process


                                                                                                                                                                                           "Biondi, Emily (FHWA)"
                                                                                                                                                                                           <Emily.Biondi@dot.gov>,
                                                                                                                                                                                           "Thornton, Nicholas (FHWA)"
                                                                                                                                                                                           <nicholas.thornton@dot.gov>,
                                                                                                                                                                                           "Jensen, Gary (FHWA)"        "Santiago, Damaris (FHWA)"
DOT‐003253          DOT‐003255        RE: Briefing: Unleashing American Energy EO   RE_ Briefing_ Unleashing American Energy EO (1).msg                            2025/01/29 21:48 UTC    <Gary.Jensen@dot.gov>        <Damaris.Santiago@dot.gov> Attorney/Client; Deliberative Process
DOT‐003256          DOT‐003267                                                      Unleashing_American_Energy_Executive_Order_NRT_edits.docx                                                                                                      Attorney/Client; Deliberative Process




                                                                                                                                                                                           "Thornton, Nicholas (FHWA)"
                                                                                                                                                                                           <nicholas.thornton@dot.gov>,
                                                                                                                                                                                           "Jensen, Gary (FHWA)"
                                                                                                                                                                                           <Gary.Jensen@dot.gov>,
                                                                                                                                                                                           "Santiago, Damaris (FHWA)" "Biondi, Emily (FHWA)"
DOT‐003268          DOT‐003269        RE: Briefing: Unleashing American Energy EO   RE_ Briefing_ Unleashing American Energy EO (2).msg                            2025/01/29 21:44 UTC    <Damaris.Santiago@dot.gov> <Emily.Biondi@dot.gov>         Attorney/Client; Deliberative Process

DOT‐003270          DOT‐003280                                                      Unleashing_American_Energy_Executive_Order_NRT_edits_eb.docx                                                                                                     Attorney/Client; Deliberative Process


                                                                                                                                                                                           "Jensen, Gary (FHWA)"
                                                                                                                                                                                           <Gary.Jensen@dot.gov>,
                                                                                                                                                                                           "Biondi, Emily (FHWA)"
                                                                                                                                                                                           <Emily.Biondi@dot.gov>,
                                                                                                                                                                                           "Santiago, Damaris (FHWA)" "Thornton, Nicholas (FHWA)"
DOT‐003281          DOT‐003282        RE: Briefing: Unleashing American Energy EO   RE_ Briefing_ Unleashing American Energy EO (3).msg                            2025/01/29 21:16 UTC    <Damaris.Santiago@dot.gov> <nicholas.thornton@dot.gov> Attorney/Client; Deliberative Process
DOT‐003283          DOT‐003293                                                      Unleashing_American_Energy_Executive_Order_NRT_edits.docx                                                                                                     Attorney/Client; Deliberative Process




                                                                                                                                                                                           "Biondi, Emily (FHWA)"
                                                                                                                                                                                           <Emily.Biondi@dot.gov>,
                                                                                                                                                                                           "Thornton, Nicholas (FHWA)"
                                                                                                                                                                                           <nicholas.thornton@dot.gov>,
                                                                                                                                                                                           "Santiago, Damaris (FHWA)" "Jensen, Gary (FHWA)"
DOT‐003294          DOT‐003295        RE: Briefing: Unleashing American Energy EO   RE_ Briefing_ Unleashing American Energy EO (4).msg                            2025/01/29 19:31 UTC    <Damaris.Santiago@dot.gov> <Gary.Jensen@dot.gov>          Attorney/Client; Deliberative Process
DOT‐003296          DOT‐003306                                                      Unleashing_American_Energy_Executive_Order.docx                                                                                                                  Attorney/Client; Deliberative Process




                                                                                                                                                                                           "Biondi, Emily (FHWA)"
                                                                                                                                                                                           <Emily.Biondi@dot.gov>,
                                                                                                                                                                                           "Thornton, Nicholas (FHWA)"
                                                                                                                                                                                           <nicholas.thornton@dot.gov>,
                                                                                                                                                                                           "Santiago, Damaris (FHWA)" "Jensen, Gary (FHWA)"
DOT‐003307          DOT‐003309        RE: Briefing: Unleashing American Energy EO   RE_ Briefing_ Unleashing American Energy EO.msg                                2025/01/30 01:55 UTC    <Damaris.Santiago@dot.gov> <Gary.Jensen@dot.gov>          Attorney/Client; Deliberative Process
DOT‐003310          DOT‐003321                                                      Unleashing_American_Energy_Executive_Order.docx                                                                                                                  Attorney/Client; Deliberative Process
                                                                                                                                                                                           "Harkins, Michael (FHWA)"
                                                                                                                                                                                           <Michael.Harkins@dot.gov>,
                                                                                                                                                                                           "Biondi, Emily (FHWA)"
                                                                                                                                                                                           <Emily.Biondi@dot.gov>,
                                                                                                                                                                                           "Fleury, Nicolle (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐003322          DOT‐003324        RE: CFI                                       RE_ CFI (1) (1).msg                                                            2025/03/26 13:15 UTC    <Nicolle.Fleury@dot.gov>      <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                     Attorney Work Product; Attorney/Client; Deliberative
DOT‐003325          DOT‐003327                                                      CFI_NEVI_10.docx                                                                                                                                                 Process
DOT‐003328          DOT‐003349                                                      CFI_and_NEVI_10_Awards.docx                                                                                                                                      Attorney/Client; Deliberative Process
                                         2:25-cv-02152-RMG                                   Date Filed 04/18/25                                                 Entry Number 76                                Page 26 of 39


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      BEGIN BATES         END BATES                                 SUBJECT                                              FILENAME                                                    DATE SENT               TO                         FROM                              PRIVILEGE REASON
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
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                                                                                                                                                                                                 <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"     "Biondi, Emily (FHWA)"
DOT‐003350          DOT‐003352        RE: CFI                                               RE_ CFI (1).msg                                                              2025/03/31 16:35 UTC    <Nicolle.Fleury@dot.gov>     <Emily.Biondi@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                          Attorney Work Product; Attorney/Client; Deliberative
DOT‐003353          DOT‐003355                                                              CFI_NEVI_10.docx                                                                                                                                              Process
                                                                                                                                                                                                 "Biondi, Emily (FHWA)"
                                                                                                                                                                                                 <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐003356          DOT‐003358        RE: CFI                                               RE_ CFI (3) (1).msg                                                          2025/03/25 15:35 UTC    <Nicolle.Fleury@dot.gov>     <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003359          DOT‐003361                                                              CFI_NEVI_10.docx                                                                                                                                              Attorney/Client; Deliberative Process
DOT‐003362          DOT‐003383                                                              CFI_and_NEVI_10_Awards.docx                                                                                                                                   Attorney/Client; Deliberative Process
                                                                                                                                                                                                 "Jensen, Gary (FHWA)"
                                                                                                                                                                                                 <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                 "Biondi, Emily (FHWA)"
                                                                                                                                                                                                 <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"     "Harkins, Michael (FHWA)"
DOT‐003384          DOT‐003385        RE: CFI                                               RE_ CFI (3).msg                                                              2025/03/25 17:22 UTC    <Nicolle.Fleury@dot.gov>     <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                          Attorney Work Product; Attorney/Client; Deliberative
DOT‐003386          DOT‐003388                                                              CFI_NEVI_10.docx                                                                                                                                              Process
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                 "Biondi, Emily (FHWA)"
                                                                                                                                                                                                 <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐003389          DOT‐003390        RE: CFI                                               RE_ CFI (4) (1).msg                                                          2025/03/24 13:24 UTC    <Nicolle.Fleury@dot.gov>     <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003391          DOT‐003393                                                              CFI_NEVI_10.docx                                                                                                                                              Attorney/Client; Deliberative Process
DOT‐003394          DOT‐003415                                                              CFI_and_NEVI_10_Awards.docx                                                                                                                                   Attorney/Client; Deliberative Process
                                                                                                                                                                                                 "Jensen, Gary (FHWA)"
                                                                                                                                                                                                 <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"     "Biondi, Emily (FHWA)"
DOT‐003416          DOT‐003417        RE: CFI                                               RE_ CFI (5).msg                                                              2025/03/24 20:01 UTC    <Nicolle.Fleury@dot.gov>     <Emily.Biondi@dot.gov>      Attorney/Client; Deliberative Process
DOT‐003418          DOT‐003420                                                              CFI_NEVI_10_eb_cmts.docx                                                                                                                                      Attorney/Client; Deliberative Process
                                                                                                                                                                                                 "Biondi, Emily (FHWA)"
                                                                                                                                                                                                 <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"
                                                                                                                                                                                                 <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐003421          DOT‐003423        RE: CFI                                               RE_ CFI (7).msg                                                              2025/03/31 16:47 UTC    <Nicolle.Fleury@dot.gov>     <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003424          DOT‐003426                                                              CFI_NEVI_10.docx                                                                                                                                              Attorney/Client; Deliberative Process
DOT‐003427          DOT‐003448                                                              CFI_and_NEVI_10_Awards.docx                                                                                                                                   Attorney/Client; Deliberative Process
                                                                                                                                                                                                 "Culp, Michael (FHWA)"
                                                                                                                                                                                                 <Michael.Culp@dot.gov>,
                                                                                                                                                                                                 "Jensen, Gary (FHWA)"        "Horan, Dawn (FHWA)"
DOT‐003449          DOT‐003450        RE: CFI Options Paper; Due ASAP on Monday, March 24   RE_ CFI Options Paper_ Due ASAP on Monday_ March 24.msg                      2025/03/24 12:22 UTC    <Gary.Jensen@dot.gov>        <Dawn.M.Horan@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                          Attorney Work Product; Attorney/Client; Deliberative
DOT‐003451          DOT‐003452                                                              CFI_NEVI_10_‐_mc_DMH.docx                                                                                                                                     Process

                                                                                                                                                                                                 "Jensen, Gary (FHWA)"
                                                                                                                                                                                                 <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                 <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"    "Biondi, Emily (FHWA)"
DOT‐003453          DOT‐003455        RE: NEVI Formula Program Briefing                     RE_ NEVI Formula Program Briefing (2).msg                                    2025/03/31 16:55 UTC    <Michael.Harkins@dot.gov>    <Emily.Biondi@dot.gov>      Attorney/Client; Deliberative Process
DOT‐003456          DOT‐003458                                                              NEVI_Draft_Final.docx                                                                                                                                         Attorney/Client; Deliberative Process

                                                                                                                                                                                                 "Biondi, Emily (FHWA)"
                                                                                                                                                                                                 <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                 <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"    "Jensen, Gary (FHWA)"
DOT‐003459          DOT‐003460        RE: NEVI Formula Program Briefing                     RE_ NEVI Formula Program Briefing (3).msg                                    2025/03/31 16:40 UTC    <Michael.Harkins@dot.gov>    <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003461          DOT‐003463                                                              NEVI_Draft_Final.docx                                                                                                                                         Attorney/Client; Deliberative Process

                                                                                                                                                                                                 "Biondi, Emily (FHWA)"
                                                                                                                                                                                                 <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                 "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                 <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                 "Harkins, Michael (FHWA)"    "Jensen, Gary (FHWA)"
DOT‐003464          DOT‐003465        RE: NEVI Formula Program Briefing                     RE_ NEVI Formula Program Briefing (4).msg                                    2025/03/31 13:34 UTC    <Michael.Harkins@dot.gov>    <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                          Attorney Work Product; Attorney/Client; Deliberative
DOT‐003466          DOT‐003468                                                              NEVI_.docx                                                                                                                                                    Process
                                          2:25-cv-02152-RMG                                                    Date Filed 04/18/25                                                  Entry Number 76                                Page 27 of 39


                                                                                                                                    The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                               CIVIL NO. 2:25-cv-2152
                                                                                                                                   PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                   (As of 4/17/2025)

      BEGIN BATES         END BATES                                 SUBJECT                                                                 FILENAME                                                    DATE SENT                TO                       FROM                              PRIVILEGE REASON

                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                    <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                    "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                    <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                    "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                    <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"   "Horan, Dawn (FHWA)"
DOT‐003469          DOT‐003469        RE: NEVI Formula Program Briefing                                      RE_ NEVI Formula Program Briefing (5).msg                                      2025/03/28 16:52 UTC    <Michael.Harkins@dot.gov>   <Dawn.M.Horan@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003470          DOT‐003472                                                                               NEVI_DMH.docx                                                                                                                                                  Process
                                                                                                                                                                                                                    "Biondi, Emily (FHWA)"      "Jensen, Gary (FHWA)"
DOT‐003473          DOT‐003475        RE: NEVI Formula Program Briefing                                      RE_ NEVI Formula Program Briefing.msg                                          2025/04/02 12:14 UTC    <Emily.Biondi@dot.gov>      <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003476          DOT‐003478                                                                               NEVI_Draft_Final.docx                                                                                                                                          Deliberative Process
                                                                                                                                                                                                                    "Stein, William (FHWA)"
                                                                                                                                                                                                                    <william.stein@dot.gov>,
                                      RE: NEVI Formula Program Briefing; initial comments due COB tomorrow, RE_ NEVI Formula Program Briefing_ initial comments due COB                                             "Jensen, Gary (FHWA)"       "Harkins, Michael (FHWA)"
DOT‐003479          DOT‐003479        March 27.                                                             tomorrow_ March 27_.msg                                                         2025/03/27 18:55 UTC    <Gary.Jensen@dot.gov>       <Michael.Harkins@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003480          DOT‐003482                                                                               NEVI_wjs_mwh_comments.docx                                                                                                                                     Process
                                                                                                                                                                                                                    "Culp, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"       "Horan, Dawn (FHWA)"
DOT‐003483          DOT‐003484        RE: Options draft paper                                                RE_ Options draft paper (15).msg                                               2025/01/30 13:37 UTC    <Gary.Jensen@dot.gov>       <Dawn.M.Horan@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                    "Horan, Dawn (FHWA)"
                                                                                                                                                                                                                    <Dawn.M.Horan@dot.gov>,
                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"       "Culp, Michael (FHWA)"
DOT‐003485          DOT‐003485        RE: Options draft paper                                                RE_ Options draft paper (17).msg                                               2025/01/29 18:22 UTC    <Gary.Jensen@dot.gov>       <Michael.Culp@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003486          DOT‐003488                                                                               NEVI_Options_Paper_1‐29‐2025_draft_‐_mc.docx                                                                                                                   Process
                                                                                                                                                                                                                    "Horan, Dawn (FHWA)"        "Jensen, Gary (FHWA)"
DOT‐003489          DOT‐003490        RE: Options draft paper                                                RE_ Options draft paper.msg                                                    2025/01/30 15:29 UTC    <Dawn.M.Horan@dot.gov>      <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003491          DOT‐003494                                                                               NEVI_Options_Paper_1‐29‐2025_draft.docx                                                                                                                        Attorney/Client; Deliberative Process
                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                    <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                    "Culp, Michael (FHWA)"      "Horan, Dawn (FHWA)"
DOT‐003495          DOT‐003496        Re: Options draft paper                                                Re_ Options draft paper (16).msg                                               2025/01/30 02:19 UTC    <Michael.Culp@dot.gov>      <Dawn.M.Horan@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"       "Horan, Dawn (FHWA)"
DOT‐003497          DOT‐003497        draft of letter                                                        draft of letter.msg                                                            2025/01/31 12:58 UTC    <Gary.Jensen@dot.gov>       <Dawn.M.Horan@dot.gov>      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003498          DOT‐003498                                                                               Disapproval_of_State_Plans_letter_1‐31‐25_draft.docx                                                                                                           Process
DOT‐003499          DOT‐003503                                                                               Team Contracts_2.4.25 (003).docx                                                                                                                               Deliberative Process

                                                                                                                                                                                                                    "Murray, Mary (FHWA)"       "Tarpgaard, Sarah (FHWA)"
DOT‐003504          DOT‐003504        CFI Round 1B Status                                                    CFI Round 1B Status.msg                                                        2025/02/27 21:20 UTC    <mary.murray@dot.gov>       <Sarah.Tarpgaard@dot.gov>   Deliberative Process
DOT‐003505          DOT‐003505                                                                               Copy_of_KENAN_Round_1B_CFI_Grants_TRACKER.xlsx                                                                                                                 Deliberative Process
DOT‐003506          DOT‐003506                                                                               SARAH_Round_1B_CFI_Grants_TRACKER.xlsx                                                                                                                         Deliberative Process
DOT‐003507          DOT‐003507                                                                               VINCENT_Round_1B_CFI_Grants_TRACKER.xlsx                                                                                                                       Deliberative Process
                                                                                                                                                                                                                    "Culp, Michael (FHWA)"      "Murray, Mary (FHWA)"
DOT‐003508          DOT‐003508        CFI and EVC‐RAA                                                        CFI and EVC‐RAA.msg                                                            2025/03/27 19:34 UTC    <Michael.Culp@dot.gov>      <mary.murray@dot.gov>       Deliberative Process
DOT‐003509          DOT‐003509                                                                               CFI_and_EVC‐EVC‐RAA_Workstream_Status_Notes_3‐26‐25.xlsx                                                                                                       Deliberative Process
                                                                                                                                                                                                                    "Culp, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                    "Murray, Mary (FHWA)"
                                                                                                                                                                                                                    <mary.murray@dot.gov>,
                                                                                                                                                                                                                    "Lombard, Jared (FHWA)"
                                                                                                                                                                                                                    <jared.lombard@dot.gov>,
                                      FW: NCTCOG TX Request for Assistance: CFI Funding Amdt under           FW_ NCTCOG TX Request for Assistance_ CFI Funding Amdt under                                           "Patel, Neelam (FHWA)"      "Price, Anna (FHWA)"
DOT‐003510          DOT‐003517        HEPN250048PR                                                           HEPN250048PR.msg                                                               2025/01/28 16:24 UTC    <neelam.patel@dot.gov>      <anna.price@dot.gov>        Deliberative Process
                                                                                                                                                                                                                    "Jensen, Gary (FHWA)"
                                                                                                                                                                                                                    <Gary.Jensen@dot.gov>,
                                                                                                                                                                                                                    "Patel, Neelam (FHWA)"
                                                                                                                                                                                                                    <neelam.patel@dot.gov>,
                                                                                                                                                                                                                    "Culp, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Culp@dot.gov>,
                                                                                                                                                                                                                    "Murray, Mary (FHWA)"
                                                                                                                                                                                                                    <mary.murray@dot.gov>,
                                                                                                                                                                                                                    "Price, Anna (FHWA)"
                                                                                                                                                                                                                    <anna.price@dot.gov>,
                                      FW: Urgent Off‐Cycle DiGS Update ‐ Due Monday 1/27 COB FYI‐NO          FW_ Urgent Off‐Cycle DiGS Update ‐ Due Monday 1_27 COB FYI‐NO                                          "Lombard, Jared (FHWA)"     "Walters, Joan (FHWA)"
DOT‐003518          DOT‐003519        ACTION NEEDED                                                          ACTION NEEDED (1).msg                                                          2025/01/27 19:11 UTC    <jared.lombard@dot.gov>     <Joan.Walters@dot.gov>      Deliberative Process
DOT‐003520          DOT‐003520                                                                               Charging_and_Fueling_Infrastructure_Grants_(CFI).xlsx                                                                                                          Deliberative Process

DOT‐003521          DOT‐003521                                                                               National_Electric_Vehicle_Infrastructure_(NEVI)_(10%_set‐aside).xlsx                                                                                           Deliberative Process
                                                                                                             List of Phase 1 and unobligated in HCFA with PR and_or Grant                                           "Culp, Michael (FHWA)"      "Murray, Mary (FHWA)"
DOT‐003522          DOT‐003526        List of Phase 1 and unobligated in HCFA with PR and/or Grant Agreement Agreement.msg                                                                  2025/03/26 20:30 UTC    <Michael.Culp@dot.gov>      <mary.murray@dot.gov>       Deliberative Process
                                         2:25-cv-02152-RMG                                                   Date Filed 04/18/25                                                  Entry Number 76                                Page 28 of 39


                                                                                                                                  The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                             CIVIL NO. 2:25-cv-2152
                                                                                                                                 PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                 (As of 4/17/2025)

      BEGIN BATES         END BATES                                 SUBJECT                                                               FILENAME                                                    DATE SENT               TO                          FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                  "Culp, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Culp@dot.gov>, "Ho,
                                                                                                                                                                                                                  Cecilia (FHWA)"
                                                                                                                                                                                                                  <Cecilia.Ho@dot.gov>, "Lupes,
                                                                                                                                                                                                                  Rebecca (FHWA)"               "Jensen, Gary (FHWA)"
DOT‐003527          DOT‐003527        FW: Bi‐Weekly HOA Staff Meeting Highlights ‐ January 27, 2025         FW Bi‐Weekly HOA Staff Meeting Highlights ‐ January 27 2025.msg               2025/01/30 18:04 UTC    <Rebecca.Lupes@dot.gov>       <Gary.Jensen@dot.gov>       Deliberative Process
DOT‐003528          DOT‐003531                                                                              1‐27‐2025_Bi‐Weekly_HOA_Staff_Meeting_Highlights.pdf                                                                                                            Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                  "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                  <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐003532          DOT‐003533        RE: CFI                                                               RE CFI .msg                                                                   2025/03/24 13:24 UTC    <Nicolle.Fleury@dot.gov>     <Gary.Jensen@dot.gov>        Attorney/Client; Deliberative Process
DOT‐003534          DOT‐003536                                                                              CFI_NEVI_10.docx                                                                                                                                                Attorney/Client; Deliberative Process
DOT‐003537          DOT‐003558                                                                              CFI_and_NEVI_10_Awards.docx                                                                                                                                     Attorney/Client; Deliberative Process
DOT‐003559          DOT‐003566                                                                              2025 01 23 FHWA Dis Grants Lay of Land _ Draft.docx                                                                                                             Attorney/Client; Deliberative Process
DOT‐003567          DOT‐003574                                                                              2025 0203 FHWA Dis Grants Lay of Land _ Draft.docx                                                                                                              Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003575          DOT‐003627                                                                              CFI Award Memo_DRAFT DMH.mh comments.docx                                                                                                                       Process
DOT‐003628          DOT‐003630                                                                              CFI NEVI 10 (1).docx                                                                                                                                            Attorney/Client; Deliberative Process
DOT‐003631          DOT‐003633                                                                              CFI NEVI 10 (2).docx                                                                                                                                            Attorney/Client; Deliberative Process
DOT‐003634          DOT‐003636                                                                              CFI NEVI 10.docx                                                                                                                                                Attorney/Client; Deliberative Process
DOT‐003637          DOT‐003658                                                                              CFI and NEVI 10 Awards.docx                                                                                                                                     Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003659          DOT‐003660                                                                              Clean_Draft FHWA Staff DG Actions_2025‐0219.docx                                                                                                                Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003661          DOT‐003663                                                                              Clean_FHWA Grant Actions Memo_2025‐0221 (1).docx                                                                                                                Process

                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"     "Harkins, Michael (FHWA)"    Attorney Work Product; Attorney/Client; Deliberative
DOT‐003664          DOT‐003664        Disc Grants                                                           Disc Grants.msg                                                 2025/02/05 19:44 UTC                  <Nicolle.Fleury@dot.gov>     <Michael.Harkins@dot.gov>    Process
                                                                                                            FHWA_Dis_Grants_Lay_of_Land___Draft_01.23.2025_v2.mh1_(002).doc                                                                                                 Attorney Work Product; Attorney/Client; Deliberative
DOT‐003665          DOT‐003667                                                                              x                                                                                                                                                               Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003668          DOT‐003669                                                                              Draft FHWA Staff DG Actions_2025‐0219.HCC docx.docx                                                                                                             Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003670          DOT‐003672                                                                              FHWA Dis Grants Lay of Land _ Draft_01.23.2025 v2.mh (002) ADS.docx                                                                                             Process
DOT‐003673          DOT‐003675                                                                              FHWA Dis Grants Lay of Land _ Draft_01.23.2025 v2.mh (002).docx                                                                                                 Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003676          DOT‐003678                                                                              FHWA Dis Grants Lay of Land _ Draft_01.23.2025 v2.mh1 (002).docx                                                                                                Process
                                                                                                            FHWA GMD Program Manager Roundtable _Pause Questions_HCC draft
DOT‐003679          DOT‐003681                                                                              answers _01.23.2025 with Recs_.docx                                                                                                                             Attorney/Client; Deliberative Process

                                                                                                                                                                                                                  "Shepherd, Gloria (FHWA)"    "Payne, Jay (FHWA)"
DOT‐003682          DOT‐003684        FW: DOT Guidance on Discretionary Grants                              FW DOT Guidance on Discretionary Grants.msg                                   2025/02/14 23:33 UTC    <Gloria.Shepherd@dot.gov>    <jay.payne@dot.gov>          Attorney/Client; Deliberative Process

                                                                                                            FW_ CUI and Attorney Client Privileged_ Questions About Court                                         "Payne, Jay (FHWA)"          "Harkins, Michael (FHWA)"    Attorney Work Product; Attorney/Client; Deliberative
DOT‐003685          DOT‐003686        FW: CUI and Attorney Client Privileged: Questions About Court Order   Order.msg                                                                     2025/02/03 21:12 UTC    <jay.payne@dot.gov>          <Michael.Harkins@dot.gov>    Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003687          DOT‐003701                                                                              RI_TRO_Notice.pdf                                                                                                                                               Process

                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"    "Burnell, Tamiko (FHWA)"     Attorney Work Product; Attorney/Client; Deliberative
DOT‐003702          DOT‐003708        FW: DOT Guidance on Discretionary Grants                              FW_ DOT Guidance on Discretionary Grants.msg                                  2025/02/25 20:48 UTC    <Michael.Harkins@dot.gov>    <Tamiko.Burnell@dot.gov>     Process
                                                                                                                                                                                                                                                                            Attorney Work Product; Attorney/Client; Deliberative
DOT‐003709          DOT‐003711                                                                              Clean_FHWA_Grant_Actions_Memo_2025‐0221.docx                                                                                                                    Process
                                                                                                            Redline‐
                                                                                                            HPLS_Comments_Resolved_Draft_FHWA_Staff_DG_Actions_2025‐                                                                                                        Attorney Work Product; Attorney/Client; Deliberative
DOT‐003712          DOT‐003713                                                                              0221_(003).docx                                                                                                                                                 Process
                                      FW: Overview of the current state of FHWA discretionary grants        FW_ Overview of the current state of FHWA discretionary grants                                        "Payne, Jay (FHWA)"          "Baker, Shana (FHWA)"
DOT‐003714          DOT‐003714        programs                                                              programs.msg                                                                  2025/01/24 22:05 UTC    <jay.payne@dot.gov>          <Shana.Baker@dot.gov>        Attorney/Client; Deliberative Process
DOT‐003715          DOT‐003722                                                                              2025_01_23_FHWA_Dis_Grants_Lay_of_Land___Draft.docx                                                                                                             Attorney/Client; Deliberative Process
DOT‐003723          DOT‐003723                                                                              Disc_Grants_Status_w_FY26_v3.2.xlsx                                                                                                                             Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Payne, Jay (FHWA)"
                                                                                                                                                                                                                  <jay.payne@dot.gov>, "Fleury,
                                                                                                                                                                                                                  Nicolle (FHWA)"
                                                                                                                                                                                                                  <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                  "Richardson, Christopher
                                                                                                                                                                                                                  (FHWA)"                       "Harkins, Michael (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003724          DOT‐003729        FW: Updated DOT Guidance on Competitive Grants                        FW_ Updated DOT Guidance on Competitive Grants (2).msg                        2025/03/19 20:42 UTC    <c.richardson@dot.gov>        <Michael.Harkins@dot.gov>   Process
DOT‐003730          DOT‐003730                                                                              March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                              Attorney/Client; Deliberative Process

                                                                                                                                                                                                                  "Bezio, Brian (FHWA)"
                                                                                                                                                                                                                  <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                                  "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                  <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                  <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"    "Finfrock, Arlan (FHWA)"
DOT‐003731          DOT‐003735        FW: Updated DOT Guidance on Competitive Grants                        FW_ Updated DOT Guidance on Competitive Grants (3).msg                        2025/03/19 19:53 UTC    <Michael.Harkins@dot.gov>    <Arlan.Finfrock@dot.gov>     Attorney/Client; Deliberative Process
DOT‐003736          DOT‐003736                                                                              March_2025_Competitive_Grants_Review_Workbook.xlsm                                                                                                              Attorney/Client; Deliberative Process
                                         2:25-cv-02152-RMG                                                   Date Filed 04/18/25                                                  Entry Number 76                               Page 29 of 39


                                                                                                                                  The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                             CIVIL NO. 2:25-cv-2152
                                                                                                                                 PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                 (As of 4/17/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                                    DATE SENT               TO                         FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                  "Finfrock, Arlan (FHWA)"     "Baker, Shana (FHWA)"
DOT‐003737          DOT‐003737        FW: Updated Discretionary Grant Status Overview                       FW_ Updated Discretionary Grant Status Overview.msg                           2025/02/04 20:37 UTC    <Arlan.Finfrock@dot.gov>     <Shana.Baker@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003738          DOT‐003745                                                                              2025_0203_FHWA_Dis_Grants_Lay_of_Land___Draft.docx                                                                                                             Attorney/Client; Deliberative Process
DOT‐003746          DOT‐003746                                                                              Disc_Grants_Status_w_FY26‐V4_02032025.xlsx                                                                                                                     Attorney/Client; Deliberative Process

                                      FW: DUE DATE Noon March 19: Program Manager Roundtable: OST EO                                                                                                              "Shaw, Alla (FHWA)"          "Harkins, Michael (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003747          DOT‐003750        Grant and Cooperative Agreement Review ‐ PPT and Update Excel Sheet   FW_DUE~1.MSG                                                                  2025/03/14 16:55 UTC    <Alla.Shaw@dot.gov>          <Michael.Harkins@dot.gov>   Process


                                                                                                                                                                                                                  "Hogge, Brian (FHWA)"
                                                                                                                                                                                                                  <Brian.Hogge@dot.gov>,
                                                                                                                                                                                                                  "Stephanos, Peter (FHWA)"
                                                                                                                                                                                                                  <Peter.Stephanos@dot.gov>,
                                      FW: [Action requested by March 24, 2025] Review of existing           FW:_[Action_requested_by_March_24,_2025]_Review_of_existing_discr                                     "Burrows, Shay (FHWA)"     "Kalla, Hari (FHWA)"
DOT‐003751          DOT‐003753        discretionary grant award agreements                                  etionary_grant_award_agreements.eml                               2025/03/11 16:37 UTC                <Shay.Burrows@dot.gov>     <Hari.Kalla@dot.gov>          Attorney/Client; Deliberative Process
DOT‐003754          DOT‐003754                                                                              EO_14222_discretionary_grants_review_data_call_031125.xlsm                                                                                                     Attorney/Client; Deliberative Process
DOT‐003755          DOT‐003758                                                                              OST_Data_Request_Instructions_(003).pptx                                                                                                                       Attorney/Client; Deliberative Process
DOT‐003759          DOT‐003759                                                                              OST_EO_Grant_and_Cooperative_Agreement_Review_.xlsm                                                                                                            Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                  "Richardson, Christopher
                                                                                                                                                                                                                  (FHWA)"
                                                                                                                                                                                                                  <c.richardson@dot.gov>,
                                                                                                                                                                                                                  "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                                  (FHWA)" <Gloria.Hardiman‐    "Shaw, Alla (FHWA)"
DOT‐003760          DOT‐003764        HCFA Comments DOT Guidance on Discretionary Grants                    HCFA Comments DOT Guidance on Discretionary Grants.msg                        2025/02/19 16:41 UTC    Tobin@dot.gov>               <Alla.Shaw@dot.gov>         Attorney/Client; Deliberative Process

DOT‐003765          DOT‐003766                                                                              HCFA_comments‐Draft_FHWA_Staff_DG_Actions_2025‐0219.docx                                                                                                       Attorney/Client; Deliberative Process
                                                                                                            HCFA comments‐Draft FHWA Staff DG Actions_2025‐0219 (002)_Update                                                                                               Attorney Work Product; Attorney/Client; Deliberative
DOT‐003767          DOT‐003768                                                                              DGCD (1).docx                                                                                                                                                  Process
                                                                                                            HCFA comments‐Draft FHWA Staff DG Actions_2025‐0219 (002)_Update                                                                                               Attorney Work Product; Attorney/Client; Deliberative
DOT‐003769          DOT‐003770                                                                              DGCD.docx                                                                                                                                                      Process
                                                                                                                                                                                                                                                                           Attorney Work Product; Attorney/Client; Deliberative
DOT‐003771          DOT‐003772                                                                              HCFA comments‐Draft FHWA Staff DG Actions_2025‐0219.docx                                                                                                       Process
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                            Next steps for each of FHWA's _discretionary grant plan_ programs                                     "Shaw, Alla (FHWA)"          "Kohr, Todd (FHWA)"
DOT‐003773          DOT‐003777        Next steps for each of FHWA's "discretionary grant plan" programs     (2).msg                                                                       2025/02/18 18:21 UTC    <Alla.Shaw@dot.gov>          <todd.kohr@dot.gov>         Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                  "Baker, Shana (FHWA)"        "Kohr, Todd (FHWA)"
DOT‐003778          DOT‐003781        Next steps for each of FHWA's "discretionary grant plan" programs     Next steps for each of FHWA's _discretionary grant plan_ programs.msg         2025/02/18 18:20 UTC    <Shana.Baker@dot.gov>        <todd.kohr@dot.gov>         Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                           Attorney Work Product; Attorney/Client; Deliberative
DOT‐003782          DOT‐003786                                                                              OST‐I‐250304‐003 (Revised on 3‐5 after 1st Coordination)hcc.docx                                                                                               Process
                                                                                                                                                                                                                  "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                  <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"     "Jensen, Gary (FHWA)"
DOT‐003787          DOT‐003789        RE: CFI                                                               RE_ CFI (1).msg                                                               2025/03/25 15:35 UTC    <Nicolle.Fleury@dot.gov>     <Gary.Jensen@dot.gov>       Attorney/Client; Deliberative Process
DOT‐003790          DOT‐003792                                                                              CFI_NEVI_10.docx                                                                                                                                               Attorney/Client; Deliberative Process
DOT‐003793          DOT‐003814                                                                              CFI_and_NEVI_10_Awards.docx                                                                                                                                    Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                  <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                  "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                  <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"     "Jensen, Gary (FHWA)"       Attorney Work Product; Attorney/Client; Deliberative
DOT‐003815          DOT‐003817        RE: CFI                                                               RE_ CFI .msg                                                                  2025/03/26 13:15 UTC    <Nicolle.Fleury@dot.gov>     <Gary.Jensen@dot.gov>       Process
DOT‐003818          DOT‐003820                                                                              CFI_NEVI_10.docx                                                                                                                                               Attorney/Client; Deliberative Process
DOT‐003821          DOT‐003842                                                                              CFI_and_NEVI_10_Awards.docx                                                                                                                                    Attorney/Client; Deliberative Process

                                                                                                                                                                                                                  "Horan, Dawn (FHWA)"         "Harkins, Michael (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003843          DOT‐003843        RE: CFI Memo                                                          RE_ CFI Memo.msg                                                              2023/12/13 22:01 UTC    <Dawn.M.Horan@dot.gov>       <Michael.Harkins@dot.gov>   Process
                                                                                                                                                                                                                                                                           Attorney Work Product; Attorney/Client; Deliberative
DOT‐003844          DOT‐003896                                                                              CFI_Award_Memo_DRAFT_DMH.mh_comments.docx                                                                                                                      Process

                                                                                                                                                                                                                  "Harkins, Michael (FHWA)"    "Burnell, Tamiko (FHWA)"
DOT‐003897          DOT‐003902        RE: DOT Guidance on Discretionary Grants                              RE_ DOT Guidance on Discretionary Grants (1).msg                              2025/02/19 19:56 UTC    <Michael.Harkins@dot.gov>    <Tamiko.Burnell@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                            HCFA_comments‐Draft_FHWA_Staff_DG_Actions_2025‐                                                                                                                Attorney Work Product; Attorney/Client; Deliberative
DOT‐003903          DOT‐003904                                                                              0219_(002)_Update_DGCD.docx                                                                                                                                    Process
                                                                                                                                                                                                                  "Finfrock, Arlan (FHWA)"     "Burnell, Tamiko (FHWA)"
DOT‐003905          DOT‐003911        RE: DOT Guidance on Discretionary Grants                              RE_ DOT Guidance on Discretionary Grants (10).msg                             2025/02/21 14:08 UTC    <Arlan.Finfrock@dot.gov>     <Tamiko.Burnell@dot.gov>    Attorney/Client; Deliberative Process
DOT‐003912          DOT‐003914                                                                              Clean_FHWA_Grant_Actions_Memo_2025‐0221.docx                                                                                                                   Attorney/Client; Deliberative Process
                                                                                                            Redline‐
                                                                                                            HPLS_Comments_Resolved_Draft_FHWA_Staff_DG_Actions_2025‐                                                                                                       Attorney Work Product; Attorney/Client; Deliberative
DOT‐003915          DOT‐003916                                                                              0221_(003).docx                                                                                                                                                Process

                                                                                                                                                                                                                  "Burnell, Tamiko (FHWA)"     "Harkins, Michael (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003917          DOT‐003922        RE: DOT Guidance on Discretionary Grants                              RE_ DOT Guidance on Discretionary Grants (2).msg                              2025/02/19 20:34 UTC    <Tamiko.Burnell@dot.gov>     <Michael.Harkins@dot.gov>   Process
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                                                                                                               PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                               (As of 4/17/2025)

      BEGIN BATES         END BATES                                 SUBJECT                                             FILENAME                                                    DATE SENT               TO                          FROM                             PRIVILEGE REASON
                                                                                          HCFA_comments‐Draft_FHWA_Staff_DG_Actions_2025‐                                                                                                                Attorney Work Product; Attorney/Client; Deliberative
DOT‐003923          DOT‐003924                                                            0219_(002)_Update_DGCD.docx                                                                                                                                    Process

                                                                                                                                                                                                "Harkins, Michael (FHWA)"
                                                                                                                                                                                                <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                "Burnell, Tamiko (FHWA)"     "Finfrock, Arlan (FHWA)"
DOT‐003925          DOT‐003930        RE: DOT Guidance on Discretionary Grants            RE_ DOT Guidance on Discretionary Grants (3).msg                              2025/02/19 21:32 UTC    <Tamiko.Burnell@dot.gov>     <Arlan.Finfrock@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                "Baker, Shana (FHWA)"        "Burnell, Tamiko (FHWA)"    Attorney Work Product; Attorney/Client; Deliberative
DOT‐003931          DOT‐003937        RE: DOT Guidance on Discretionary Grants            RE_ DOT Guidance on Discretionary Grants (4).msg                              2025/02/19 22:14 UTC    <Shana.Baker@dot.gov>        <Tamiko.Burnell@dot.gov>    Process
                                                                                                                                                                                                                                                         Attorney Work Product; Attorney/Client; Deliberative
DOT‐003938          DOT‐003939                                                            Clean_Draft_FHWA_Staff_DG_Actions_2025‐0219.docx                                                                                                               Process

                                                                                          Redline‐Comments_Resolved_Draft_FHWA_Staff_DG_Actions_2025‐                                                                                                    Attorney Work Product; Attorney/Client; Deliberative
DOT‐003940          DOT‐003941                                                            0219.docx                                                                                                                                                      Process

                                                                                                                                                                                                "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                                <Arlan.Finfrock@dot.gov>,
                                                                                                                                                                                                "Harkins, Michael (FHWA)"
                                                                                                                                                                                                <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                "Burnell, Tamiko (FHWA)"     "Bezio, Brian (FHWA)"       Attorney Work Product; Attorney/Client; Deliberative
DOT‐003942          DOT‐003948        RE: DOT Guidance on Discretionary Grants            RE_ DOT Guidance on Discretionary Grants (5).msg                              2025/02/19 22:49 UTC    <Tamiko.Burnell@dot.gov>     <Brian.Bezio@dot.gov>       Process
                                                                                                                                                                                                "Burnell, Tamiko (FHWA)"     "Baker, Shana (FHWA)"
DOT‐003949          DOT‐003955        RE: DOT Guidance on Discretionary Grants            RE_ DOT Guidance on Discretionary Grants (6).msg                              2025/02/20 13:23 UTC    <Tamiko.Burnell@dot.gov>     <Shana.Baker@dot.gov>       Attorney/Client; Deliberative Process
                                                                                                                                                                                                "Baker, Shana (FHWA)"        "Burnell, Tamiko (FHWA)"
DOT‐003956          DOT‐003962        RE: DOT Guidance on Discretionary Grants            RE_ DOT Guidance on Discretionary Grants (8).msg                              2025/02/20 18:06 UTC    <Shana.Baker@dot.gov>        <Tamiko.Burnell@dot.gov>    Attorney/Client; Deliberative Process

                                                                                                                                                                                                "Blackshear, Danielle (FHWA)"
                                                                                                                                                                                                <Danielle.Blackshear@dot.gov "Burnell, Tamiko (FHWA)"
DOT‐003963          DOT‐003970        RE: DOT Guidance on Discretionary Grants            RE_ DOT Guidance on Discretionary Grants (9).msg                              2025/02/20 20:43 UTC    >                             <Tamiko.Burnell@dot.gov>   Attorney/Client; Deliberative Process


                                                                                                                                                                                                "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                <Tamiko.Burnell@dot.gov>,    "Richardson, Christopher
                                                                                                                                                                                                "Harkins, Michael (FHWA)"    (FHWA)"
DOT‐003971          DOT‐003976        RE: DOT Guidance on Discretionary Grants            RE_ DOT Guidance on Discretionary Grants.msg                                  2025/02/19 20:22 UTC    <Michael.Harkins@dot.gov>    <c.richardson@dot.gov>      Attorney/Client; Deliberative Process
                                                                                          HCFA_comments‐Draft_FHWA_Staff_DG_Actions_2025‐                                                                                                                Attorney Work Product; Attorney/Client; Deliberative
DOT‐003977          DOT‐003978                                                            0219_(002)_Update_DGCD.docx                                                                                                                                    Process

                                                                                                                                                                                                "Sleeter, Adam (FHWA)"       "Harkins, Michael (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐003979          DOT‐003979        RE: Grant programs status and options doc           RE_ Grant programs status and options doc (7).msg                             2025/02/05 18:53 UTC    <adam.sleeter@dot.gov>       <Michael.Harkins@dot.gov>   Process
                                                                                                                                                                                                                                                         Attorney Work Product; Attorney/Client; Deliberative
DOT‐003980          DOT‐003982                                                            FHWA_Dis_Grants_Lay_of_Land___Draft_01.23.2025_v2.mh_(002).docx                                                                                                Process
                                                                                                                                                                                                "Harkins, Michael (FHWA)"
                                                                                                                                                                                                <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                "Shaw, Alla (FHWA)"          "Sleeter, Adam (FHWA)"      Attorney Work Product; Attorney/Client; Deliberative
DOT‐003983          DOT‐003984        RE: Grant programs status and options doc           RE_ Grant programs status and options doc.msg                   2025/02/10 19:03 UTC                  <Alla.Shaw@dot.gov>          <adam.sleeter@dot.gov>      Process
                                                                                          FHWA_Dis_Grants_Lay_of_Land___Draft_01.23.2025_v2.mh_(002)_ADS.                                                                                                Attorney Work Product; Attorney/Client; Deliberative
DOT‐003985          DOT‐003987                                                            docx                                                                                                                                                           Process




                                                                                                                                                                                                "Shaw, Alla (FHWA)"
                                                                                                                                                                                                <Alla.Shaw@dot.gov>, "Dolan,
                                                                                                                                                                                                Alissa (FHWA)"
                                                                                                                                                                                                <alissa.dolan@dot.gov>,
                                                                                                                                                                                                "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                (FHWA)" <Gloria.Hardiman‐
                                                                                                                                                                                                Tobin@dot.gov>, "Harkins,
                                                                                                                                                                                                Michael (FHWA)"
                                                                                                                                                                                                <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                "Mapp, Caroline (FHWA)"
                                                                                                                                                                                                <caroline.mapp@dot.gov>,
                                                                                                                                                                                                "Esselman, James (FHWA)"
                                                                                                                                                                                                <james.esselman@dot.gov>,
                                                                                                                                                                                                "Horan, Dawn (FHWA)"
                                                                                                                                                                                                <Dawn.M.Horan@dot.gov>,
                                                                                                                                                                                                "Sleeter, Adam (FHWA)"
                                                                                                                                                                                                <adam.sleeter@dot.gov>,
                                                                                                                                                                                                "Gabrilovich, Lev (FHWA)"
                                                                                                                                                                                                <lev.gabrilovich@dot.gov>,
                                                                                                                                                                                                "Morales, Silvio (FHWA)"
                                                                                                                                                                                                <silvio.morales@dot.gov>,
                                                                                                                                                                                                "Tikhonova, Mariya (FHWA)" "Serody, David (FHWA)"        Attorney Work Product; Attorney/Client; Deliberative
DOT‐003988          DOT‐003992        RE: INFORMATION: OST Discretionary Grant Guidance   RE_ INFORMATION_ OST Discretionary Grant Guidance.msg                         2025/02/21 15:19 UTC    <mariya.tikhonova@dot.gov> <david.serody@dot.gov>        Process
                                         2:25-cv-02152-RMG                                                     Date Filed 04/18/25                                                  Entry Number 76                               Page 31 of 39


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                                                                                                                                   PRIVILEGE LOG - PROTECTED AS RESTRICTED
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      BEGIN BATES         END BATES                                  SUBJECT                                                                FILENAME                                                    DATE SENT               TO                          FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                    "Shaw, Alla (FHWA)"
                                                                                                                                                                                                                    <Alla.Shaw@dot.gov>, "Kohr,
                                                                                                                                                                                                                    Todd (FHWA)"
                                                                                                                                                                                                                    <todd.kohr@dot.gov>,
                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                              RE_ Next steps for each of FHWA's _discretionary grant plan_ programs                                 "Baker, Shana (FHWA)"         "Rusnak, Allison (FHWA)"
DOT‐003993          DOT‐003998        RE: Next steps for each of FHWA's "discretionary grant plan" programs   (7).msg                                                                       2025/02/20 14:33 UTC    <Shana.Baker@dot.gov>         <Allison.Rusnak@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                                    "Shaw, Alla (FHWA)"
                                                                                                                                                                                                                    <Alla.Shaw@dot.gov>, "Kohr,
                                                                                                                                                                                                                    Todd (FHWA)"
                                                                                                                                                                                                                    <todd.kohr@dot.gov>,
                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                              RE_ Next steps for each of FHWA's _discretionary grant plan_ programs                                 "Baker, Shana (FHWA)"         "Rusnak, Allison (FHWA)"
DOT‐003999          DOT‐004003        RE: Next steps for each of FHWA's "discretionary grant plan" programs   (8).msg                                                                       2025/02/19 19:14 UTC    <Shana.Baker@dot.gov>         <Allison.Rusnak@dot.gov>    Attorney/Client; Deliberative Process
                                                                                                                                                                                                                    "Shaw, Alla (FHWA)"
                                                                                                                                                                                                                    <Alla.Shaw@dot.gov>,
                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                    "Richardson, Christopher      "Hardiman‐Tobin, Gloria
                                                                                                                                                                                                                    (FHWA)"                       (FHWA)" <Gloria.Hardiman‐   Attorney Work Product; Attorney/Client; Deliberative
DOT‐004004          DOT‐004008        RE: REVIEW: FW: DOT Guidance on Discretionary Grants                    RE_ REVIEW_ FW_ DOT Guidance on Discretionary Grants.msg                      2025/02/19 15:31 UTC    <c.richardson@dot.gov>        Tobin@dot.gov>              Process




                                                                                                                                                                                                                    "Santiago, Damaris (FHWA)"
                                                                                                                                                                                                                    <Damaris.Santiago@dot.gov>,
                                                                                                                                                                                                                    "Guendert, Zan (FHWA)"
                                                                                                                                                                                                                    <zan.guendert@dot.gov>,
                                                                                                                                                                                                                    "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                    <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                    "Richardson, Christopher
                                                                                                                                                                                                                    (FHWA)"
                                                                                                                                                                                                                    <c.richardson@dot.gov>,
                                                                                                                                                                                                                    "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                    <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                    "Zawadzki, Meaghan (FHWA)"
                                      RE: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant        RE_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      <meaghan.zawadzki@dot.gov "Biondi, Emily (FHWA)"
DOT‐004009          DOT‐004011        Agreement and NEPA Documents                                            Agreement and NEPA Documents (1).msg                                          2025/02/25 20:59 UTC    >                           <Emily.Biondi@dot.gov>        Attorney/Client; Deliberative Process




                                                                                                                                                                                                                    "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                    <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                    "Santiago, Damaris (FHWA)"
                                                                                                                                                                                                                    <Damaris.Santiago@dot.gov>,
                                                                                                                                                                                                                    "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                    <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                    "Richardson, Christopher
                                                                                                                                                                                                                    (FHWA)"
                                                                                                                                                                                                                    <c.richardson@dot.gov>,
                                                                                                                                                                                                                    "Fleury, Nicolle (FHWA)"
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                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                    "Zawadzki, Meaghan (FHWA)"
                                      RE: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant        RE_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      <meaghan.zawadzki@dot.gov "Guendert, Zan (FHWA)"
DOT‐004012          DOT‐004014        Agreement and NEPA Documents                                            Agreement and NEPA Documents (2).msg                                          2025/02/25 21:21 UTC    >                           <zan.guendert@dot.gov>        Attorney/Client; Deliberative Process
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      BEGIN BATES         END BATES                                  SUBJECT                                                           FILENAME                                                    DATE SENT               TO                         FROM                            PRIVILEGE REASON




                                                                                                                                                                                                               "Richardson, Christopher
                                                                                                                                                                                                               (FHWA)"
                                                                                                                                                                                                               <c.richardson@dot.gov>,
                                                                                                                                                                                                               "Guendert, Zan (FHWA)"
                                                                                                                                                                                                               <zan.guendert@dot.gov>,
                                                                                                                                                                                                               "Biondi, Emily (FHWA)"
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                                                                                                                                                                                                               "Santiago, Damaris (FHWA)"
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                                                                                                                                                                                                               "Harkins, Michael (FHWA)"
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                                                                                                                                                                                                               "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                               <meaghan.zawadzki@dot.gov
                                                                                                                                                                                                               >, "Bezio, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                               "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                                               <Arlan.Finfrock@dot.gov>,
                                      RE: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant   RE_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      "Harkins, Michael (FHWA)"   "Burnell, Tamiko (FHWA)"   Attorney Work Product; Attorney/Client; Deliberative
DOT‐004015          DOT‐004020        Agreement and NEPA Documents                                       Agreement and NEPA Documents (4).msg                                          2025/02/25 22:06 UTC    <Michael.Harkins@dot.gov> <Tamiko.Burnell@dot.gov>     Process




                                                                                                                                                                                                               "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                               <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                               "Richardson, Christopher
                                                                                                                                                                                                               (FHWA)"
                                                                                                                                                                                                               <c.richardson@dot.gov>,
                                                                                                                                                                                                               "Guendert, Zan (FHWA)"
                                                                                                                                                                                                               <zan.guendert@dot.gov>,
                                                                                                                                                                                                               "Biondi, Emily (FHWA)"
                                                                                                                                                                                                               <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                               "Santiago, Damaris (FHWA)"
                                                                                                                                                                                                               <Damaris.Santiago@dot.gov>,
                                                                                                                                                                                                               "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                               <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                               "Harkins, Michael (FHWA)"
                                                                                                                                                                                                               <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                               "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                               <meaghan.zawadzki@dot.gov
                                                                                                                                                                                                               >, "Bezio, Brian (FHWA)"
                                                                                                                                                                                                               <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                               "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                                               <Arlan.Finfrock@dot.gov>,
                                      RE: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant   RE_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      "Harkins, Michael (FHWA)"   "Rusnak, Allison (FHWA)"
DOT‐004021          DOT‐004027        Agreement and NEPA Documents                                       Agreement and NEPA Documents (5).msg                                          2025/02/25 22:39 UTC    <Michael.Harkins@dot.gov> <Allison.Rusnak@dot.gov>     Attorney/Client; Deliberative Process
                                         2:25-cv-02152-RMG                                                     Date Filed 04/18/25                                                  Entry Number 76                               Page 33 of 39


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      BEGIN BATES         END BATES                                  SUBJECT                                                                FILENAME                                                    DATE SENT               TO                          FROM                             PRIVILEGE REASON




                                                                                                                                                                                                                    "Rusnak, Allison (FHWA)"
                                                                                                                                                                                                                    <Allison.Rusnak@dot.gov>,
                                                                                                                                                                                                                    "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                    <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                    "Richardson, Christopher
                                                                                                                                                                                                                    (FHWA)"
                                                                                                                                                                                                                    <c.richardson@dot.gov>,
                                                                                                                                                                                                                    "Guendert, Zan (FHWA)"
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                                                                                                                                                                                                                    <Damaris.Santiago@dot.gov>,
                                                                                                                                                                                                                    "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                    <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                    "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                    <meaghan.zawadzki@dot.gov
                                                                                                                                                                                                                    >, "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                                                    <Arlan.Finfrock@dot.gov>,
                                      RE: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant        RE_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      "Harkins, Michael (FHWA)"   "Bezio, Brian (FHWA)"
DOT‐004028          DOT‐004034        Agreement and NEPA Documents                                            Agreement and NEPA Documents (6).msg                                          2025/02/25 23:38 UTC    <Michael.Harkins@dot.gov> <Brian.Bezio@dot.gov>          Attorney/Client; Deliberative Process

                                                                                                                                                                                                                    "Guendert, Zan (FHWA)"
                                                                                                                                                                                                                    <zan.guendert@dot.gov>,
                                                                                                                                                                                                                    "Biondi, Emily (FHWA)"
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                                                                                                                                                                                                                    "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                    <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                    "Richardson, Christopher
                                                                                                                                                                                                                    (FHWA)"
                                                                                                                                                                                                                    <c.richardson@dot.gov>,
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                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                    "Zawadzki, Meaghan (FHWA)"
                                      RE: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant        RE_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      <meaghan.zawadzki@dot.gov "Santiago, Damaris (FHWA)"
DOT‐004035          DOT‐004036        Agreement and NEPA Documents                                            Agreement and NEPA Documents.msg                                              2025/02/25 20:31 UTC    >                          <Damaris.Santiago@dot.gov> Attorney/Client; Deliberative Process


                                      RE: URGENT [DUE 10AM]: COORD: TIME SENSITIVE: Outgoing Letter to                                                                                                              "Carlson, Terence (OST)"
                                      Congress Regarding all Grants DOT Awarded from November 5, 2024 to                                                                                                            <Terence.Carlson@dot.gov>,   "Richardson, Christopher
                                      January 20, 2025 to Ensure They Align with President \OST‐I‐250304‐003‐                                                                                                       "Harkins, Michael (FHWA)"    (FHWA)"                     Attorney Work Product; Attorney/Client; Deliberative
DOT‐004037          DOT‐004038        OST‐C‐001                                                               RE_URG~1.MSG                                                                  2025/03/07 18:06 UTC    <Michael.Harkins@dot.gov>    <c.richardson@dot.gov>      Process
                                                                                                                                                                                                                                                                             Attorney Work Product; Attorney/Client; Deliberative
DOT‐004039          DOT‐004043                                                                                OST‐I‐250304‐003_(Revised_on_3‐5_after_1st_Coordination)hcc.docx                                                                                               Process
                                                                                                                                                                                                                    "Rusnak, Allison (FHWA)"
                                                                                                                                                                                                                    <Allison.Rusnak@dot.gov>,
                                                                                                                                                                                                                    "Kohr, Todd (FHWA)"
                                                                                                                                                                                                                    <todd.kohr@dot.gov>,
                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                              Re_ Next steps for each of FHWA's _discretionary grant plan_                                          "Baker, Shana (FHWA)"        "Shaw, Alla (FHWA)"
DOT‐004044          DOT‐004048        RE: Next steps for each of FHWA's "discretionary grant plan" programs   programs.msg                                                                  2025/02/19 23:56 UTC    <Shana.Baker@dot.gov>        <Alla.Shaw@dot.gov>         Attorney/Client; Deliberative Process




                                                                                                                                                                                                                    "Guendert, Zan (FHWA)"
                                                                                                                                                                                                                    <zan.guendert@dot.gov>,
                                                                                                                                                                                                                    "Biondi, Emily (FHWA)"
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                                                                                                                                                                                                                    "Harkins, Michael (FHWA)"
                                                                                                                                                                                                                    <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                                    "Zawadzki, Meaghan (FHWA)" "Richardson, Christopher
                                      RE: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant        Re_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      <meaghan.zawadzki@dot.gov (FHWA)"
DOT‐004049          DOT‐004051        Agreement and NEPA Documents                                            Agreement and NEPA Documents (3).msg                                          2025/02/25 21:33 UTC    >                           <c.richardson@dot.gov>       Attorney/Client; Deliberative Process
                                         2:25-cv-02152-RMG                                                    Date Filed 04/18/25                                                  Entry Number 76                               Page 34 of 39


                                                                                                                                   The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                              CIVIL NO. 2:25-cv-2152
                                                                                                                                  PRIVILEGE LOG - PROTECTED AS RESTRICTED
                                                                                                                                                  (As of 4/17/2025)

      BEGIN BATES         END BATES                                  SUBJECT                                                                FILENAME                                                   DATE SENT               TO                         FROM                            PRIVILEGE REASON




                                                                                                                                                                                                                   "Bezio, Brian (FHWA)"
                                                                                                                                                                                                                   <Brian.Bezio@dot.gov>,
                                                                                                                                                                                                                   "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                   <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                   "Richardson, Christopher
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                                                                                                                                                                                                                   "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                   <meaghan.zawadzki@dot.gov
                                      Re: Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant       Re_ Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant                                      >, "Finfrock, Arlan (FHWA)" "Rusnak, Allison (FHWA)"
DOT‐004052          DOT‐004058        Agreement and NEPA Documents                                           Agreement and NEPA Documents (7).msg                                          2025/02/26 00:05 UTC    <Arlan.Finfrock@dot.gov>    <Allison.Rusnak@dot.gov>   Attorney/Client; Deliberative Process
                                                                                                             Redline‐Comments Resolved_Draft FHWA Staff DG Actions_2025‐                                                                                                  Attorney Work Product; Attorney/Client; Deliberative
DOT‐004059          DOT‐004060                                                                               0219.docx                                                                                                                                                    Process
                                                                                                             Redline‐HPLS Comments Resolved_Draft FHWA Staff DG Actions_2025‐                                                                                             Attorney Work Product; Attorney/Client; Deliberative
DOT‐004061          DOT‐004062                                                                               0221 (003).docx                                                                                                                                              Process




                                                                                                                                                                                                                   "Biondi, Emily (FHWA)"
                                                                                                                                                                                                                   <Emily.Biondi@dot.gov>,
                                                                                                                                                                                                                   "Santiago, Damaris (FHWA)"
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                                                                                                                                                                                                                   "Zawadzki, Meaghan (FHWA)"
                                      Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant Agreement Time Sensitive ‐ EPW Majority Inquiry on Discretionary Grant Agreement                                <meaghan.zawadzki@dot.gov "Guendert, Zan (FHWA)"
DOT‐004063          DOT‐004064        and NEPA Documents                                                     and NEPA Documents.msg                                                 2025/02/25 19:02 UTC           >                           <zan.guendert@dot.gov>     Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Rusnak, Allison (FHWA)"    "Guendert, Zan (FHWA)"
DOT‐004065          DOT‐004066        RE: Discretionary Grant Agreement and NEPA Documents                   RE:_Discretionary_Grant_Agreement_and_NEPA_Documents.eml                      2025/02/25 14:50 UTC    <Allison.Rusnak@dot.gov>    <zan.guendert@dot.gov>     Attorney/Client; Deliberative Process
                                                                                                             2025‐4‐10 CFI Electrify Music City CFI Grant Application Concensus
DOT‐004067          DOT‐004067                                                                               Evaluation Results.xlsx                                                                                                                                      Deliberative Process
DOT‐004068          DOT‐004070                                                                               DRAFT Reauthorization memo.pdf                                                                                                                               Attorney/Client; Deliberative Process

                                                                                                                                                                                                                   "Guendert, Zan (FHWA)"
                                                                                                                                                                                                                   <zan.guendert@dot.gov>,
                                                                                                                                                                                                                   "Fleury, Nicolle (FHWA)"
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                                                                                                                                                                                                                   "Richardson, Christopher
                                                                                                                                                                                                                   (FHWA)"
                                                                                                                                                                                                                   <c.richardson@dot.gov>,
                                                                                                                                                                                                                   "Zawadzki, Meaghan (FHWA)"
                                      RE: For Review [Request #41] Rep Wasserman Schultz (FL) ‐ EV Charger   RE_ For Review _Request #41_ Rep Wasserman Schultz (FL) ‐ EV Charger                                  <meaghan.zawadzki@dot.gov "Frye, Tony (FHWA)"
DOT‐004071          DOT‐004074        Webinar Status                                                         Webinar Status .msg                                                  2025/03/18 17:19 UTC             >                          <tony.frye@dot.gov>         Attorney/Client; Deliberative Process


                                                                                                                                                                                                                   "Lomax, Brian (FHWA)"
                                                                                                                                                                                                                   <Brian.Lomax@dot.gov>,
                                                                                                                                                                                                                   "Richardson, Christopher
                                                                                                                                                                                                                   (FHWA)"
                                                                                                                                                                                                                   <c.richardson@dot.gov>,
                                                                                                                                                                                                                   "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                   <meaghan.zawadzki@dot.gov
                                      RE: [Request #146] DRAFT ‐ Rep. Deluzio (PA) ‐ Allegheny County CFI    RE_ _Request #146_ DRAFT ‐ Rep_ Deluzio (PA) ‐ Allegheny County CFI                                   >, "Fleury, Nicolle (FHWA)" "Frye, Tony (FHWA)"
DOT‐004075          DOT‐004076        Grant                                                                  Grant (1).msg                                                                 2025/03/25 18:09 UTC    <Nicolle.Fleury@dot.gov>    <tony.frye@dot.gov>        Attorney/Client; Deliberative Process
                                         2:25-cv-02152-RMG                                                   Date Filed 04/18/25                                                  Entry Number 76                               Page 35 of 39


                                                                                                                                  The Sustainability Institute, et al. v. Trump, et al.
                                                                                                                                             CIVIL NO. 2:25-cv-2152
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      BEGIN BATES         END BATES                                  SUBJECT                                                              FILENAME                                                    DATE SENT               TO                         FROM                           PRIVILEGE REASON



                                                                                                                                                                                                                  "Frye, Tony (FHWA)"
                                                                                                                                                                                                                  <tony.frye@dot.gov>, "Lomax,
                                                                                                                                                                                                                  Brian (FHWA)"
                                                                                                                                                                                                                  <Brian.Lomax@dot.gov>,
                                                                                                                                                                                                                  "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                  <meaghan.zawadzki@dot.gov "Richardson, Christopher
                                      RE: [Request #146] DRAFT ‐ Rep. Deluzio (PA) ‐ Allegheny County CFI   RE_ _Request #146_ DRAFT ‐ Rep_ Deluzio (PA) ‐ Allegheny County CFI                                   >, "Fleury, Nicolle (FHWA)"  (FHWA)"
DOT‐004077          DOT‐004078        Grant                                                                 Grant (2).msg                                                                 2025/03/25 22:13 UTC    <Nicolle.Fleury@dot.gov>     <c.richardson@dot.gov>   Attorney/Client; Deliberative Process


                                                                                                                                                                                                                  "Richardson, Christopher
                                                                                                                                                                                                                  (FHWA)"
                                                                                                                                                                                                                  <c.richardson@dot.gov>,
                                                                                                                                                                                                                  "Zawadzki, Meaghan (FHWA)"
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                                                                                                                                                                                                                  >, "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                  <Nicolle.Fleury@dot.gov>,
                                      RE: [Request #146] DRAFT ‐ Rep. Deluzio (PA) ‐ Allegheny County CFI   RE_ _Request #146_ DRAFT ‐ Rep_ Deluzio (PA) ‐ Allegheny County CFI                                   "Frye, Tony (FHWA)"         "Lomax, Brian (FHWA)"
DOT‐004079          DOT‐004080        Grant                                                                 Grant .msg                                                                    2025/03/25 16:10 UTC    <tony.frye@dot.gov>         <Brian.Lomax@dot.gov>     Attorney/Client; Deliberative Process

                                                                                                                                                                                                                  "Frye, Tony (FHWA)"
                                                                                                                                                                                                                  <tony.frye@dot.gov>, "Dean,
                                                                                                                                                                                                                  Heather (FHWA)"
                                                                                                                                                                                                                  <Heather.Dean@dot.gov>,
                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                  <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                  "Zawadzki, Meaghan (FHWA)" "Richardson, Christopher
                                                                                                                                                                                                                  <meaghan.zawadzki@dot.gov (FHWA)"
DOT‐004081          DOT‐004082        RE: [Request #96] DRAFT‐ Sen. Wyden (OR) CFI Grant Funding            RE_ _Request #96_ DRAFT‐ Sen_ Wyden (OR) CFI Grant Funding (1).msg 2025/03/10 17:42 UTC               >                           <c.richardson@dot.gov>    Attorney/Client; Deliberative Process

                                                                                                                                                                                                                  "Dean, Heather (FHWA)"
                                                                                                                                                                                                                  <Heather.Dean@dot.gov>,
                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                  <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                  "Richardson, Christopher
                                                                                                                                                                                                                  (FHWA)"
                                                                                                                                                                                                                  <c.richardson@dot.gov>,
                                                                                                                                                                                                                  "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                  <meaghan.zawadzki@dot.gov "Frye, Tony (FHWA)"
DOT‐004083          DOT‐004084        RE: [Request #96] DRAFT‐ Sen. Wyden (OR) CFI Grant Funding            RE_ _Request #96_ DRAFT‐ Sen_ Wyden (OR) CFI Grant Funding .msg               2025/03/10 17:08 UTC    >                          <tony.frye@dot.gov>        Attorney/Client; Deliberative Process
DOT‐004085          DOT‐004749                                                                              2025 FHWA Transition Book ‐ 2.13.25 v5.pdf                                                                                                                  Attorney/Client; Deliberative Process
DOT‐004750          DOT‐004751                                                                              AASHTO‐Letter‐to‐USDOT‐on‐Program‐Interruption.pdf                                                                                                          Attorney/Client; Deliberative Process
DOT‐004752          DOT‐004773                                                                              CFI and NEVI 10 Awards.docx                                                                                                                                 Attorney/Client; Deliberative Process
DOT‐004774          DOT‐004774                                                                              CFI and NEVI Obligations.xlsx                                                                                                                               Attorney/Client; Deliberative Process
DOT‐004775          DOT‐004775                                                                              CFI_NEVI_1‐23‐25.xlsx                                                                                                                                       Attorney/Client; Deliberative Process
DOT‐004776          DOT‐004776                                                                              Disc Grants Status w FY26 v3.2.xlsx                                                                                                                         Attorney/Client; Deliberative Process
DOT‐004777          DOT‐004777                                                                              Disc Grants Status w FY26‐V4_02032025.xlsx                                                                                                                  Attorney/Client; Deliberative Process
DOT‐004778          DOT‐004778                                                                              EPW Grant Status 2025.01.28 v2.xlsx                                                                                                                         Attorney/Client; Deliberative Process
DOT‐004779          DOT‐004779                                                                              GA Not Executed 2025.04.01.xlsx                                                                                                                             Attorney/Client; Deliberative Process
DOT‐004780          DOT‐004782                                                                              Information on Competitve Awards 3.12.25.pdf                                                                                                                Attorney/Client; Deliberative Process
DOT‐004783          DOT‐004788                                                                              Jay + Gloria ‐ Full ROS for the February 2025.docx                                                                                                          Attorney/Client; Deliberative Process
DOT‐004789          DOT‐004926                                                                              McMaster Confirmation Hearing Book ‐ 04.04.25.pdf                                                                                                           Attorney/Client; Deliberative Process
DOT‐004927          DOT‐004934                                                                              2025 01 23 FHWA Dis Grants Lay of Land _ Draf.docx                                                                                                          Attorney/Client; Deliberative Process
DOT‐004935          DOT‐004942                                                                              2025 0203 FHWA Dis Grants Lay of Land _ Draft.docx                                                                                                          Attorney/Client; Deliberative Process
DOT‐004943          DOT‐004945                                                                              CFI NEVI 10.docx                                                                                                                                            Attorney/Client; Deliberative Process
DOT‐004946          DOT‐004946                                                                              Copy of Updated Draft List re. EO Implementat.xlsx                                                                                                          Attorney/Client; Deliberative Process
DOT‐004947          DOT‐004954                                                                              FHWA Discretionary Grants.2‐11‐25.docx                                                                                                                      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Meachum, Pete (OST)"
                                                                                                                                                                                                                  <charles.meachum@dot.gov>,
                                                                                                                                                                                                                  "Smith, Loren (OST)"       "Payne, Jay (FHWA)"
DOT‐004955          DOT‐004957        FHWA Proposal: Expediting Competitive Grants                          FHWA Proposal Expediting Competitive Grants.msg                               2025/03/14 18:55 UTC    <loren.smith@dot.gov>      <jay.payne@dot.gov>        Attorney/Client; Deliberative Process
DOT‐004958          DOT‐004958                                                                              Disc_Grants_Status_w_FY26‐V4_02032025.xlsx                                                                                                                  Attorney/Client; Deliberative Process
                                                                                                                                                                                                                                                                        Attorney Work Product; Attorney/Client; Deliberative
DOT‐004959          DOT‐004959                                                                              FHWA.xlsx                                                                                                                                                   Process
DOT‐004960          DOT‐004965                                                                              Jay Gloria ‐ Full ROS for the February 2025 .docx                                                                                                           Attorney/Client; Deliberative Process
DOT‐004966          DOT‐004970                                                                              Jay & Gloria ‐ Full ROS for the February 2025.docx                                                                                                          Attorney/Client; Deliberative Process
DOT‐004971          DOT‐005105                                                                              McMaster Confirmation Hearing Book ‐ 03.21.25.pdf                                                                                                           Attorney/Client; Deliberative Process
                                                                                                                                                                                                                  "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                                                  <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                                                  "Payne, Jay (FHWA)"
                                                                                                                                                                                                                  <jay.payne@dot.gov>, "Baker,
                                                                                                                                                                                                                  Shana (FHWA)"
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                                                                                                                                                                                                                  "Fleury, Nicolle (FHWA)"
                                                                                                                                                                                                                  <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                                  "Gates, Angela (FHWA)"       "Bezio, Brian (FHWA)"
DOT‐005106          DOT‐005107        RE: OMB Memo M‐25‐13 Rescinded                                        RE_ OMB Memo M‐25‐13 Rescinded.pdf                                            2025/01/29 20:24 UTC    <Angela.Gates@dot.gov>       <Brian.Bezio@dot.gov>    Attorney/Client; Deliberative Process
                                         2:25-cv-02152-RMG                                               Date Filed 04/18/25                                                  Entry Number 76                                Page 36 of 39


                                                                                                                              The Sustainability Institute, et al. v. Trump, et al.
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      BEGIN BATES         END BATES                                SUBJECT                                                              FILENAME                                                  DATE SENT               TO                          FROM                               PRIVILEGE REASON
                                                                                                                                                                                                              "Carlson, Terence (OST)"
                                                                                                                                                                                                              <Terence.Carlson@dot.gov>,
                                                                                                                                                                                                              "Payne, Jay (FHWA)"
                                                                                                                                                                                                              <jay.payne@dot.gov>, "Fleury,
                                                                                                                                                                                                              Nicolle (FHWA)"
                                                                                                                                                                                                              <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                              "Wainwright, Laura (OST)"
                                                                                                                                                                                                              <laura.wainwright@dot.gov>,
                                                                                                                                                                                                              "Hawks, Robert (OST)"
                                                                                                                                                                                                              <Robert.Hawks@dot.gov>,
                                                                                                                                                                                                              "Enloe, Charles (OST)"
                                                                                                                                                                                                              <charles.enloe@dot.gov>,
                                                                                                                                                                                                              "Bezio, Brian (FHWA)"         "Harkins, Michael (FHWA)"    Attorney Work Product; Attorney/Client; Deliberative
DOT‐005108          DOT‐005112        RE: guidance for pause                                            RE_ guidance for pause(1).pdf                                                 2025/01/29 21:40 UTC    <Brian.Bezio@dot.gov>         <Michael.Harkins@dot.gov>    Process

                                                                                                                                                                                                              FHWA‐#Leadership Team‐
                                                                                                                                                                                                              OfficialMailbox <FHWA‐
                                                                                                                                                                                                              LeadershipTeam‐
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                                                                                                                                                                                                              "FHWA‐#Leadership Team‐
                                                                                                                                                                                                              PersonalMailbox" <FHWA‐
                                                                                                                                                                                                              LeadershipTeam‐              "Baker, Shana (FHWA)"
DOT‐005113          DOT‐005113        2025 FHWA Transition Book                                         2025 FHWA Transition Book (1).pdf                                             2025/02/13 17:44 UTC    PersonalMailbox@dot.gov>     <Shana.Baker@dot.gov>         Attorney/Client; Deliberative Process
DOT‐005114          DOT‐005778                                                                          2025 FHWA Transition Book ‐ 2.13.25 v5.pdf                                                                                                                       Attorney/Client; Deliberative Process

                                                                                                                                                                                                              FHWA‐#Leadership Team‐        "FHWA Policy
                                                                                                                                                                                                              PersonalMailbox <FHWA‐        Communications (FHWA)"
                                                                                                                                                                                                              LeadershipTeam‐               <PolicyCommunications@dot.
DOT‐005779          DOT‐005779        Congressional Weekly Report (attached) and Congressional Update   Congressional Weekly Report (attached) and Cong....pdf                        2025/03/23 23:31 UTC    PersonalMailbox@dot.gov>      gov>                       Attorney/Client; Deliberative Process
DOT‐005780          DOT‐005781                                                                          Weekly Congressional Summary March 21, 2025.docx                                                       Connolly, David C. EOP/OMB                              Attorney/Client; Deliberative Process
                                                                                                                                                                                                              <David_C_Connolly@omb.eop
                                                                                                                                                                                                              .gov>"
                                                                                                                                                                                                              <David_C_Connolly@omb.eop
                                                                                                                                                                                                              .gov>, "Meachum, Pete (OST)"
                                                                                                                                                                                                              <charles.meachum@dot.gov>,
                                                                                                                                                                                                              "Cote, Greg (OST)"
                                                                                                                                                                                                              <gregory.cote@dot.gov>,
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                                                                                                                                                                                                              <jay.payne@dot.gov>, "Fleury,
                                                                                                                                                                                                              Nicolle (FHWA)"
                                                                                                                                                                                                              <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                                              "Harkins, Michael (FHWA)"
                                                                                                                                                                                                              <Michael.Harkins@dot.gov>,
                                                                                                                                                                                                              "Wainwright, Laura (OST)"
                                                                                                                                                                                                              <laura.wainwright@dot.gov>,
                                                                                                                                                                                                              "Hawks, Robert (OST)"
                                                                                                                                                                                                              <Robert.Hawks@dot.gov>,
                                                                                                                                                                                                              "Katharine.T.Sullivan@omb.eo
                                                                                                                                                                                                              p.gov"
                                                                                                                                                                                                              <Katharine.T.Sullivan@omb.eo
                                                                                                                                                                                                              p.gov>, "Abrams, Andrew D.
                                                                                                                                                                                                              EOP/OMB                       "Carlile, Saesha (OST)"
DOT‐005782          DOT‐005782        DOT/OMB Follow‐Up Discussions ‐ Data Sets                         DOT_OMB Follow‐Up Discussions ‐ Data Sets(1).pdf                              2025/02/06 20:37 UTC    <Andrew_Abrams@omb.eop.g <saesha.carlile@dot.gov>        Attorney/Client; Deliberative Process
DOT‐005783          DOT‐005783                                                                          CFI and NEVI Obligations.xlsx                                                                                                                                  Attorney/Client; Deliberative Process
DOT‐005784          DOT‐005784                                                                          CFI_NEVI_1‐23‐25.xlsx                                                                                                                                          Attorney/Client; Deliberative Process
DOT‐005785          DOT‐005785                                                                          NEVI Project Details.xlsx                                                                                                                                      Attorney/Client; Deliberative Process
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      BEGIN BATES         END BATES                                  SUBJECT                                                                 FILENAME                                                    DATE SENT                  TO(FHWA)                  FROM                              PRIVILEGE REASON
                                                                                                                                                                                                                      Guendert, Zan
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                                                                                                                                                                                                                     "Adderly, Kevin (FHWA)"
                                                                                                                                                                                                                     <kevin.adderly@dot.gov>,
                                                                                                                                                                                                                     "Appel, Alex (FHWA)"
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                                                                                                                                                                                                                     "Arhin, Kofi (FHWA)"
                                                                                                                                                                                                                     <kofi.arhin@dot.gov>, "Baker,
                                                                                                                                                                                                                     Shana (FHWA)"
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                                                                                                                                                                                                                     "Blount, Wesley (FHWA)"
                                                                                                                                                                                                                     <wesley.blount@dot.gov>,
                                                                                                                                                                                                                     "Bobba, Corey (FHWA)"
                                                                                                                                                                                                                     <Corey.Bobba@dot.gov>,
                                                                                                                                                                                                                     "Briggs, Valerie (FHWA)"
                                                                                                                                                                                                                     <valerie.briggs@dot.gov>,
                                                                                                                                                                                                                     "Broehm, Jason (FHWA)"
                                                                                                                                                                                                                     <jason.broehm@dot.gov>,
                                                                                                                                                                                                                     "Brust, Christopher (FHWA)"
                                                                                                                                                                                                                     <christopher.brust@dot.gov>,
                                                                                                                                                                                                                     "Burnell, Tamiko (FHWA)"
                                                                                                                                                                                                                     <Tamiko.Burnell@dot.gov>,
                                                                                                                                                                                                                     "Carnes, Jason (FHWA)"        "French, Maureen (FHWA)"
DOT‐005786          DOT‐005787        Daily Congressional Report                                              Daily Congressional Report(2).pdf                                              2025/03/18 20:38 UTC    <jason.carnes@dot.gov>,       <maureen.french@dot.gov>     Attorney/Client; Deliberative Process
DOT‐005788          DOT‐005790                                                                                Daily Congressional Report March 18, 2025.docx                                                                                                                    Attorney/Client; Deliberative Process
                                                                                                                                                                                                                     "Payne, Jay (FHWA)"          "Finfrock, Arlan (FHWA)"
DOT‐005791          DOT‐005791        Draft Email: Expediting Competitive Grants                              Draft Email_ Expediting Competitive Grants.pdf                                 2025/03/13 22:06 UTC    <jay.payne@dot.gov>          <Arlan.Finfrock@dot.gov>      Attorney/Client; Deliberative Process
DOT‐005792          DOT‐005792                                                                                Disc Grants Status w FY26‐V4_02032025.xlsx                                                                                                                        Attorney/Client; Deliberative Process
DOT‐005793          DOT‐005793                                                                                image001.png                                                                                                                                                      Attorney/Client; Deliberative Process
                                                                                                                                                                                                                     charles.meachum@dot.gov
                                                                                                                                                                                                                     Meachum, Pete (OST)
                                                                                                                                                                                                                     loren.smith@dot.gov Smith,   jay.payne@dot.gov Payne, Jay
DOT‐005794          DOT‐005795        FHWA Proposal: Expediting Competitive Grants                            FHWA Proposal_ Expediting Competitive Grants.pdf                               2025/03/14 14:55 UTC    Loren (OST)                  (FHWA)                       Attorney/Client; Deliberative Process
DOT‐005796          DOT‐005796                                                                                Disc Grants Status w FY26‐V4_02032025.xlsx                                                                                                                       Attorney/Client; Deliberative Process
DOT‐005797          DOT‐005797                                                                                image001.png                                                                                                                                                     Attorney/Client; Deliberative Process
DOT‐005798          DOT‐005798                                                                                image002.png                                                                                                                                                     Attorney/Client; Deliberative Process
DOT‐005799          DOT‐005799                                                                                image003.png                                                                                                                                                     Attorney/Client; Deliberative Process
                                      FW: Overview of the current state of FHWA discretionary grants                                                                                                                 "Payne, Jay (FHWA)"          "Baker, Shana (FHWA)"
DOT‐005800          DOT‐005800        programs                                                                FW_ Overview of the current state of FHWA discr...(3).pdf                      2025/01/24 22:05 UTC    <jay.payne@dot.gov>          <Shana.Baker@dot.gov>        Attorney/Client; Deliberative Process
DOT‐005801          DOT‐005808                                                                                2025 01 23 FHWA Dis Grants Lay of Land _ Draf.docx                                                                                                               Attorney/Client; Deliberative Process
DOT‐005809          DOT‐005809                                                                                Disc Grants Status w FY26 v3.2.xlsx                                                                                                                              Attorney/Client; Deliberative Process


                                      FW: Overview of the current state of FHWA discretionary grants                                                                                                                 "Payne, Jay (FHWA)"          "Kamara, Shannon (FHWA)"
DOT‐005810          DOT‐005812        programs                                                                FW_ Overview of the current state of FHWA discr....pdf                         2025/02/03 14:40 UTC    <jay.payne@dot.gov>          <shannon.kamara@dot.gov>      Attorney/Client; Deliberative Process
DOT‐005813          DOT‐005820                                                                                2025 01 23 FHWA Dis Grants Lay of Land _ Draf.docx                                                                                                                Attorney/Client; Deliberative Process
DOT‐005821          DOT‐005821                                                                                Disc Grants Status w FY26 v3.2.xlsx                                                                                                                               Attorney/Client; Deliberative Process
                                                                                                                                                                                                                     Gloria.Shepherd@dot.gov      jay.payne@dot.gov Payne, Jay
DOT‐005822          DOT‐005826        FW: Updated DOT Guidance on Competitive Grants                          FW_ Updated DOT Guidance on Competitive Grants.pdf                             2025/03/11 18:37 UTC    Shepherd, Gloria (FHWA)      (FHWA)                       Attorney/Client; Deliberative Process
DOT‐005827          DOT‐005827                                                                                Disc Grants Status w FY26‐V4_02032025.xlsx                                                                                                                       Attorney/Client; Deliberative Process
DOT‐005828          DOT‐005835                                                                                FHWA Discretionary Grants.2‐11‐25.docx                                                                                                                           Attorney/Client; Deliberative Process
                                                                                                                                                                                                                     "Finfrock, Arlan (FHWA)"     "Baker, Shana (FHWA)"
DOT‐005836          DOT‐005836        FW: Updated Discretionary Grant Status Overview                         FW_ Updated Discretionary Grant Status Overview.pdf                            2025/02/04 20:37 UTC    <Arlan.Finfrock@dot.gov>     <Shana.Baker@dot.gov>        Attorney/Client; Deliberative Process
DOT‐005837          DOT‐005844                                                                                2025 0203 FHWA Dis Grants Lay of Land _ Draft.docx                                                                                                               Attorney/Client; Deliberative Process
DOT‐005845          DOT‐005845                                                                                Disc Grants Status w FY26‐V4_02032025.xlsx                                                                                                                       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                     loren.smith@dot.gov Smith,   jay.payne@dot.gov Payne, Jay
DOT‐005846          DOT‐005847        Fw: Overview of the current state of FHWA discretionary grants programs Fw_ Overview of the current state of FHWA discr...(1).pdf                      2025/01/24 17:37 UTC    Loren (OST)                  (FHWA)                       Attorney/Client; Deliberative Process
DOT‐005848          DOT‐005855                                                                                2025 01 23 FHWA Dis Grants Lay of Land _ Draf.docx                                                                                                               Attorney/Client; Deliberative Process
DOT‐005856          DOT‐005856                                                                                Disc Grants Status w FY26 v3.2.xlsx                                                                                                                              Attorney/Client; Deliberative Process
                                                                                                                                                                                                                     gregory.cote@dot.gov Cote,   jay.payne@dot.gov Payne, Jay
DOT‐005857          DOT‐005857        Fw: Overview of the current state of FHWA discretionary grants programs Fw_ Overview of the current state of FHWA discr...(2).pdf                      2025/01/24 17:45 UTC    Greg (OST)                   (FHWA)                       Attorney/Client; Deliberative Process
DOT‐005858          DOT‐005865                                                                                2025 01 23 FHWA Dis Grants Lay of Land _ Draf.docx                                                                                                               Attorney/Client; Deliberative Process
DOT‐005866          DOT‐005866                                                                                Disc Grants Status w FY26 v3.2.xlsx                                                                                                                              Attorney/Client; Deliberative Process

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                                                                                                                                                                                                                     Kyle (OST)
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                                                                                                                                                                                                                     Matesic, Hannah (OST)
                                                                                                                                                                                                                     nathaniel.sizemore@dot.gov jay.payne@dot.gov Payne, Jay
DOT‐005867          DOT‐005868        Fw: Unsigned Grant Agreements                                           Fw_ Unsigned Grant Agreements(10).pdf                                                                  Sizemore, Nathaniel (OST)     (FHWA)                    Attorney/Client; Deliberative Process
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      BEGIN BATES         END BATES                                  SUBJECT                                                               FILENAME                                                    DATE SENT                TO                          FROM                              PRIVILEGE REASON
DOT‐005869          DOT‐005869                                                                               GA Not Executed 2025.04.01.xlsx                                                                                                                                  Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Payne, Jay (FHWA)"
                                                                                                                                                                                                                   <jay.payne@dot.gov>, "Frye,
                                                                                                                                                                                                                   Tony (FHWA)"                  "Finfrock, Arlan (FHWA)"
DOT‐005870          DOT‐005870        Fw: Unsigned Grant Agreements                                          Fw_ Unsigned Grant Agreements(5).pdf                                          2025/04/01 12:50 UTC    <tony.frye@dot.gov>           <Arlan.Finfrock@dot.gov>     Attorney/Client; Deliberative Process
DOT‐005871          DOT‐005871                                                                               GA Not Executed 2025.04.01.xlsx                                                                                                                                  Attorney/Client; Deliberative Process

                                                                                                                                                                                                                                                 "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                                                   "Frye, Tony (FHWA)"           <meaghan.zawadzki@dot.gov
DOT‐005872          DOT‐005872        HOA‐1 Nominee Confirmation Hearing Book and IIJA/IRA Fact Sheets       HOA‐1 Nominee Confirmation Hearing Book and IIJ...(1).pdf                     2025/03/21 20:58 UTC    <tony.frye@dot.gov>           >                          Attorney/Client; Deliberative Process
DOT‐005873          DOT‐006006                                                                               IIJA and IRA Fact Sheets 032125.pdf                                                                                                                            Attorney/Client; Deliberative Process
DOT‐006007          DOT‐006141                                                                               McMaster Confirmation Hearing Book ‐ 03.21.25.pdf                                                                                                              Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Payne, Jay (FHWA)"
                                                                                                                                                                                                                   <jay.payne@dot.gov>, "Frye,
                                                                                                                                                                                                                   Tony (FHWA)"                  "Biondi, Emily (FHWA)"
DOT‐006142          DOT‐006142        NEVI/CFI Briefing Papers                                               NEVI_CFI Briefing Papers(1).pdf                                               2025/04/08 21:12 UTC    <tony.frye@dot.gov>           <Emily.Biondi@dot.gov>       Attorney/Client; Deliberative Process
DOT‐006143          DOT‐006145                                                                               CFI NEVI 10.docx                                                                                                                                                 Attorney/Client; Deliberative Process
DOT‐006146          DOT‐006167                                                                               CFI and NEVI 10 Awards.docx                                                                                                                                      Attorney/Client; Deliberative Process
DOT‐006168          DOT‐006170                                                                               NEVI.docx                                                                                                                                                        Attorney/Client; Deliberative Process

                                                                                                                                                                                                                   "Fritz, Trish (OST)"
                                                                                                                                                                                                                   <trish.fritz@dot.gov>,
                                                                                                                                                                                                                   "Meachum, Pete (OST)"
                                                                                                                                                                                                                   <charles.meachum@dot.gov>,
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                                                                                                                                                                                                                   <jay.payne@dot.gov>,
                                                                                                                                                                                                                   "Priebe, Jonathan (OST)"   "Dean, Heather (FHWA)"
DOT‐006171          DOT‐006171        Notes from EPW Call                                                    Notes from EPW Call(8).pdf                                                    2025/01/28 20:40 UTC    <jonathan.priebe@dot.gov> <Heather.Dean@dot.gov>           Attorney/Client; Deliberative Process
DOT‐006172          DOT‐006172                                                                               EPW Grant Status 2025.01.28 v2.xlsx                                                                                                                              Attorney/Client; Deliberative Process

                                                                                                                                                                                                                   "Fritz, Trish (OST)"
                                                                                                                                                                                                                   <trish.fritz@dot.gov>,
                                                                                                                                                                                                                   "Meachum, Pete (OST)"
                                                                                                                                                                                                                   <charles.meachum@dot.gov>,
                                                                                                                                                                                                                   "Bezio, Brian (FHWA)"
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                                                                                                                                                                                                                   "Carlile, Saesha (OST)"
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                                                                                                                                                                                                                   <jay.payne@dot.gov>,
                                                                                                                                                                                                                   "Priebe, Jonathan (OST)"   "Dean, Heather (FHWA)"
DOT‐006173          DOT‐006173        Notes from EPW Call                                                    Notes from EPW Call.pdf                                                       2025/01/28 20:40 UTC    <jonathan.priebe@dot.gov> <Heather.Dean@dot.gov>           Attorney/Client; Deliberative Process
DOT‐006174          DOT‐006174                                                                               EPW Grant Status 2025.01.28 v2.xlsx                                                                                                                              Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Huynh, Juli (OST)"
                                                                                                                                                                                                                   <Juli.Huynh@dot.gov>, OST     "Richardson, Christopher
                                      RE: Data Call: Implementation of Executive Orders Addressing Energy,                                                                                                         Policy Coord&Dev              (FHWA)"                      Attorney Work Product; Attorney/Client; Deliberative
DOT‐006175          DOT‐006177        Climate Change, Diversity, and Gender                                  RE_ Data Call_ Implementation of Executive Orde...(3).pdf                     2025/02/07 23:59 UTC    <OST.PolicyP10@dot.gov>       <c.richardson@dot.gov>       Process
                                                                                                                                                                                                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐006178          DOT‐006178                                                                               Copy of Updated Draft List re. EO Implementat.xlsx                                                                                                               Process
                                                                                                                                                                                                                   "Richardson, Christopher
                                      RE: Data Call: Implementation of Executive Orders Addressing Energy,                                                                                                         (FHWA)"                       OST Policy Coord&Dev         Attorney Work Product; Attorney/Client; Deliberative
DOT‐006179          DOT‐006183        Climate Change, Diversity, and Gender                                  RE_ Data Call_ Implementation of Executive Orde....pdf                        2025/02/21 19:04 UTC    <c.richardson@dot.gov>        <OST.PolicyP10@dot.gov>      Process
                                                                                                                                                                                                                                                                              Attorney Work Product; Attorney/Client; Deliberative
DOT‐006184          DOT‐006184                                                                               FHWA.xlsx                                                                                                                                                        Process
                                                                                                                                                                                                                   hannah.matesic@dot.gov
                                                                                                                                                                                                                   Matesic, Hannah (OST)
                                                                                                                                                                                                                   loren.smith@dot.gov Smith, jay.payne@dot.gov Payne, Jay
DOT‐006185          DOT‐006185        RE: Grant Review Briefing tomorrow                                     RE_ Grant Review Briefing tomorrow.pdf                                        2025/03/18 13:33 UTC    Loren (OST)                (FHWA)                       Attorney/Client; Deliberative Process
                                                                                                                                                                                                                   "Meachum, Pete (OST)"
                                                                                                                                                                                                                   <charles.meachum@dot.gov>,
                                                                                                                                                                                                                   "Smith, Loren (OST)"       "Payne, Jay (FHWA)"          Attorney Work Product; Attorney/Client; Deliberative
DOT‐006186          DOT‐006188        FHWA Proposal: Expediting Competitive Grants                           FHWA Proposal Expediting Competitive Grants.msg                               2025/03/14 18:55 UTC    <loren.smith@dot.gov>      <jay.payne@dot.gov>          Process
DOT‐006189          DOT‐006189                                                                               Disc_Grants_Status_w_FY26‐V4_02032025.xlsx                                                                                                                    Attorney/Client; Deliberative Process
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      BEGIN BATES         END BATES                                 SUBJECT                                            FILENAME                                                    DATE SENT               TO                          FROM                              PRIVILEGE REASON
                                                                                                                                                                                               "Frye, Tony (FHWA)"
                                                                                                                                                                                               <tony.frye@dot.gov>, "Fleury,
                                                                                                                                                                                               Nicolle (FHWA)"
                                                                                                                                                                                               <Nicolle.Fleury@dot.gov>,
                                                                                                                                                                                               "Richardson, Christopher
                                                                                                                                                                                               (FHWA)"
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                                                                                                                                                                                               <Michael.Harkins@dot.gov>,
                                                                                                                                                                                               "Baker, Shana (FHWA)"
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                                                                                                                                                                                               "Rusnak, Allison (FHWA)"
                                                                                                                                                                                               <Allison.Rusnak@dot.gov>,
                                                                                                                                                                                               "Kohr, Todd (FHWA)"
                                                                                                                                                                                               <todd.kohr@dot.gov>, "Dean, "Zawadzki, Meaghan (FHWA)"
                                                                                                                                                                                               Heather (FHWA)"               <meaghan.zawadzki@dot.gov
DOT‐006190          DOT‐006195        RE: Nomination Hearing Prep Materials               RE_ Nomination Hearing Prep Materials(1).pdf                                 2025/04/04 15:21 UTC    <Heather.Dean@dot.gov>        >                         Attorney/Client; Deliberative Process
DOT‐006196          DOT‐006333                                                            McMaster Confirmation Hearing Book ‐ 04.04.25.pdf                                                                                                            Attorney/Client; Deliberative Process


                                                                                                                                                                                               "mcmaster.sean@gmail.com" "Frye, Tony (FHWA)"
DOT‐006334          DOT‐006336        RE: Nomination Hearing Prep Materials               RE_ Nomination Hearing Prep Materials(2).pdf                                 2025/03/25 00:05 UTC    <mcmaster.sean@gmail.com> <tony.frye@dot.gov>             Attorney/Client; Deliberative Process
DOT‐006337          DOT‐006470                                                            IIJA and IRA Fact Sheets 032125.pdf                                                                                                                            Attorney/Client; Deliberative Process
DOT‐006471          DOT‐006605                                                            McMaster Confirmation Hearing Book ‐ 03.21.25.pdf                                                                                                              Attorney/Client; Deliberative Process

                                                                                                                                                                                               Sean McMaster             "Frye, Tony (FHWA)"
DOT‐006606          DOT‐006609        RE: Nomination Hearing Prep Materials               RE_ Nomination Hearing Prep Materials(3).pdf                                 2025/04/04 15:28 UTC    <mcmaster.sean@gmail.com> <tony.frye@dot.gov>             Attorney/Client; Deliberative Process
DOT‐006610          DOT‐006747                                                            McMaster Confirmation Hearing Book ‐ 04.04.25.pdf                                                                                                              Attorney/Client; Deliberative Process
                                                                                                                                                                                               "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                               <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                               "Payne, Jay (FHWA)"          "Allen, Amy (FHWA)"
DOT‐006748          DOT‐006749        RE: Run of Show for the FHWA All‐employee Meeting   RE_ Run of Show for the FHWA All‐employee Meeting(1).pdf                     2025/02/12 18:52 UTC    <jay.payne@dot.gov>          <amy.allen@dot.gov>          Attorney/Client; Deliberative Process
DOT‐006750          DOT‐006755                                                            Jay + Gloria ‐ Full ROS for the February 2025.docx                                                                                                             Attorney/Client; Deliberative Process
                                                                                                                                                                                               "Allen, Amy (FHWA)"
                                                                                                                                                                                               <amy.allen@dot.gov>, "Payne,
                                                                                                                                                                                               Jay (FHWA)"                  "Shepherd, Gloria (FHWA)"
DOT‐006756          DOT‐006756        RE: Run of Show for the FHWA All‐employee Meeting   RE_ Run of Show for the FHWA All‐employee Meeting(2).pdf                     2025/02/12 17:19 UTC    <jay.payne@dot.gov>          <Gloria.Shepherd@dot.gov>    Attorney/Client; Deliberative Process
DOT‐006757          DOT‐006762                                                            Jay Gloria ‐ Full ROS for the February 2025 .docx                                                                                                              Attorney/Client; Deliberative Process


                                                                                                                                                                                               "Payne, Jay (FHWA)"          "Kamara, Shannon (FHWA)"
DOT‐006763          DOT‐006763        RE: Run of Show for the FHWA All‐employee Meeting   RE_ Run of Show for the FHWA All‐employee Meeting.pdf                        2025/02/12 18:57 UTC    <jay.payne@dot.gov>          <shannon.kamara@dot.gov>     Attorney/Client; Deliberative Process
DOT‐006764          DOT‐006769                                                            Jay + Gloria ‐ Full ROS for the February 2025.docx                                                                                                             Attorney/Client; Deliberative Process
                                                                                                                                                                                               "Payne, Jay (FHWA)"
                                                                                                                                                                                               <jay.payne@dot.gov>,
                                                                                                                                                                                               "Finfrock, Arlan (FHWA)"
                                                                                                                                                                                               <Arlan.Finfrock@dot.gov>,
                                                                                                                                                                                               "Frye, Tony (FHWA)"          "Burnell, Tamiko (FHWA)"
DOT‐006770          DOT‐006771        RE: Unsigned Grant Agreements                       RE_ Unsigned Grant Agreements(1).pdf                                         2025/04/01 13:00 UTC    <tony.frye@dot.gov>          <Tamiko.Burnell@dot.gov>     Attorney/Client; Deliberative Process
DOT‐006772          DOT‐006772                                                            GA Not Executed 2025.04.01.xlsx                                                                                                                                Attorney/Client; Deliberative Process
                                                                                                                                                                                               "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                               <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                               "Payne, Jay (FHWA)"          "Allen, Amy (FHWA)"
DOT‐006773          DOT‐006773        Run of Show for the FHWA All‐employee Meeting       Run of Show for the FHWA All‐employee Meeting(1).pdf                         2025/02/12 15:20 UTC    <jay.payne@dot.gov>          <amy.allen@dot.gov>          Attorney/Client; Deliberative Process
DOT‐006774          DOT‐006778                                                            Jay & Gloria ‐ Full ROS for the February 2025.docx                                                                                                             Attorney/Client; Deliberative Process


                                                                                                                                                                                               "Payne, Jay (FHWA)"          "Kamara, Shannon (FHWA)"
DOT‐006779          DOT‐006779        Run of Show for the FHWA All‐employee Meeting       Run of Show for the FHWA All‐employee Meeting.pdf                            2025/02/12 18:51 UTC    <jay.payne@dot.gov>          <shannon.kamara@dot.gov>     Attorney/Client; Deliberative Process
DOT‐006780          DOT‐006785                                                            Jay Gloria ‐ Full ROS for the February 2025 .docx                                                                                                              Attorney/Client; Deliberative Process
                                                                                                                                                                                               "Shepherd, Gloria (FHWA)"
                                                                                                                                                                                               <Gloria.Shepherd@dot.gov>,
                                                                                                                                                                                               "Payne, Jay (FHWA)"          "Finfrock, Arlan (FHWA)"
DOT‐006786          DOT‐006786        Updated Discretionary Grant Status Overview         Updated Discretionary Grant Status Overview.pdf                              2025/02/03 21:55 UTC    <jay.payne@dot.gov>          <Arlan.Finfrock@dot.gov>     Attorney/Client; Deliberative Process
DOT‐006787          DOT‐006794                                                            2025 0203 FHWA Dis Grants Lay of Land _ Draft.docx                                                                                                             Attorney/Client; Deliberative Process
DOT‐006795          DOT‐006795                                                            Disc Grants Status w FY26‐V4_02032025.xlsx                                                                                                                     Attorney/Client; Deliberative Process
DOT‐006796          DOT‐006802                                                            OMB Meeting 2.7.25.pptx                                                                                                                                        Attorney/Client; Deliberative Process
DOT‐006803          DOT‐006804                                                            Weekly Congressional Summary March 21, 2025.docx                                                                                                               Attorney/Client; Deliberative Process
